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10
                             IN THE UNITED STATES DISTRICT COURT
11
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
12

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15   EMMA C., et al.,                                  3:96-cv-04179-VC

16                                        Plaintiffs, STATE DEFENDANTS’ FURTHER
                                                      PHASE 2 SUBMISSION
17                 v.
                                                       Judge: The Honorable Vince Chhabria
18
     THURMOND, et al.,
19
                                        Defendants.
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                               STATE DEFENDANTS’ FURTHER PHASE 2 SUBMISSION (3:96-cv-04179-VC)
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 1          Pursuant to the Court’s July 5, 2019 Order re State’s Compliance at Phase 2 (Dkt. 2520)

 2   (the “7/5/19 Order”) and the September 3, 2019 Scheduling Order (Dkt. 2531) (the “9/3/19

 3   Order”), Defendants California Department of Education (“CDE”), Tony Thurmond, in his

 4   official capacity as the State Superintendent of Public Instruction, and State Board of Education

 5   (“SBE”) (collectively, “State Defendants” or the “State”) hereby submit their Further Compliance

 6   Report for Phase 2 1 (the “Further Phase 2 Compliance Report”), attached hereto as Exhibit 1, to

 7   demonstrate that the State’s data analysis activities are sufficient to allow the State to effectively

 8   fulfill its monitoring and enforcement duties under the Individuals with Disabilities Act (the

 9   “IDEA”) and address to the Court’s concerns as set forth in the 7/5/19 Order. The Further Phase

10   2 Compliance Report also addresses CDE’s proposal to collect data on IEP implementation to

11   address the Court’s concerns as set forth in the August 17, 2018 Order re State’s Compliance at

12   Phase 1 (Dkt. 2428) (the “8/17/18 Order”).

13          In its 7/5/19 Order, the Court identified concerns with the State Performance Plan (“SPP”)

14   targets that the State uses in connection with the aforementioned data analysis activities. (Dkt.

15   2520 at 15-18.) At the August 28, 2019 Case Management Conference (“CMC”), CDE informed

16   the Court that it would be submitting updated State Performance Plan (“SPP”) targets to the

17   Office of Special Education Programs (“OSEP”) in 2020 in connection with the upcoming six-

18   year cycle, and anticipated that it would publicly release its proposed new SPP targets in April

19   2020 for SBE’s approval. (Dkt. 2531; see also Dkt. 2526 at 3.) Accordingly, CDE anticipated

20   submitting the proposed new SPP targets to the Court at the same time in April 2020, and

21   proposed that the Court set a further CMC in April 2020 to discuss how to address the new

22   proposed targets at the June 2020 further Phase 2 hearings, as the proposed new targets would not

23   be publicly released in time for the State’s January 31, 2020 and April 7, 2020 Phase 2

24   submission deadlines. (Dkt. 2531.)

25          OSEP announced this past fall that it would not be implementing a new six-year cycle until

26   next year, and instead directed States to create extension targets for the current cycle and submit

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     1
      Where necessary, State Defendants have appended documents as evidentiary support for the
28   Further Phase 2 Compliance Report (identified as “Attachment __” throughout).
                                                    1
                                 STATE DEFENDANTS’ FURTHER PHASE 2 SUBMISSION (3:96-cv-04179-VC)
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 1   them to OSEP by February 1, 2020, the date OSEP previous set for States to submit targets for

 2   the next six-year cycle. CDE’s proposed SPP extension targets have been publicly released and

 3   were submitted to SBE for approval earlier this month.

 4         Because of OSEP’s revised timeline for the next six-year cycle, the State cannot adopt new

 5   SPP targets for next six-year cycle until the 2021-2022 monitoring year, and the State anticipates

 6   SBE will not be in a position to approve the new targets for the next six-year cycle prior to the

 7   end of 2020. Accordingly, while CDE has included in this submission the extension targets it has

 8   submitted to SBE for approval and that it anticipates submitting to OSEP, CDE anticipates that it

 9   will not be in a position to publicly release proposed targets for the next six-year cycle in advance

10   of the June 2020 further Phase 2 Hearings. In light of this development, CDE respectfully

11   requests that the Court reschedule the telephonic CMC set for April 22, 2020 to a date in

12   February 2020 to allow the Court and the parties to determine how best to address that issue in

13   advance of the remaining submission schedule for the Monitor and the parties and in connection

14   with the June 2020 further Phase 2 Hearings.

15

16
     Dated: January 31, 2020                               Respectfully Submitted,
17
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                                                           /s/ Kirin K. Gill
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25                                                         and State Board of Education
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                  EXHIBIT 1

     State Defendants’
Further Phase 2 Compliance
          Report
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    I.      Introduction
The Court is examining the State’s compliance with the Individuals with Disabilities Act
(the IDEA) in four phases. In Phase 2, the Court is examining the State’s data analysis
activities, and whether those activities are sufficient to find that the State is effectively
fulfilling its monitoring and enforcement duties under federal law. The Court issued an
order on July 5, 2019 (7/5/19 Order) with respect to the State’s compliance at Phase 2,
in which the Court identified certain areas where it deemed the State out of compliance.
(Dkt. 2520.) In that Order, the Court concluded that the State was not found compliant
at Phase 2 because (1) California Department of Education (CDE) was not sufficiently
analyzing data regarding small local educational agencies (LEAs), preschool, and
mediation (Dkt. 2520, pp. 11-14); (2) CDE’s selection methodology for “comprehensive
review”— CDE’s most intensive monitoring activity— resulted in CDE selecting incorrect
and insufficient LEAs for comprehensive review (Dkt. 2520, pp. 18-24); and (3) the
targets CDE uses to select LEAs for further monitoring activities were not sufficiently
rigorous 1 (Dkt. 2520, pp. 15-18). This submission discusses CDE’s activities to address
the Court’s concerns in those aforementioned areas.
In addition, this submission also addresses the Court’s concerns with the State’s data
collection activities with respect to individualized education program (IEP)
implementation, as set forth in the Court’s August 17, 2018 Order (8/17/18 Order)
regarding the State’s compliance at Phase 1.

    II.     Overview of Three Levels of Monitoring
To frame the State’s process for selecting LEAs for interventions, the State provides the
following background on CDE’s monitoring system.
CDE plans to implement a revised approach for the 2019-2020 monitoring year,
including universal monitoring (Level 1), targeted monitoring (Level 2) and intensive

1 With respect to proposing new targets, the U.S. Department of Education’s Office of
Special Education Programs (OSEP) announced in October 2019 that it would not be
implementing a new six-year cycle until next year. Instead, OSEP directed states to
create extension targets for the current cycle. As discussed below, with Stakeholder
input, CDE created extension targets which were submitted to SBE for approval in
January 2020. (See Attachments 5 & 7.) However, due to the delay in implementing
the next six-year cycle, the State cannot adopt new SPP targets for the next six-year
cycle until the 2021-2022 monitoring year, and the State anticipates the California State
Board of Education (SBE) will not be in a position to approve those new targets prior to
the end of 2020. Accordingly, while CDE has included in this submission the extension
targets it has submitted to SBE for approval this month and that it anticipates submitting
to OSEP in February 2020, CDE anticipates that it will not be in a position to publicly
release proposed targets for the next six-year cycle in advance of the June 2020 further
Phase 2 Hearings.
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monitoring (Level 3). CDE’s revised selection process aims to ensure that LEAs that are
not meeting targets will be selected for appropriate additional monitoring. CDE revised
the selection methodology and the names of the activities to address the Court’s
concerns and to create uniformity across activities.
Figure 1 below describes CDE’s revised nomenclature for its further monitoring
activities. The revised nomenclature will be used throughout this submission.
                                         Figure 1

     Monitoring Activity Name in the                Monitoring Activity Type in the
       2018-2019 Monitoring Year                     2019-2020 Monitoring Year
     Data Identified Noncompliance                Targeted Monitoring - Compliance
       Disproportionality Review               Targeted Monitoring - Disproportionality
     Performance Indicator Review                Targeted Monitoring - Performance
        Comprehensive Review                      Intensive Monitoring - School Age
           Preschool Review                     Intensive Monitoring - Preschool Age
      Significant Disproportionality               Intensive Monitoring - Significant
                                                            Disproportionality


   A. Universal Monitoring (Level 1)
In accordance with the IDEA, CDE annually analyzes the data submitted by each LEA.
Federal law establishes the priority areas that must be reviewed by each state as
follows:
   (1) Provision of free appropriate public education (FAPE) in the least restrictive
       environment (LRE);

   (2) State exercise of general supervision, including:
       Child find;
       Effective monitoring;
       The use of resolution meetings;
       Mediation;
       A system of transition services (for transition from high school to adult living, and
       transition from preschool to K-12); and,
   (3) Disproportionate representation of racial and ethnic groups in special education
       and related services, to the extent the representation is the result of inappropriate
       identification.

(20 U.S.C. § 1416(a)(3)(A)-(C).)


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OSEP has established seventeen indicators that every state must use to measure
performance in the priority areas. OSEP identifies each indicator as a “performance”
indicator or a “compliance” indicator.
Figure 2 shows the indicator type, indicator number, indicator description and the
monitoring priority area that each indicator addresses.
                                        Figure 2
    Type          No.    Description                           Monitoring Priority Area
    Performance   1      Graduation Rates
    Performance   2      Dropout Rates
    Performance   3      Statewide Assessments
    Performance   3A     Reserved for OSEP Use 2
    Performance   3B     Participation Rate
    Performance   3C     Proficiency Rate
    Combined      4      Suspension/Expulsion
    Performance   4A     Rates
    Compliance    4B     Rates by Race/Ethnicity
    Performance   5      Education Environments
    Performance   5A     In Regular Class at least 80%
                                                               FAPE in the LRE
    Performance   5B     In Regular Class less than 40%
    Performance   5C     In Separate School
    Performance   6      Preschool Environments
    Performance   6A     In regular education program
    Performance   6B     In separate education program
    Performance   7      Preschool Outcomes
    Performance   7A     Positive social-emotional skills
    Performance   7B     Acquisition/use of knowledge or
                         skills
    Performance   7C     Use of appropriate behaviors
    Performance   8      Parent involvement
    Compliance    9      Disproportionate representation
                                                               Disproportionate
    Compliance    10     Disproportionate representation in    Representation
                         disability categories
    Compliance    11     Child Find                            Effective General
                                                               Supervision / Child Find
    Compliance    12     Early Childhood Transition (from
                         Part C to Part B)

2 After passage of the Every Student Succeeds Act in 2015, OSEP omitted the use of
Indicator 3A – Accountability. Accordingly, this indicator is not used to assess the
State’s performance in the SPP.
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    Type          No.    Description                              Monitoring Priority Area
    Compliance    13     Secondary Transition (from school        Effective General
                         to adult life)                           Supervision / Transition
    Performance   14     Post-School Outcomes                     Services
    Performance   14A    Enrolled in higher education
    Performance   14B    Enrolled in higher education or
                         competitively employed
    Performance   14C    Enrolled in higher education or
                         other education/training
    Performance   15     Resolution Sessions                      Effective General
    Performance   16     Mediation                                Supervision / Mediation
                                                                  and use of resolution
                                                                  sessions
    Performance   17     State Systemic Improvement Plan


CDE is required to have a State Performance Plan (SPP), for which it is required to set
measurable and rigorous targets3 for each LEA’s performance on the aforementioned
indicators related to the targets annually. (20 U.S.C. § 1416(b)(1)-(2).)
Those LEAs whose data do not indicate concerns in the priority areas reflected in
Figure 2 or other indicators identified as a priority by CDE will continue to receive Level
1 universal monitoring. This universal monitoring includes the annual collection and
analysis of the LEA’s data by CDE, as well as general support through the LEA’s
access to the State’s resources. For example, all LEAs have access to technical
assistance providers through state contracts as well as CDE trainings and materials
posted on CDE’s website. 4
Based on CDE’s annual analysis of Level 1 data, CDE selects some LEAs for more
targeted, Level 2 monitoring, or more intensive Level 3 monitoring, as described below.
     B. Targeted Monitoring (Level 2)
Targeted Level 2 monitoring is for LEAs that need moderate level support—more than
universal monitoring (Level 1), but less than intensive monitoring (Level 3). There are
three different selection criteria applied to the Level 1 data that may result in CDE
identifying an LEA for targeted monitoring: (1) indicators that identify compliance
difficulties; (2) the disproportionate representation of students with disabilities in special
education programs relative to the presence of this group in the overall student
population; and (3) indicators that identify performance difficulties. LEAs that do not


3 Targets for “performance” indicators are set by CDE; targets for “compliance”
indicators are set by OSEP at either 0% or 100%.
4 See https://www.cde.ca.gov/sp/se/sr/.

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meet specified targets in these particular areas will be identified for additional
monitoring.
    1. Compliance indicators
CDE reviews an LEA’s performance on a number of different compliance indicators to
determine whether an LEA needs targeted monitoring. Some of the different compliance
indicators come from the seventeen required indicators referenced in the SPP, in
addition to those indicators CDE has selected pursuant to 20 U.S.C. § 1416(a)(4). CDE
measures an LEA’s performance on the following SPP indicators:

    •   Indicator 11 (Child Find): Whether 100% of children were evaluated within 60
        days of receiving parental consent for initial evaluation;

    •   Indicator 12 (Early Childhood Transition, Part C to Part B): Whether 100% of
        children referred by Part C prior to age 3, who are found eligible for Part B, had
        an IEP developed and implemented by their third birthday; and,

    •   Indicator 13 (Secondary Transition, from school to adult life): Whether 100% of
        youth aged 16 and older have an IEP that includes the eight required elements of
        transition from school to adult life.

CDE also measures an LEA’s performance on the following additional compliance
indicators:

    •   Whether the LEA held an IEP meeting at least once per year; 5

    •   Whether the LEA conducted a “triennial” re-evaluation to determine the student’s
        continued eligibility for special education at least every three years; and, 6

    •   Whether the LEA held an informal resolution session with the parent within fifteen
        days of the parent’s filing a request for a special education due process hearing
        with the Office of Administrative Hearings. 7

CDE selected the first two additional compliance indicators to ensure LEAs are
reviewing student progress, which is necessary to ensure FAPE in the LRE. CDE
selected the third indicator to ensure LEAs are meeting the requirements for due
process timelines, a priority area for monitoring. (34 C.F.R. § 300.600(d)(2).)



5 20 U.S.C. § 1414(d)(4)(A)(i); Cal. Educ. Code §§ 56341.1(d), 56343(d).
6 20 U.S.C. § 1414(a)(2)(B)(ii); Cal. Educ. Code § 56381(a)(2).
7 See 20 U.S.C. § 1415(f)(1)(B)(i)(I). Use and analysis of timely resolution session data

for Due Process Filings begins in the 2019-2020 monitoring year, based on school year
2018-2019 data.
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   2. Disproportionality
CDE analyzes data annually to identify disproportionate representation of students with
disabilities in LEAs, and to identify LEAs for targeted monitoring. Specifically, CDE
examines the following four areas:

   •   Disproportionate representation across race and ethnicity for ages 3 through 21
       may indicate that an LEA has issues with over- or under-identification of students
       with disabilities for a particular race/ethnicity. CDE uses a risk ratio to select
       LEAs.

   •   Disproportionate representation across race and ethnicity and disability
       categories for ages 3 through 21 may indicate that an LEA has an over- or under-
       identification of students with disabilities for a particular race/ethnicity and
       disability. CDE uses a risk ratio to select LEAs.

   •   Disproportionate representation across race and ethnicity for ages 3 through 21
       within five discipline categories may indicate that an LEA disproportionately
       disciplines students with disabilities within a particular race/ethnicity as compared
       to their non-disabled peers. CDE uses a risk ratio (or alternate risk ratio where
       applicable) to determine whether high instances of disproportionality exist in
       LEAs for five categories:

          o   Any discipline
          o   In-school suspensions of 10 days or fewer
          o   In-school suspensions of greater than 10 days
          o   Out-of-school suspensions and expulsions of 10 days or fewer
          o   Out-of-school suspensions and expulsions of greater than 10 days

   •   Disproportionate representation in placement for students ages 6 through 21 may
       indicate that an LEA disproportionately places students with disabilities within a
       particular race/ethnicity in more restrictive educational settings as compared to
       their non-disabled peers. CDE uses a risk ratio (or alternate risk ratio where
       applicable) to determine whether high instances of disproportionality exist in
       LEAs for two categories:

          o Placement in regular class less than 40% of the day
          o Placement in separate schools

Based on the review of all LEAs, some LEAs are selected, and for these selected LEAs,
CDE reviews special education policies and procedures and evaluates a sample of
student records to determine if the LEA has any specific areas of noncompliance that
contributed to disproportionality.



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    3. Performance indicators
CDE annually analyzes each LEA’s performance on certain specific performance
indicators in selecting LEAs for targeted monitoring. The performance indicators CDE
evaluates are:

    •   Dashboard: Graduation Rate* 8
    •   SPP Indicator 2: Dropout Rate*
    •   SPP Indicator 3b: Statewide Assessment Participation
    •   Dashboard: Statewide Assessment Proficiency
    •   Dashboard: Suspension Rate
    •   SPP Indicator 5: Least Restrictive Environment
    •   SPP Indicator 6: Preschool Least Restrictive Environment
    •   SPP Indicator 8: Parent Involvement
    •   SPP Indicator 14: Post-school outcomes*

For those performance indicators that are part of the seventeen SPP indicators and also
included on the state’s general accountability Dashboard, 9 CDE uses the data from the
Dashboard, as it represents the data with the most public presence and accessibility.
Additionally, inclusion of Dashboard indicators reduces confusion and enhances
interoperability, using a single metric to hold LEAs accountable. These “overlap”
indicators are graduation rate, statewide assessment proficiency, and suspension.

CDE’s general accountability system analyzes data to determine if LEAs need
monitoring and support, known as differentiated assistance. LEAs are identified for
differentiated assistance if they have scored “Red” for the same student group in two or
more priority areas, or one “Orange” and one “Red” on the assessment priority area. If
an LEA is identified as being at an “Orange” performance level (the second to lowest
performance) for the suspension indicator for the students with disabilities student
group, CDE’s monitoring can assist the LEA in addressing the root cause of the
problem. 10



8 The indicators marked with an asterisk above (graduation rate, dropout rate and post-
school outcomes) apply to high school students. Because this case is focused on
students in grades kindergarten through eighth grade, these indicators are outside the
scope of this case. Nevertheless, the State identifies these indicators to demonstrate
the full scope of CDE’s targeted monitoring data analysis.
9 The California School Dashboard is a Web-based system for publicly reporting

performance data on the state and local indicators included in the Local Control Funding
Formula (LCFF) rubrics. (Cal. Educ. Code § 52064.5(f).) See
https://www.cde.ca.gov/ta/ac/cm/.
10 More information about how LEAs are identified for differentiated assistance is

available at https://www.cde.ca.gov/be/pn/im/documents/dec19memoamard01.docx.
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In addition to the above Dashboard and SPP indicators, and separate from the SPP
Indicator 11 compliance indicator for Child Find, CDE is measuring a Child Find
performance metric in the 2019-2020 monitoring year. Beginning in the 2020-2021
monitoring year, CDE will also measure LEA performance on two additional
performance metrics: (1) restraint and seclusion; and (2) the use of mediation to resolve
disputes. These two additional performance measures will be explained in greater detail
below.
      C. Intensive Monitoring (Level 3)
Based on the Level 1 review of data conducted for all LEAs, CDE may select certain
LEAs for intensive monitoring at Level 3. To address the Court’s concerns in the 7/5/19
Order, CDE has revised and pared down the number of indicators used to identify LEAs
for intensive monitoring to emphasize performance on those indicators most closely
aligned with measuring the provision of FAPE in the LRE. There are now three different
selection criteria that may result in CDE identifying an LEA for intensive monitoring: (1)
Intensive monitoring, due to outcomes for students ages 6 through 21; (2) Intensive
monitoring, due to outcomes for children with disabilities ages 3 through 5; and (3)
identification for Significant Disproportionality.
      1. Intensive Monitoring, Ages 6 through 21
Selection for this intensive monitoring activity, formerly titled “Comprehensive Review,”
is based on the LEA’s performance in three categories: (1) assessment; (2) educational
climate; and (3) placement.

      2. Intensive Monitoring, Ages 3 through 5
Selection for this intensive monitoring activity, formerly titled “Preschool Review,” is
based on the LEA’s performance in three categories (1) assessment, (2) discipline, and
(3) placement. This review may be conducted as an adjunct to the intensive monitoring
for ages 6 through 21 for LEAs selected to participate in that activity, or it may be
conducted as a separate review for those LEAs not selected for intensive monitoring for
ages 6 through 21.


      3. Significant Disproportionality
States must collect and examine data to determine if significant disproportionality based
on race and ethnicity is occurring in the state and the LEAs of the state with respect to
(1) identification, including identification with a particular impairment; (2) placement in
particular educational settings; and (3) the incidence, duration and type of disciplinary
actions. (20 U.S.C. § 1418(d)(1).) CDE identifies an LEA as having significant
disproportionality if it exceeds the risk ratio for a group or category for three consecutive
years and fails to demonstrate reasonable progress 11 in lowering the risk ratio or

11   Reasonable progress is discussed in greater detail below.
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alternate risk ratio for a group or category for the two prior consecutive years. (34
C.F.R. §§ 300.646 and 300.647.)

With this framework in mind, CDE turns to the specific changes it has made to address
the Court’s concerns.
     III.   Changes in Response to 7/5/19 Order
     A. Additional Data Analysis
     1. Small LEAs
The Court Order deemed CDE out of compliance in Phase 2 because CDE did not
include small LEAs, i.e. LEAs with less than a certain number of students, in CDE’s
ordinary data analysis of LEAs. (Dkt. 2520, pp. 11-12.) Although the Court
acknowledged there may be valid reasons for CDE’s omission of small LEAs in the
foregoing analysis, the Court directed CDE to develop an alternative protocol for
analyzing such LEAs. (Id.)
CDE defines a small LEA (including charter schools) as an LEA with one hundred or
fewer students with disabilities. 12 Beginning in the 2018-2019 monitoring year, CDE’s
special education division identified all charter schools as their own LEA for monitoring
purposes to align with the state’s accountability system.
During the Phase 2 hearings in April and May 2019, CDE proposed that one way to
account for small N-sizes was to aggregate students into groups to apply the data
calculation. (4/29/19 Hr. Tr. at 124:19-22.) Accordingly, CDE has developed a
methodology to group small LEAs and apply data calculations for identification for
targeted and intensive monitoring activities.
CDE conducted a number of analyses to determine the best methodology for grouping
students. Two grouping models were identified: group small LEAs to their Special
Education Local Plan Area (SELPA) or group small LEAs to their county. On August 15,
2019, CDE convened a technical design group that included an Executive Director of a
SELPA with small LEAs, three executive-level Special Education personnel from small
LEAs, and three executive-level Special Education personnel from small charter
schools, to provide feedback on the options for aggregation. During this meeting,
members urged that the effect of small size alone should not dictate selection for
monitoring, but rather systemic poor performance should be the key determinant for
selection. This presented CDE with some questions with the two proposed grouping
models that resulted in additional inquiry.


12 The Court does not seem to be concerned with CDE’s setting of a particular N-size
for identifying small LEAs; rather, the Court’s concern as set forth in the 7/5/19 Order
was with CDE’s failure to perform data analysis on such LEAs. (Dkt. 2520, pp. 11-12.)
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Grouping LEAs by SELPAs raised certain issues. In California, all LEAs that provide
special education and related services to students with disabilities are members of
SELPAs. However, some LEAs are single-district SELPAs, meaning they are not a
member of a consortium of LEAs. In its charter, a charter school indicates whether, for
purposes of special education, it will act as its own LEA and join a SELPA, or will be
deemed a school of its authorizing LEA. (Cal. Educ. Code § 47641(a), (b).) There are a
number of “charter-only” SELPAs comprised solely of charter schools. 13 Unlike most
other SELPAs, membership in charter-only SELPAs is not limited by geographical
boundaries.
Thus, grouping LEAs at the SELPA level resulted in one main issue: when this
aggregation methodology is applied to single-district SELPAs, even when aggregated,
several of these groupings will yield a very small student count. For example, District A
is a single district SELPA with one charter school that has 11 students with disabilities.
Therefore, aggregating by SELPA resulted in a group that had 11 students, in which
case, the proposed grouping did nothing to address the small N-size problem.
Grouping LEAs by county resulted in different concerns. Members raised the issue that
when grouped by county, Charter SELPAs and Charter LEAs14 would attribute
accountability concerns to a charter school’s authorizer located in the same county, but
not necessarily in the same SELPA. As Charter LEAs are directly responsible for their
own student population, they should be the only entity held accountable for the
outcomes of their students with disabilities.
Given the issues from the technical design group and the limitations of the other
grouping methodology, CDE created a hybrid methodology. 15 This hybrid methodology
would group LEAs with 100 or fewer students with disabilities by county, unless the LEA
is a Charter LEA with 100 or fewer students with disabilities and belongs to a Charter
SELPA. For the latter set of LEAs, those LEAs are grouped by Charter SELPA. This
hybrid methodology resulted in the fewest number of grouped small LEAs and CDE
believes it is the most appropriate methodology to assess a small LEA’s performance in
outcomes for students with disabilities for whom the small LEA is directly responsible.
CDE then addressed how to identify the individual LEAs within an aggregated small
group that contributed to the group’s overall poor performance, as not all LEAs
assessed as a group will need targeted or intensive monitoring. The disaggregation

13 Many, but not all, charter schools that act as their own LEA for purposes of special
education have joined “charter-only” SELPAs.
14 For clarity, “Charter LEAs” refer to charter schools that act as their own LEAs for the

purposes of special education. (Cal. Educ. Code § 47641(a).) Many, but not all, Charter
LEAs are members of a Charter SELPA.
15 The small LEA aggregation process steps and the SAS code for aggregation of

students with disabilities, ages 6 through 21, are set forth in Attachment 1 hereto.
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methodology, or the analysis of individual small LEAs, is discussed in below in Section
III.C.
     2. Preschool
The Court deemed CDE out of compliance in Phase 2 because CDE has not fully
implemented a monitoring activity specific to children with disabilities, ages 3 through 5.
(Dkt. 2520, pp. 12-14.)
To address this concern, CDE is implementing an intensive monitoring activity for
preschool for the 2019-2020 monitoring year and has revised the indicators used to
measure LEA performance, paring down to the metrics most closely aligned with the
provision of FAPE in the LRE. CDE’s use of data to select LEAs for intensive monitoring
for ages 3 through 5 will be discussed in Section III.C below.
     3. Mediation
The Court deemed CDE out of compliance in Phase 2 because the State does not
address an LEA’s mediation practices as part of its data analysis. (Dkt. 2520, p. 14.)
Specifically, the Court stated that it was “far from obvious that the state couldn’t take
action against districts that refuse to use mediation as a blanket matter (or, for that
matter, seriously neglect this tool).” (Id.)

To address this concern, CDE conferred with the California Office of Administrative
Hearings (OAH) 16 and examined available data on LEAs’ practices related to mediation.
By way of background, CDE contracts with OAH to administer the special education due
process hearing and mediation program for California. (Cal. Educ. Code §
56504.5(a).) 17 Once a party has filed a request for a due process hearing with OAH, the
parties must have the opportunity to resolve their dispute through voluntary, confidential
mediation with an impartial third party. (20 U.S.C. § 1415(e); 34 C.F.R. § 300.506(a);
Cal. Educ. Code § 56501(b)(2).) 18 In addition, even before a party has filed a request for
a due process hearing with OAH, the parties must have the opportunity to resolve their


16 As CDE’s contractor, OAH collects data on mediations held in the state pursuant to
34 C.F.R. § 300.506 and shares the data with CDE accordingly.
17 Under the IDEA, the person conducting a mediation or due process hearing must be

“impartial.” (20 U.S.C. § 1415(e)(2)(A)(iii); (f)(1)(A).) State law specifies that CDE must
contract with a third party for mediations and due process hearings. (Cal. Educ. Code §
56504.5(a).)
18 When a student or LEA files a request for due process hearing with the OAH, the

OAH allows the parties to confer and jointly request a mediation session prior to the
hearing if both agree to participate. The requested date of the mediation session, jointly
agreed upon by the parties, is then communicated to the OAH for scheduling purposes.
See https://www.dgs.ca.gov/OAH/Case-Types/Special-Education/Forms/Request-to-
Set-Mediation-and-for-Continuance-of-Initial-Due-Process-Hearing-if-
Required#@ViewBag.JumpTo.
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dispute through mediation. (20 U.S.C. § 1415(e); 34 C.F.R. § 300.506(a); Cal. Educ.
Code § 56500.3.) That is, a party can file a request with OAH for prehearing “mediation
only,” hoping to resolve the dispute without the need to file a request for a hearing. (Id.)

OAH does not currently collect data as to why mediation did not occur. Requiring LEAs
self-report that they do not mediate is unlikely to yield reliable information or address the
concerns raised by the Court. Therefore, CDE proposes to adopt the following proxy
method for evaluating whether an LEA is willing to mediate as part of its analysis of an
LEA’s performance.

Specifically, CDE has determined that it will take available mediation and due process
data from OAH and filter the data, pursuant to the following four filters, to yield a list of
LEAs that will be identified for targeted technical assistance related to prioritizing
mediation. An LEA’s annual compliance determination will not be affected by virtue of
being selected to receive targeted technical assistance related to mediation.

       Filter 1: Identify LEAs that filed a request for due process hearing only
       without mediation.

       Parents and LEAs may file different types of requests with OAH for various types
       of services (e.g. requests for due process hearings with or without mediation, and
       requests for “mediation only”).

       If CDE finds that an LEA has filed a request for a due process hearing only
       without mediation, that LEA will be selected for targeted technical assistance in
       the area of mediation absent mitigating data. 19 In Fiscal Year (FY) 2018-2019,
       only four LEAs filed a request for due process hearing only without mediation.

       Filter 2: Identify LEAs involved in cases in which a due process complaint
       was resolved by a due process hearing and written decision and there is no
       data indicating that mediation was held and there is no data indicating a
       willingness to mediate.

       When a due process hearing request is not resolved by other means, the dispute
       proceeds to an administrative hearing and the administrative law judge issues a
       written decision. By filtering the data by those cases that were ultimately resolved
       by a hearing and written decision, CDE identifies those cases that were not
       successfully resolved prior to hearing, as such cases could be due to an LEA’s
       refusal to participate in mediation. In FY 2018-2019, 52 LEAs had disputes
       resolved through a due process hearing and written decision.



19CDE will use instances of an LEA initiating the mediation process as a mitigating
factor when selecting LEAs for targeted technical assistance in this area. See Filter 4,
below.
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       CDE will then analyze the data further to identify those cases in which mediation
       was actually held. If the data confirms a mediation (albeit unsuccessfully)
       occurred, it necessarily confirms that the LEA participated. 20 Those LEAs will not
       be selected for targeted technical assistance in the area of mediation.

       Finally, CDE analyzes the data to identify those cases in which the data indicates
       the parties’ willingness to mediate. Data showing that a mediation session was
       scheduled (though not necessarily held) could indicate an LEA’s willingness to
       mediate. A mediation session is not scheduled unless both parties submit a
       jointly agreed-upon date to OAH. 21 Thus, if a mediation session is scheduled in a
       particular case, it is reasonable to infer that the LEA had the willingness to
       participate in mediation, notwithstanding the fact that the data does not identify
       the reason(s) why mediation did not occur. 22 If CDE is able to confirm that the
       LEA showed a willingness to mediate in a given case, that LEA would not be
       selected for targeted technical assistance in the area of mediation because the
       data does not suggest the LEA has a policy or practice of refusing mediation.

       Of the 52 LEAs in FY 2018-2019 that had disputes resolved through a due
       process hearing and written decision, 37 LEAs would be selected for targeted
       technical assistance in the area of mediation after applying this filter only (and all
       of its components) absent mitigating data.

       Filter 3: Identify LEAs that were named in a student-filed “mediation only”
       request where there is no data confirming mediation was held.

       CDE is able to identify when parents of students with disabilities file a “mediation
       only” request with the OAH. In such case, when mediation does not occur, and
       the OAH identifies the reason for case closure as a party “declined to
       participate,” it is reasonable to infer that the LEA, and not the parents who
       requested the mediation, declined to participate in the mediation. In these cases,
       the LEA will be selected for targeted technical assistance in the area of
       mediation, absent mitigating data. In FY 2018-2019, 16 LEAs were named in a
       student-filed “mediation only” request where there is no data confirming that
       mediation was held and OAH identified the reason for closure as a party
       “declined to participate.”

       Filter 4: Identify LEAs that filed a request for “mediation only” with the
       OAH.


20 Because mediation is voluntary, a mediation session is not held unless both parties
agree to participate.
21 Per OAH procedures, parties must jointly request a mediation and propose an

agreed-upon date before OAH will schedule a mediation.
22 The available data only shows when a mediation session is scheduled and whether or

not the mediation session actually took place.
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        To create a balanced and more complete assessment of LEA mediation
        practices, CDE will analyze the data to isolate those LEAs that filed a request for
        “mediation only” with OAH. CDE believes such LEAs are demonstrating use of
        informal dispute resolution processes as Congress desired. As such, CDE will
        use instances of an LEA initiating the mediation process as a mitigating factor
        when selecting LEAs for targeted technical assistance in this area. If, after
        applying filters 1 through 3 and arriving at a list of LEAs to be selected for
        technical assistance in this area, the data indicates an LEA on that list has filed a
        request for “mediation only” in the same year, CDE will not select that LEA for
        targeted technical assistance in the area of mediation. In FY 2018-2019, 56 LEAs
        filed a request for “mediation only” with the OAH.

Each year, CDE will analyze available data using these four filters to arrive at an
unduplicated list of LEAs that will be selected for targeted technical assistance in the
area of mediation. As a way to gauge scope and impact, when the four filters are
applied to due process and mediation data for FY 2018-2019 in the manner described,
42 LEAs would be selected for targeted technical assistance.

If the Court agrees that the foregoing proposed methodology is adequate to address the
Court’s concerns with respect to CDE’s use of mediation data, CDE will begin selecting
LEAs for technical assistance in this area in the 2020-2021 monitoring year. CDE
anticipates working with the SELPAs to support member LEAs identified for targeted
technical assistance in this area to increase use of mediation and systemically
encourage mediation. Most SELPAs receive grant funds for alternative dispute
resolution to develop and test local procedures, materials, and training to support
alternative dispute resolution in special education. As such, SELPAs are poised to be
meaningful partners in supporting LEAs’ knowledge and skill relating to non-adversarial
dispute resolution, including mediation.

     B. Areas that Need More Rigorous Targets
     1. State Performance Plan Indicator Targets
At the August 28, 2019 Case Management Conference (8/28/19 CMC), CDE provided
an update to the Court on the revisions to the SPP Targets, the timeline by which it
anticipated that new measurable and rigorous targets would be developed in
collaboration with Stakeholders pursuant to guidance from OSEP. 23 At the 8/28/19
CMC, CDE indicated that new targets would be submitted to OSEP by February 1,
2020. At that time, CDE anticipated that new targets would go into effect for data
collected in the six-year cycle beginning in Federal Fiscal Year (FFY) 2019 (2019-2020)
and continuing through FFY 2024 (2024-2025).



23See 71 Fed. Reg 46731, available at https://www.govinfo.gov/app/details/FR-2006-
08-14/06-6656.
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CDE convened an SPP Stakeholder group in July 2019 for a series of in-person and
virtual meetings in August 2019 and September 2019 to assist CDE in setting the new
targets. 24 Members of the Stakeholder group included educators, parents, school
administrators, policy advisors, school psychologists, Family Empowerment Center
staff, early education advisors, advocacy groups, Plaintiffs’ counsel in this case, and
state advisory board members. 25
Kristin Wright, Director, and Shiyloh Duncan-Becerril, Part B Data Administrator,
facilitated all the meetings, which focused on ten performance indicators for which CDE
must set targets. The remaining indicators under the SPP are compliance indicators for
which targets are set by the OSEP. CDE provided detailed presentations to educate the
Stakeholders to assist in making informed recommendations. The presentations
showed how each indicator is defined, measured, and calculated. Participants reviewed
statewide results over the last five years and how California compares to similar states.
Data forecasting was included. Illustrative materials presented at the August 26, 2019
meeting are included in Attachment 4 hereto.
In October 2019, 26 OSEP informed states that it would not be implementing a new six-
year cycle in FFY 2019, but rather would publish directives to states for a new six-year
cycle beginning in FFY 2020 through FFY 2025. For FFY 2019, OSEP directed states to
create extension targets and submit them to OSEP on February 1, 2020, the date
OSEP previously set to receive new targets for the next six-year cycle. Extension
targets require LEAs to continue to make improvements in outcomes for students with
disabilities along the same trajectory of the current State Performance Plan.
At the time of the OSEP announcement, CDE had already conducted five stakeholder
meetings. 27 After the OSEP announcement, CDE convened a follow up meeting with
Stakeholders on December 5, 2019, and reviewed the change in timeline and the
proposed FFY 2019 extension targets for feedback prior to CDE’s submission of the
extension targets to SBE for the scheduled January 8 and 9, 2020 SBE meeting.
Stakeholders were generally supportive of the proposed extension targets and did not
express any concerns with the extension targets, and CDE submitted the extension
targets to SBE for approval in January 2020, as set forth in Attachment 7 hereto


24 CDE sent SPP Stakeholders invitation letters to participate on July 2, 2019, as
reflected in Attachment 2 hereto.
25 The SPP Stakeholder member list and their professional organization affiliation is

reflected in Attachment 3 hereto.
26 October 10, 2019 National TA Call, available at

https://www.youtube.com/watch?v=2NPIuCzSozc&feature=youtu.be, at 3:14. See also
Attachment 5 hereto.
27 The timeline presented during the SPP Stakeholder Workgroup Meeting is set forth in

Attachment 6 hereto.
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Additionally, CDE provided Stakeholders the proposed targets for the six-year cycle
beginning in FFY 2020 for the Stakeholders’ continued feedback to CDE.
Given OSEP’s amended timeline and direction to use extension targets for another
monitoring year, the State cannot adopt new SPP targets for the next six-year cycle until
the 2021-2022 monitoring year, and the State anticipates SBE will not be in a position to
approve the new targets prior to the end of 2020. Nevertheless, CDE will continue to
engage with Stakeholders, and will seek final approval from both the Advisory
Commission on Special Education and SBE.
Accordingly, CDE anticipates that it will not be in a position to publicly release proposed
targets in advance of the June 2020 further Phase 2 Hearings. In light of this
development, CDE respectfully requests that the Court reschedule the telephonic CMC
set for April 22, 2020 to a date in February 2020 to allow the Court and the parties to
determine how best to address that issue in advance of the remaining submission
schedule for the Monitor and the parties and in connection with the June 2020 further
Phase 2 Hearings.
     2. Targeted Monitoring Activities
     a. Compliance Indicators
CDE monitors an LEA’s performance on compliance indicators to ensure timeliness.
CDE selects those LEAs that do not meet the timeliness indicators for targeted
monitoring. 28
     b. Performance Indicators
During the initial Phase 2 inquiry, CDE presented the selection methodology for the
previously named “Performance Indicator Review,” which is a targeted monitoring
activity that uses both SPP and Dashboard indicators to evaluate an LEA. The Court
determined that the SPP targets were not adequate for CDE’s use in selection for
further monitoring activities. (Dkt. 2520, p. 18.) For the 2019-2020 monitoring year, CDE
will continue to use the same targeted monitoring selection methodology of selection
described in previous submissions, with the expectation that the targets for the next six-
year cycle will become more ambitious and address the Court’s concerns. Additionally,
CDE will continue to use the Dashboard indicators for areas of overlap (e.g., graduation
rate, assessment proficiency, and suspension rate) and identify LEAs scoring a “Red” or
“Orange” color in the California School Dashboard, as described Section II.B.3 above.
Finally, beginning in the 2019-2020 monitoring year, CDE will apply the small LEA
aggregation methodology set forth in Section III.A.1 above.


28The Court deemed CDE’s current selection methodology for timeliness—which, as
described above, now includes a metric of timeliness in convening resolution
sessions—in compliance with federal law. (Dkt. 2520, pp. 18 & 31.)
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     i.       Restraint and Seclusion
CDE is collecting school year 2019-2020 29 data on restraint and seclusion 30 from LEAs
and anticipates using that data for monitoring LEAs beginning in the 2020-2021
monitoring year. CDE will provide data calculations and selection methodology to the
Court in subsequent phases of these proceedings.
     ii.      Child Find
The 7/5/19 Order deemed CDE out of compliance with respect to Child Find selection,
concluding that CDE’s Child Find cutoffs were insufficient. (Dkt. 2520, pp. 16-17.) The
Court stated that CDE “selected only those 38 districts (out of 1,296) with an
identification rate 31 below 3.6%.” (Id.)
SPP Indicator 11 measures the percentage of students with disabilities who were
evaluated within 60 days of receiving parental consent for initial evaluation. OSEP uses
SPP Indicator 11 to measure Child Find. CDE monitors LEAs for this requirement under
targeted monitoring. Any LEA that does not meet the OSEP-set target of 100% is
selected for targeted monitoring. CDE added another data calculation to measure
performance of LEAs in this area beginning in the 2018-2019 monitoring year.
To address the Court’s concerns regarding the CDE’s Child Find cutoff for selecting
LEAs for further monitoring, CDE made two changes to its methodology. CDE grouped
LEAs with small N-sizes as discussed in connection with its intensive monitoring
activities. CDE will use the same data calculation and plotting of LEAs into a normative
model as previously described. However, CDE now identifies LEAs below 1.5 standard
deviations from the mean, rather than 2 standard deviations from the mean, and will
select those LEAs that fall below the 7.23% rate of identification of students with
disabilities.
     c. Disproportionality
The Court deemed CDE’s current selection methodology for LEAs for disproportionality
targeted monitoring in compliance with federal law. (Dkt. 2520, pp. 18 & 31.)
Accordingly, CDE has not made any changes to its selection methodology in this area.
     C. Selection of LEAs for Intensive Monitoring
     1. Intensive Monitoring, Ages 6 through 21
     Selecting the “Correct” LEAs

29 See CALPADS File Specifications Forms, v11.0,
https://www.cde.ca.gov/ds/sp/cl/systemdocs.asp.
30 Cal. Educ. Code § 49006.
31 The identification rate is the number of children identified as needing special

education services divided by the total number of children served by the District.
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To address the Court’s concerns, CDE has revised its model for selecting LEAs for
intensive monitoring to focus on those factors most closely aligned with the provision of
FAPE in the LRE. In addition to substantially paring down the number of indicators,
CDE has also decided to stop using the previously described “1-4” scoring criteria,
which took into account an LEA’s current performance on an indicator as well as any
improvement or slippage experienced by the LEA from the previous year. Instead, CDE
will use a ranking system based on deciles for the LEA’s current year data only. In
connection with CDE’s revised intensive monitoring model, LEAs would now be grouped
into the bottom 10% of the state (given a score of 1) on an indicator, 11-20% (given a
score of 2), 21-30% (given a score of 3), and so on. This methodology does not make
each score dependent on the current target for that indicator, but instead yields scores
based on the actual rates for each indicator relative to other LEAs in the State. Although
the Court also identified concerns with the unambitious nature of targets, CDE is
working to address setting targets for indicators. Nevertheless, CDE’s revised
methodology ensures that the lowest performing LEAs across metrics most closely
aligned to FAPE in the LRE are selected for intensive monitoring regardless of the
target.

The following sections will describe the different models that CDE created, the
information considered during the policymaking process, and the decision points that
led to CDE’s new selection criteria for intensive monitoring.

Suggested Models 1 and 2

CDE began the data analysis by examining the implementation of the small N-size
aggregation methodology described above, modeling both the county and SELPA
methodologies. Models 1 and 2 focused on these measures: academic achievement
measured through performance on statewide assessments, placement in the least
restrictive environment, and suspension rates, graduation rates, dropout rates and post-
school outcomes.

CDE consulted its monitoring staff to determine if there were other indicators that might
also enhance the methodology. The monitoring staff expressed the desire to determine
if the addition of the compliance indicator measuring the 60-day timeline for completing
assessments would better identify LEAs in need of intensive monitoring. Accordingly,
this indicator was included in evaluating the potential models.

Figure 3 demonstrates how this process resulted in two models with three variations:


                                        Figure 3
                   Model 1                                    Model 2
 Small Methodology by County                Small Methodology by SELPA
 Addition of Indicator 11 – 60 Day Timeline Addition of Indicator 11 – 60 Day Timeline
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                 Model 1                                    Model 2
Small Methodology by County                Small Methodology by SELPA
Variation 1, Selection including:          Variation 1, Selection including:
• Proficiency rates in ELA and Math        • Proficiency rates in ELA and Math
• graduation rates                         • graduation rates
• dropout rates                            • dropout rates
• percentage in a regular classroom        • percentage in a regular classroom
   greater than 80% of the day                greater than 80% of the day
• percentage in a regular classroom        • percentage in a regular classroom
   less than 40% of the day                   less than 40% of the day
• percentage in separate schools           • percentage in separate schools
• suspension rates                         • suspension rates
• rate of post-secondary higher            • rate of post-secondary higher
   education                                  education
• rate of post-secondary employment        • rate of post-secondary employment
• rate of any post-secondary               • rate of any post-secondary
   employment or education                    employment or education
Note: Greater weight given to italicized   Note: Greater weight given to italicized
indicators.                                indicators.
Variation 2, Selection including:          Variation 2, Selection including:
• Proficiency rates in ELA and Math        • Proficiency rates in ELA and Math;
• percentage in a regular classroom        • percentage in a regular classroom
   greater than 80% of the day                greater than 80% of the day
• percentage in a regular classroom        • percentage in a regular classroom
   less than 40% of the day                   less than 40% of the day
• percentage in separate schools           • percentage in separate schools
• suspension rates                         • suspension rates

Note: No weighting on any indicator.       Note: No weighting on any indicator.
Variation 3, Selection including:          Variation 3: Selection including:
• Proficiency rates in ELA and Math        • Proficiency rates in ELA and Math
• graduation rates                         • graduation rates
• dropout rates                            • dropout rates
• percentage in a regular classroom        • percentage in a regular classroom
   greater than 80% of the day                greater than 80% of the day
• percentage in a regular classroom        • percentage in a regular classroom
   less than 40% of the day                   less than 40% of the day
• percentage in separate schools           • percentage in separate schools
• suspension rates                         • suspension rates
• rate of post-secondary higher            • rate of post-secondary higher
   education                                  education
• rate of post-secondary employment        • rate of post-secondary employment

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                 Model 1                                       Model 2
 Small Methodology by County                   Small Methodology by SELPA
 • rate of any post-secondary                  • rate of any post-secondary
   employment or education                       employment or education
 • percentage of student meeting the 60        • percentage of student meeting the 60
   day timeline                                  day timeline

 Note: Greater weight given to italicized      Note: Greater weight given to italicized
 indicators.                                   indicators.
 Final percentage score based on the total     Final percentage score based on the total
 possible points.                              possible points.

After reviewing the results based on using the three different variations among the two
grouping models, CDE decided to use Model 1, Variation 2 (six indicators, no
weighting). CDE decided not to include graduation, dropout and post-school outcomes
because these indicators would result in some LEAs being chosen for more indicators
than others due to the type of LEA, as certain indicators do not apply to elementary
school districts. To adequately identify the poorest performing LEAs in the state, CDE
believed that the number of criteria should be same across all LEAs. Additionally, CDE
ultimately decided not to use the 60-day timeline indicator for several reasons. First, the
current rate of compliance in the state for completion of assessments within 60 days
was 96.2%, meaning that a majority of LEAs met the timeline annually. Relatedly, this
metric is already captured in CDE’s targeted monitoring methodology. Finally, CDE had
a concern that including this indicator would artificially inflate the overall score, because
so many LEAs score 100% on this indicator.

Suggested Model 3

CDE made some observations and improvements regarding the outcomes of Model 1,
Variation 2. First, for the reasons discussed above, CDE decided to group small 32
Charter LEAs by their SELPA, while other small LEAs would be grouped by county.
Additionally, the model was based on six indicators that can be put into three
categories:

     •   Academic Achievement (two indicators): Proficiency on Math and English
         Language Arts assessment
     •   Climate (one indicator): Rate of Suspension
     •   Placement: (three indicators):
            o Percentage in a regular classroom greater than 80% of the day
            o Percentage in a regular classroom less than 40% of the day
            o Percentage in separate schools


32An LEA is considered “small” for the purposes of selection if it has 100 or fewer
students with disabilities.
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CDE was concerned that the categories overly-weighted the placement indicators, and
did not give enough weight to discipline. CDE decided to drop the “percentage in a
regular classroom less than 40% of the day” indicator for two reasons. First, it made the
categories more equal with respect to their influence on the total percentage. Second,
CDE wants to encourage increased access to general education classrooms for
students with disabilities, instead of focusing on having fewer students in special day
classes. The final change in the model was to double-weight the suspension category,
ensuring that each category would have equal weight in the final selection score.

Suggested Model 4

In the next iteration, CDE observed that although suspension was a quality measure, it
could be bolstered by measuring attendance. In other words, even if a student has not
been suspended, those students who are not engaged in school or do not feel
supported might nevertheless stop attending. Those students would not be captured in
suspension data. Measuring attendance, then, would better identify LEAs in which
students with disabilities are not meaningfully engaged. Thus, CDE added the
percentage of students who are chronically absent 33 to the methodology.

Upon reviewing the cut scores for quartile ranks, CDE had concerns that LEAs at the
5th percentile and the 24th percentile were assigned the same performance rank even
though their scores were very different. To address this concern, CDE decided to assign
rank scores based on deciles instead of quartiles.

Final Model

Based on consideration of the four proposed models, input from stakeholder meetings,
and after running the models to determine the number of LEAs that would be selected
by each proposed model, CDE proposes using following final model, shown in Figure 4,
below, for its intensive monitoring of students with disabilities ages 6 through 21. This
model includes six indicators in three categories that measure the implementation of
FAPE in the LRE for students with disabilities ages 6 through 21. 34



                                        Figure 4
 Category                      Indicator
 Academic Achievement          • Proficiency Rate in English Language Arts

33 Students are considered chronically absent if they are absent at least 10% of the
instructional days that they were enrolled to attend in a school. (Cal. Educ. Code §
60901(c)(1).)
34 The calculation for each indicator used for intensive monitoring, ages 6 through 21, is

shown in Attachment 8, hereto.
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 Category                      Indicator

                               •   Proficiency Rate in Math

 Educational Climate           •   Rate of Suspension

                               •   Rate of Chronic Absenteeism

 Least Restrictive             •   Rate of Students in a Regular Class Greater than
 Environment                       80% of the day

                               •   Rate of Students in Separate Schools and
                                   Placements


Ranking Performance
CDE groups all LEAs using the small N-size aggregation methodology and then the
calculation for each indicator is applied as part of CDE’s selection of LEAs for intensive
monitoring. LEA and small LEA group performance are assigned a rank for each
indicator, separating LEA and small LEA groups by deciles. The bottom 10% of LEAs
and small LEA groups scoring poorly are given a rank of 1, the next 10% are given a
rank of 2, and so on. As an example, Figure 5 shows the ranking of an LEA or small
LEA group performance scores for the rate of students ages 6 through 21 who receive a
majority of their education in a regular classroom:
                                        Figure 5
  Decile        Rank         Rate of Students in a Regular Class Greater than 80%
                                                   of the day
                                      Min Score                   Max Score
    ≤ 10             1                 2.96296%                       42.65010%
   11-20             2                 42.73466%                      48.38710%
   21-30             3                 48.46715%                      53.03738%
   31-40             4                 53.03983%                      56.51984%
   41-50             5                 56.52174%                      60.12317%
   51-60             6                 60.25961%                      64.43299%
   61-70             7                 64.46629%                      68.70504%
   71-80             8                 68.90756%                      76.58228%
   81-90             9                 76.60256%                      90.62500%
  91-100             10                90.72165%                      100.00000%

An LEA and small LEA group rankings for each indicator are treated as scores. Each
indicator ranking is added together and divided by the total possible score (60). Due to

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the indicators CDE selected and the aggregation of small LEAs, nearly all LEAs and
small LEA groups had a valid score. 35
Figure 6 illustrates the scoring methodology using one LEA as an example:

                                         Figure 6
 Category         Indicator                                  LEA Score        LEA Rank

 Academic        Proficiency Rate in English             22.67%                    8
 Achievement     Language Arts
                 Proficiency Rate in Math                17.33%                    8
 Educational     Rate of Suspension                      4.44%                     7
 Climate         Rate of Chronic Absenteeism             8.48%                     9
                 Rate of Students in a Regular Class     68.14%                    7
 Least
                 Greater than 80% of the day
 Restrictive
                 Rate of Students in Separate            0.44%                     8
 Environment
                 Schools and Placements
 Sum of Ranking                                                                   47
 Number of Valid Indicators                                                        6
 Total Possible (Number of Valid Indicators multiplied by 10)                     60
 Percent (Sum of Ranking divided by Total Possible)                             78.33%

CDE believes that this final model identifies the LEAs with the poorest performance for
students with disabilities, ages 6 through 21, when measuring across the indicators
most closely aligned with FAPE in the LRE, and addresses the Court’s concerns as set
forth in the 7/5/19 Order.

Selecting Enough LEAs for Intensive Monitoring, Ages 6 through 21
CDE sought to set an appropriate cutoff to select LEAs for this intensive level of review.
Last year, CDE identified 29 LEAs for intensive monitoring. Going forward, CDE has
determined that no fewer than 10% of the LEAs in the state should be identified for any
type of Level 3 intensive monitoring.

In the final small grouping model there were 728 LEAs and small LEA groups. Ranking
the percentage (sum of ranking divided by total possible) from worst to best in a list,
CDE identified the bottom 10% of these LEAs and grouped LEAs. The 73rd record from
the list scored 30.00%. Because an additional 10 LEAs also scored 30.00%, CDE
decided to include these LEAs in the identification of LEAs for intensive monitoring.

35 A valid score means that LEAs and small LEA groups have requisite data and scores
for each of the six indicators, i.e., that the indicators apply to each LEA, rather than
excluding certain LEAs, like elementary schools. Five of 728 LEAs or small LEA groups
did not have data for one or more indicators.
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Accordingly, as shown in Figure 7 below, CDE identified a total of 83 LEAs and small
LEA groups for intensive monitoring for ages 6 through 21 for the 2019-2020 monitoring
year:

                                       Figure 7
 Type                                       Count
 Small Grouping                             1
 County Office of Education                 1
 Elementary School District                 10
 High School District                       23
 Unified School District                    48
 Total                                      83


Disaggregation of Small LEA Groups
CDE’s methodology resulted in the identification of one small LEA group for intensive
monitoring for ages 6 through 21. The small LEA group, consisting of two LEAs and a
total of 44 students with disabilities ages 6 through 21, scored 30.00% across the six
indicators. Figure 8 below, illustrates the small LEA group’s performance:

                                       Figure 8
 Category        Indicator                                 Small LEA        Small LEA
                                                          Group Score      Group Rank
 Academic        Proficiency Rate in English                11.43%             4
 Achievement     Language Arts
                 Proficiency Rate in Math                8.70%                  5
 Educational     Rate of Suspension                      6.22%                  5
 Climate         Rate of Chronic Absenteeism             28.11%                 2
                 Rate of Students in a Regular Class     9.09%                  1
 Least
                 Greater than 80% of the day
 Restrictive
                 Rate of Students in Separate            18.18%                 1
 Environment
                 Schools and Placements
 Sum of Ranking                                                                18
 Number of Valid Indicators                                                     6
 Total Possible (Number of Valid Indicators multiplied by 10)                  60
 Percent (Sum of Ranking divided by Total Possible)                          30.00%

When a small LEA group is identified for monitoring, CDE analyzes the individual LEAs’
performance on indicators. CDE’s ultimate selection of an individual LEA for monitoring
is based on poor performance. An individual LEA in a small LEA group is therefore


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identified for intensive monitoring for ages 6 through 21 if any of the following criteria
are satisfied:
   •   No students proficient in English Language Arts assessments
   •   No students proficient in Math assessments
   •   No students in regular class 80% or more
   •   Any student in separate schools and placements
   •   Any student suspended
   •   Any student identified as chronically absent

Both of the individual LEAs met the criteria for selection for intensive monitoring for
ages 6 through 21.
Figure 9 below illustrates the data for the particular LEA within the small LEA group that
CDE ultimately selected for intensive monitoring for ages 6 through 21.
                                          Figure 9
 Category          Indicator                          Small LEA      Small LEA      Count of
                                                       Group          Group         Students
                                                       Score           Rank           with
                                                                                   Disabilities
                                                                                     (SWD)
 Academic          Proficiency Rate in English          11.43%            4            8
 Achievement       Language Arts
                   Proficiency Rate in Math              8.70%            5               5
 Educational       Rate of Suspension                    6.22%            5               12
 Climate           Rate of Chronic Absenteeism          28.11%            2               52
                   Rate of Students in a Regular         9.09%            1               3
 Least             Class Greater than 80% of
 Restrictive       the day
 Environment       Rate of Students in Separate         18.18%            1               8
                   Schools and Placements


As illustrated in Figure 9, this particular LEA contributed to the poor performance of its
grouping. This LEA suspended 12 students, has 52 students identified as chronically
absent, and serves eight students in separate schools or placements.
Figure 10 illustrates the performance of the other LEA assessed within this small LEA
group. CDE decided to select for intensive monitoring as well.




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                                         Figure 10
 Category          Indicator                          Small LEA      Small LEA       Count of
                                                       Group          Group           SWD
                                                        Score          Rank
 Academic          Proficiency Rate in English         11.43%           4                0
 Achievement       Language Arts
                   Proficiency Rate in Math              8.70%            5              1
 Educational       Rate of Suspension                    6.22%            5              0
 Climate           Rate of Chronic Absenteeism          28.11%            2              0
                   Rate of Students in a Regular         9.09%            1              1
 Least             Class Greater than 80% of the
 Restrictive       day
 Environment       Rate of Students in Separate         18.18%            1              0
                   Schools and Placements


Compared to the small LEA in Figure 9, Figure 10 shows that this small LEA did not
contribute to the group’s overall poor performance in educational climate or LRE. In
contrast to the small LEA in Figure 9, the small LEA in Figure 10 suspended no
students with disabilities, did not have any student with disability identified as chronically
absent, or contribute to the group’s poor performance in the LRE indicator: the student
in this LEA was served in the regular classroom with their non-disabled peers. However,
this LEA did not have any student proficient in English Language Arts. Accordingly, this
LEA met CDE’s selection criteria for intensive monitoring.


In total, the number of students with disabilities served by the LEAs selected for
intensive monitoring for ages 6 through 21 is 110,517 or approximately 16% of the
students with disabilities, ages 6 through 21 in California. 36 Figure 11 illustrates that
breakdown:
                                         Figure 11
 Type                               LEA Count                     SWD Count
 LEAs in a Small Grouping           2                             44
 County Office of Education         1                             405
 Elementary School District         10                            8,573
 High School District               23                            29,237
 Unified School District            48                            72,258
 Total                              84                            110,517



36There were 2,247 LEAs in California during the 2018-2019 school year, serving
702,413 students with disabilities, ages 6 through 21.
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     2. Intensive Monitoring, Ages 3 through 5
CDE examined the methodology and criteria for selection of LEAs for an intensive
monitoring activity to identify the worst performing LEAs for preschool-age children with
disabilities in the areas most closely aligned with FAPE in the LRE. Some preschool
indicators are also part of the selection criteria for targeted monitoring activities, so this
intensive activity is not the only manner in which the State monitors LEAs serving
preschool-age children with disabilities.
Similar to the revised intensive monitoring selection criteria for ages 6 through 21, CDE
conducted an iterative process that included a number of models, review and updates to
the selection based on analysis of each model, to address the Court’s concerns in the
7/5/19 Order.
The risk assessment that CDE had previously proposed using examined a number of
indicators that assigned a risk (or score) of 1 or 0 based on whether the LEAs met the
target. This risk assessment did not consider the severity or distance from the standard.
After conducting a process on the intensive monitoring aged 6 through 21 selection that
divided LEAs into deciles based on actual performance scores, CDE decided to
implement the same methodology for the preschool-age selection. CDE would make the
selection of LEAs based on actual scores, and remove the use of the SPP targets
altogether, again with the goal that the lowest performing LEAs would receive the lowest
score on the indicators within the selection model.
Final Model
At the end of the modeling process, CDE determined that the final model would be
similar to the intensive monitoring for ages 6 through 21 and would include three
categories that include assessment, 37 discipline and placement, illustrated in Figure 12.




37The term “academic achievement” is not used for this activity. LEAs are scored based
on the Desired Results Developmental Profile, which measures outcomes for children
ages 3 through 5 in three areas: positive social-emotional skills, acquisition and use of
knowledge, and skills and use of appropriate behaviors.
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                                       Figure 12
 Category                                     Indicator
 Assessment                                   • Average Rate of Child Outcomes


 Discipline                                   •   Rates of Suspension and Expulsion


 Least Restrictive Environment                •   Rate of Students ages 3-5 who
                                                  receive a majority of Special
                                                  Education in a regular preschool
                                                  classroom

                                              •   Rate of Students ages 3-5 who
                                                  receive a majority of special education
                                                  and related services in Separate
                                                  Schools and Placements


Due to the more limited number of preschool indicators and the fewer number of LEAs
serving preschool-aged children with disabilities, CDE decided to include all preschool
assessment indicators and average them to ensure no single indicator unduly
influenced an LEA’s final score. CDE believes that Preschool LRE should be a major
component in selection for intensive monitoring, and includes two indicators for LRE in
its model. CDE believes children with disabilities with early access to general education
will have better lifetime educational and functional outcomes.
Ranking of LEA Performance and Identification for Intensive Monitoring, Ages 3
through 5
CDE applies a small LEA aggregation methodology and the same ranking methodology
used in the 6 through 21 intensive monitoring selection. For each indicator, the poorest
performing 10% are given a score of 1, the next 10% are given a score of 2, and so on.
Figure 13 illustrates the ranking of scores for the rate of children ages 3 through 5 who
receive a majority of their education in a regular preschool classroom.




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                                       Figure 13
  Decile        Rank          Rate of Students ages 3-5 who receive a majority of
                              Special Education in a regular preschool classroom
                                        Min                         Max
    ≤ 10          1                  2.03252%                    22.44898%
   11-20          2                 22.64151%                    31.66667%
   21-30          3                 31.72414%                    38.75000%
   31-40          4                 38.97059%                    47.58065%
   41-50          5                 47.64890%                    53.57143%
   51-60          6                 53.78671%                    59.16667%
   61-70          7                 59.18033%                    65.90164%
   71-80          8                 66.36364%                    74.60317%
   81-90          9                 75.34247%                    85.57692%
  91-100          10                86.26943%                    97.22222%

LEA and the small LEA group scores are then added together and divided by the total
possible score. CDE determined this intensive level of review should include
approximately 10% of the LEAs. In the final model, there were 279 LEAs and small LEA
groups, resulting in 28 LEAs selected for review (10% of 279). The 28th LEA scored
32.50% using the decile ranking methodology on all indicators. There is one additional
LEA that scored 32.50%.
As shown in Figure 14, CDE’s methodology resulted in it identifying a total of 29 LEAs
and small LEA group for intensive monitoring for ages 3 through 5 for the 2019-2020
monitoring year.
                                       Figure 14
 Type                                       Count
 Small Grouping                             1
 Elementary School District                 11
 Unified School District                    17
 Total                                      29


Disaggregation of Small LEA Groups
Like intensive monitoring for ages 6 through 21, one small LEA group met the criteria for
selection for intensive monitoring, preschool age. The small LEA group, consisting of 39
LEAs and 995 total children with disabilities ages 3 through 5, scored 29.58% across
the four indicators. Figure 15 illustrates the small LEA group’s performance as follows:




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                                       Figure 15
 Category         Indicator                                Small LEA         Small LEA
                                                          Group Score       Group Rank
 Assessment      Average Rate of Student Outcomes           69.55%             2.83
 Discipline      Rates of Suspension                         0.49%              3
                 Rate of Students ages 3-5 who              37.29%              3
                 receive a majority of special
                 education in a regular preschool
 Least
                 classroom
 Restrictive
                 Rate of Students ages 3-5 who           42.81%                   3
 Environment
                 receive a majority of special
                 education and related services in
                 separate schools and placements
 Sum of Ranking                                                                11.83
 Number of Valid Indicators                                                      4
 Total Possible (Number of Valid Indicators multiplied by 10)                   40
 Percent (Sum of Ranking divided by Total Possible)                           29.58%


CDE analyzes each of the 39 LEAs’ performance included under the small LEA group.
CDE’s ultimate selection of an individual LEA for monitoring is based on poor
performance. An individual LEA is therefore identified for intensive monitoring for ages 3
through 5 if any of the following criteria are satisfied:
   •   Any preschool age discipline
   •   No children in regular classroom
   •   Any children in preschool separate placements

For example, Figure 16 illustrates the performance of an LEA assessed under a small
LEA group and selected for intensive monitoring. Figure 17 illustrates the performance
of another LEA assessed under this small LEA group and not selected for monitoring.




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                                       Figure 16
 Category        Indicator                          Small LEA     Small LEA       Count of
                                                   Group Score     Group          Children
                                                                    Rank            with
                                                                                 Disabilities
                                                                                   (CWD)
 Discipline      Rates of Suspension                  0.49%            3              1
                 Rate of Students ages 3-5           37.29%            3              8
                 who receive a majority of
                 Special Education in a
 Least           regular preschool classroom
 Restrictive     Rate of Students ages 3-5           42.81%            3             21
 Environment     who receive a majority of
                 special education and related
                 services in separate schools
                 and placements


This LEA’s group was identified as one of the poorest performing LEAs for outcomes of
children with disabilities ages 3 through 5 and this particular LEA contributed to the
group’s overall poor performance. This LEA disciplined one child ages 3 through 5 and
placed eight children in separate schools or placements.
                                       Figure 17
 Category        Indicator                           Grouped      Grouped         Count of
                                                      Small        Small           CWD
                                                      LEAs’        LEAs’
                                                      Score        Rank
 Discipline      Rates of Suspension                  0.49%          3                0

                 Rate of Students ages 3-5 who        37.29%          3              13
                 receive a majority of Special
                 Education in a regular
 Least           preschool classroom
 Restrictive     Rate of Students ages 3-5 who        42.81%          3               0
 Environment     receive a majority of special
                 education and related services
                 in separate schools and
                 placements


Compared to the small LEA in Figure 16, the small LEA in Figure 17 did not contribute
to the group’s overall poor performance in discipline; it suspended no children with
disabilities, nor did the LEA contribute to the group’s poor performance in separate
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placement LRE indicator. Accordingly, CDE determined that this small LEA does not
require intensive monitoring.
In total, 25 of the 39 LEAs grouped in this small LEA group are identified for intensive
monitoring for ages 3 through 5. As shown in Figure 18, the number of children with
disabilities served by the LEAs selected for intensive monitoring for ages 3 through 5 is
9,641 or about 11% of the children with disabilities in California. 38
                                         Figure 18
 Type                              Count                         CWD Count
 LEAs in a Small Grouping          25                            936
 Elementary School District        11                            2,147
 Unified School District           17                            6,558
 Total                             53                            9,641


If CDE identifies an LEA for an intensive monitoring for both age groups (6 through 21
and 3 through 5), that LEA’s monitoring plan will expand to include both age groups.
LEAs not selected for intensive monitoring for the school-age group (6 through 21) will
be identified for an intensive monitoring activity based solely on their performance for
children with disabilities ages 3 through 5.
     3. Significant Disproportionality
The Court found CDE compliant with respect to CDE’s methodology for selecting LEAs
for Intensive Monitoring - Significant Disproportionality. (Dkt. 2520, p. 32.)
On June 24, 2019, CDE held a meeting to with Stakeholders to discuss the use of
reasonable progress, and to review and provide a set of recommended criteria to CDE
for final approval by the State Superintendent of Public Instruction. 39
During the fall 2019, CDE followed up with Stakeholders to address the law’s “flexibility”
provision, which provides that a state is not required to identify an LEA as having a
significant disproportionality based on race or ethnicity until the LEA (1) exceeds the risk
ratio for a group and category for up to the three prior consecutive years and (2)
exceeds the risk ratio and failed to demonstrate reasonable progress in lowering the risk




38 There were 1,349 LEAs in California during the 2018-2019 school year, serving
86,456 children with disabilities, ages 3 through 5.
39 Attached hereto as Attachment 9 is the June 2019 Significant Disproportionality

Stakeholder Group PowerPoint.
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ratio or alternate risk ratio for a group and category for the two prior consecutive years.
(34 C.F.R. § 300.647.) At the meeting a number of options were presented for review. 40
Final Recommendations from the Stakeholder Group
The Stakeholders recommended that CDE implement a reasonable progress
methodology of 0.5 risk ratio per year minimum over a three-year period. The
reasonable progress would not apply to LEAs that have a risk ratio of greater than 5 at
the end of 3 years. This method has been presented to and approved by the State
Superintendent of Public Instruction. For the 2019-20 monitoring year, 137 LEAs were
identified as Significantly Disproportionate, of those, three LEAs demonstrated
reasonable progress as defined, and thus were not identified for further monitoring in
this area, resulting in a total of 134 LEAs preliminarily identified for Intensive Monitoring
in the area of Significant Disproportionality.

     IV.   IEP Implementation
In its Phase I Order relating to CDE’s statewide data collection, the Court deemed CDE
out of compliance with federal law as to data collection related to IEP implementation.
(Dkt. 2428 at p. 2.)
CDE met with internal and external stakeholders to review options for collecting this
data. Initially, CDE explored the option of collecting the number of services offered and
provided (by service minute) for each student with a disability. CDE examined the
current state of data collection of these elements in the field and found wide variance in
the technical capabilities among LEAs. All LEAs collected this data in some manner, but
not in a uniform format or reporting mechanism. For example, some LEAs collected
services and service time electronically by student, and recorded that data in an
electronic service record. Other LEAs recorded this data on paper service logs. Further,
some LEAs used a combination of collection methods. To have a statewide system of
collecting service minutes, CDE would need to design, provide training on and
implement a uniform data collection statewide. This would be both costly and time
intensive. The time to implement such a collection could exceed five years to ensure
valid and reliable data.
CDE reviewed other methods by which states similar to California have collected this
data, and found that other states that do not have a uniform statewide IEP system also
do not collect data at the service minute level, nor do these states collect service
minutes at all.



40Attached hereto as Attachment 10 is the September 2019 Significant
Disproportionality Stakeholder Group PowerPoint, including options for determining
reasonable progress.
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                 Emma C. v. Thurmond et al.; Case No. 96-cv-04179-VC
  STATE DEFENDANTS’ FURTHER PHASE 2 COMPLIANCE REPORT

During the Phase 1 proceedings, the Court Monitor cited the Ravenswood City
Elementary School District’s (District’s) method for collecting this data as a proposal for
statewide collection—the District reviews service delivery from a randomly selected
sample of no less than 15% of all special education students enrolled in the District.
Additionally, the District was required to report the number of sampled records and the
number of those records for which 95% of IEP services included in the student’s IEP
were provided in accordance with the consented IEP, and the number of IEPs for which
95% of IEP services included in the student’s IEP were not provided in accordance with
the consented IEP.
As described in the joint case management statement dated August 21, 2019, CDE
engaged in several conversations with Plaintiffs and the Court Monitor regarding an IEP
implementation data collection proposal, and proposed using the Service Delivery
Report used by Ravenswood City Elementary School District to address the Court’s
concerns in the 8/17/18 Order as to IEP implementation data collection. (Dkt. 2526.)
Neither Plaintiffs nor the Monitor objected to CDE’s proposed approach. Thus, CDE is
considering the use of a statistically significant sample from each LEA annually, with
CDE randomly selecting LEAs and students to ensure that the data LEAs report is valid
and reliable for use in monitoring.
CDE will work with experts in statistical sampling to determine a sampling methodology
for LEAs and design a form during this 2019-2020 school year. CDE intends to pilot the
process of collection with a smaller selection of LEAs during the 2020-2021 school year
and anticipates full implementation of the data collection for IEP implementation in the
2021-2022 school year for use in the 2022-2023 monitoring year.

   V.      Attachments
Attachment 1: Small LEA Aggregation Process Steps and SAS Code for Aggregation of SWD,
ages 6 through 21
Attachment 2: July 2, 2019 CDE Invitation Letter to SPP Stakeholders
Attachment 3: SPP Stakeholder Member List
Attachment 4: August 26, 2019 Meeting Presentation Materials
Attachment 5: Excerpted Screenshots of October 10, 2019 OSEP National TA Call Slides
Attachment 6: Timeline presented to SPP Stakeholders
Attachment 7: CDE’s Extension Targets Submitted to SBE for January 2020 Meeting
Attachment 8: Calculation Intensive Monitoring, ages 6 through 21 indicators
Attachment 9: June 2019 Significant Disproportionality Stakeholder Group PowerPoint
Attachment 10: September 2019 Significant Disproportionality Stakeholder Group PowerPoint


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           ATTACHMENT 1
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Smalls Summary Methods for Data Year 2018-19, Monitoring Year 2019-20

Intensive Review (IR), Preschool Review (PRS) and Targeted Review use similar schemes.

   1. Determine Smalls Using Special Education Census Data
          a. From the December 2018 CASEMIS submission, select students who meet the age
             criteria and whose special education plan type is not “Pending”.
                   i. For IR age criteria is age greater than 5.
                  ii. For PRS age criteria is age equals 3, 4, or 5.
                 iii. For Targeted age criteria is age equal to or greater than 3.
          b. Merge the data from Step 1a with a list of LEAs with SELPA information.
   2. Add the data to be used for determination
          a. Determine LEA Type by using the CDE’s Public Schools Database
          b. Add LEA level raw data for the indicators needed
                   i. For IR determination data means LRE, Assessment, Discipline and Chronic
                      Absenteeism.
                  ii. For PRS determination data means Preschool LRE, Preschool Assessment and
                      Preschool Suspension.
                 iii. For Targeted determination data means Graduation, Dropout, Assessment,
                      Discipline, School age LRE, Preschool LRE, Parent Involvement, Post school
                      Outcomes.
          c. Merge all of the data together with the results of Step 1.
   3. Clean Up data for LEAs who have merged.
          a. Merge Petaluma and Santa Rosa’s LRE and Assessment Data
          b. Merge Petaluma and Santa Rosa’s Discipline data.
   4. Sum smalls by Charter SELPA or County
          a. Determine Smalls level (greater than or equal to 100 students in age criteria)
          b. Give the Smalls new LEA code, LEA name and SELPA code for correct identification.
          c. Sum the Smalls by the new LEA code.
          d. Perform required calculations for analysis.
          e. Output the final file.




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LIBNAME IRS "M:\Comprehensive Review\2019-20\2019-20 CR Selection\CR
Ver9\Data";

/*1. OBTAIN SMALLS ONLY FROM FULL LISTING, ADD NOTATION*/
DATA IR_SMALL1;
SET IRS.THIRD;
LENGTH CR_NOTE $250;

CR_NOTE = CATX(" ", "Evaluated as part of", DS_NAME);
WHERE LEA_type="Smalls" AND DOA NOT IN ("7300000");
RUN;

/*2. CREATE NEW CALCULATED PCTS COLUMNS AND EVALUATE SELECTED SMALLS
(FOR 19-20 ONLY AMADOR COUNTY SMALLS - 0300000 WAS SELECTED)*/
DATA IR_SMALL2 (KEEP=DOA2 Name Type sl_code SELPA IR_ELA IR_MATH
IR_RC80 IR_SEP CR_NOTE IR_SUS IR_ABS
                      IR_ELA_TAG IR_MATH_TAG IR_RC80_TAG IR_SEP_TAG
IR_SUS_TAG IR_ABS_TAG CRCY DOA LEA_TYPE ds_name);
SET IR_SMALL1;

LENGTH CRCY $250 IR_ELA_TAG IR_MATH_TAG IR_RC80_TAG IR_SEP_TAG
IR_SUS_TAG IR_ABS_TAG $3;
FORMAT IR_ELA IR_MATH IR_RC80 IR_SEP IR_SUS IR_ABS PERCENT8.2;

IF COUNT = . THEN IR_RC80= .; ELSE IR_RC80=RC80/COUNT;
IF COUNT = . THEN IR_SEP = .; ELSE IR_SEP=SEP/COUNT;
IF PART_ELA=. THEN IR_ELA = .;        ELSE
IR_ELA=ACHIEVE_ELA/PART_ELA;
IF PART_MATH = . THEN IR_MATH= .;     ELSE
IR_MATH=ACHIEVE_MATH/PART_MATH;
IF CUM_ENROLL = . THEN IR_SUS= .;     ELSE
IR_SUS=NUM_SUSPENDED/CUM_ENROLL;
IF DENOM_ABSENT= . THEN IR_ABS=.;     ELSE
IR_ABS=NUM_ABSENT/DENOM_ABSENT;

IF DOA = "0300000" AND   ACHIEVE_ELA<1     THEN IR_ELA_TAG="YES"; ELSE
IR_ELA_TAG="NO";
IF DOA = "0300000" AND   ACHIEVE_MATH<1 THEN IR_MATH_TAG="YES"; ELSE
IR_MATH_TAG="NO";
IF DOA = "0300000" AND   RC80<1                 THEN IR_RC80_TAG="YES";
ELSE IR_RC80_TAG="NO";
IF DOA = "0300000" AND   SEP>0                  THEN IR_SEP_TAG="YES"; ELSE
IR_SEP_TAG="NO";
IF DOA = "0300000" AND   NUM_SUSPENDED>0        THEN IR_SUS_TAG="YES"; ELSE
IR_SUS_TAG="NO";
IF DOA = "0300000" AND   NUM_ABSENT>0      THEN IR_ABS_TAG="YES"; ELSE
IR_ABS_TAG="NO";

IF (IR_ELA_TAG="YES" OR IR_MATH_TAG="YES" OR IR_RC80_TAG="YES" OR
IR_SEP_TAG="YES" OR IR_SUS_TAG="YES" OR IR_ABS_TAG="YES")
     THEN CRCY="REVIEW REQUIRED"; ELSE CRCY="NO REVIEW REQUIRED";
RUN;

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PROC SORT DATA=IR_SMALL2; BY DOA; RUN;


/*3. MERGE IN SMALL LEA GROUP DATA TO EACH OF THE SMALL LEAS*/
LIBNAME IRS_BASE "M:\Comprehensive Review\2019-20\2019-20 CR
Selection\CR Ver9\Data";

DATA IRSA (KEEP=doa NAME LEA_type PCT_ELA PCT_MATH PCT_SUSPEND
PCT_ABSENT PCT_80 PCT_SS
     RANK_ELA RANK_MATH RANK_SUSPENSION RANK_LRE80 RANK_LRESS
RANK_ABSENT SUM VALID_DENOM PCT SUM_VALID);
SET IRS_BASE.OUTPUT_VER9;
WHERE LEA_type="Smalls";
RUN;

PROC SORT DATA=IRSA; BY DOA; RUN;

DATA IRSMALL_ALL;
MERGE IRSA IR_SMALL2;
BY DOA; RUN;

PROC SORT DATA=IRSMALL_ALL; BY DOA2; RUN;

/*4. CLEAN UP AND OUTPUT*/
LIBNAME IR_OUT "M:\Comprehensive Review\2019-20\2019-20 CR
Selection\CR Ver9\Smalls Disaggregation";

DATA IR_OUT.IR_OUT (DROP=DS_NAME LEA_TYPE DOA TYPE);
SET IRSMALL_ALL;
RUN;




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           ATTACHMENT 2
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                                       July 2, 2019



Dear Colleague:

   Individuals with Disabilities Act Part B State Performance
                     Plan Indicator Targets

The Individuals with Disabilities Education Act (IDEA) requires that each state have in
place an IDEA Part B State Performance Plan (SPP) that evaluates the state’s efforts to
implement the requirements and purposes of IDEA Part B, as well as describe how the
state will improve such implementation. IDEA Section 616(b)(1)(C) requires that each
state review its SPP at least once every six years.

The SPP is critical to improving educational results and functional outcomes for
students with disabilities in California. To ensure that the children of California benefit
from the expertise and perspectives of a wide range of individuals, I am inviting your
organization to participate in upcoming SPP Workgroup stakeholder meetings. The goal
of these meetings is to discuss and reestablish measurable and rigorous targets for
each SPP indicator for federal fiscal years 2019 through 2024. For more information on
California’s State Performance Plan and Annual Performance Report, visit
https://www.cde.ca.gov/sp/se/qa/index.asp, the Quality Assurance Process web page.

The SPP Workgroup will meet a total of five times between August and September
2019. These all-day meetings are expected to be held both virtually and in-person in
Sacramento. The proposed meeting dates are:


                                           Date
                                     August 5, 2019
                                     August 21, 2019
                                     August 26, 2019
                                   September 10, 2019
                                   September 24, 2019
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July 2, 2019
Page 2

Due to space constraints, it is requested that your organization only send one
representative. Please respond by July 19, 2019, to indicate whether you and/or a
designee will participate. To RSVP, please send an email to
SPPWorkgroup@cde.ca.gov. Pursuant to the Rehabilitation Act of 1973 and the
Americans with Disabilities Act of 1990, please indicate if you require a reasonable
accommodation to attend or participate in these meetings.

Thank you for considering contributing your time and expertise to this important work. If
you have any questions regarding this subject, please contact Shiyloh Duncan-Becerril,
Education Administrator, by phone at 916-445-4628 or by email at
SPPWorkgroup@cde.ca.gov.


Sincerely,



Kristin Wright, Director
Special Education Division
KW:sb
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           ATTACHMENT 3
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                                                                         SPP Stakeholder List

Member Affiliation                                            Name                     Last              First
Association of California School Administrators               Martha Alvarez           Alvarez           Martha
Parent advocate                                               Chris Baker              Baker             Chris
Supporting Inclusive Practices                                Kristin Brooks           Brooks            Kristin
State Special Education Task Force                            Maureen Burness          Burness           Maureen
Institute of Higher Education                                 Steve Carnevale          Carnevale         Steve
Special Education Local Program Area                          Paulette Cobb            Cobb              Paulette
Family Resource and Empowerment Center                        Ana Da Silva             Da Silva          Ana
Parent Teachers Association                                   Lea Darrah               Darrah            Lea
Psychologist                                                  Giorgio di Salvatore     di Salvatore      Giorgio
Special Education Local Program Area                          Heather DiFede           DiFede            Heather
State Board of Education                                      Laila Fahimuddin         Fahimuddin        Laila
Family Resource and Empowerment Center                        Jane Floethe-Ford        Floethe-Ford      Jane
Institute of Higher Education                                 Kathy Futterman          Futterman         Kathy
Institute of Higher Education                                 Kathy Gee                Gee               Kathy
Institute of Higher Education                                 Audri Gomez              Gomez             Audri
Institute of Higher Education                                 Victoria Graf            Graf              Victoria
Disability Rights Advocate                                    Susan Henderson          Henderson         Susan
California School Boards Association                          Erika Hoffman            Hoffman           Erika
Institute of Higher Education                                 Amina Humphrey           Humphrey          Amina
Disability Rights Advocate                                    William Koski            Koski             William
Special Education Administrators of County Offices            Andrea Lemos             Lemos             Andrea
California Association of School Psychologists                Brian Leung              Leung             Brian
California State Assembly                                     Tanya Lieberman          Lieberman         Tanya
Preschool                                                     Steve Lohrer             Lohrer            Steve
California Association of Private Special Education Schools   Teresa Malekzadeh        Malekzadeh        Teresa
Decoding Dyslexia California                                  Tobie Meyer              Meyer             Tobie
Special Education Local Program Area                          Deborah Montoya          Montoya           Deborah
Local Educational Agency                                      Diane Olsen              Olsen             Diane
Down Syndrome Information Alliance                            Allison Olson            Olson             Allison
Disability Rights Advocate                                    Freya Pitts              Pitts             Freya
California Charter Schools Association                        Gina Plate               Plate             Gina
Autism Business Association                                   Rick Rollens             Rollens           Rick
California Alliance of Child and Family Services              Christine Stoner-Mertz   Stoner-Mertz      Christine
Family Education Center                                       Cid Van Koersel          Van Koersel       Cid
Sac City Community Advisory Committee; Dyslexia Advocate      Renee Webster-Hawkins    Webster-Hawkins   Renee
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           ATTACHMENT 4
                 State Performance Plan and
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                 Annual Performance Report
                         Workgroup

                                                            August 26, 2019

                                     Kristin Wright, Director
                       Shiyloh Duncan-Becerril, Education Administrator
                     Nora Parella, Education Research Evaluation Assistant
                                   Special Education Division



CALIFORNIA DEPARTMENT OF EDUCATION
Tony Thurmond, State Superintendent of Public Instruction
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Welcome
• Thepresentation, agenda, and all other meeting
 materials will be available on a Padlet:
  Use the link to the Padlet for materials for the workgroup:
   https://padlet.com/CDEspecialEd/SPPWorkgroup

• Ideas   and questions for the “Parking Lot”




                                                                                    2
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Meeting Outcomes
Participants will:
•   Gain a deeper understanding of Federal Performance
    Indicators (6) Preschool Least Restrictive Environment, (7)
    Preschool Outcomes, and (14) Post School Outcomes
    indicators including related data sources and calculation
    methods, and state and national comparisons;
•   Review and discuss with other workgroup members
    considerations for current and future targets; and
•   Provide input and advice for setting new statewide targets for
    Federal Performance Indicators.

                                                                                       3
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Meeting Norms
Start and end on time.
Actively participate in the work.
Respect and welcome all points of view.
Support and encourage everyone’s participation.
Be forthright, considerate, direct and purposeful.
Respectfully use technology.
Others
                                                                                  4
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  Welcome, Purpose, Norms and
         Introductions

   Introduction to first indicator –
    Preschool Least Restrictive
          Environment (6)
                                          • Discussion/Share out
                Lunch


 Introduction to second indicator –
      Preschool Outcomes(7)               • Discussion/Share out
Introduction to third indicator – Post
       School Outcomes(14)                • Discussion/Share out
  Closing, evaluation, next steps




Agenda
                                                                                                5
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Introductions

Briefly state your:
• Name
• Location
• Role
• Who you represent
                                                                              6
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California Education Code, Section 33080,
   Purpose of the Educational System
   “Each child is a unique person, with unique needs, and the purpose of the
 education system of this state is to enable each child to develop all of his or her
                                  own potential.”




                                                                                       7
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         Purpose of the Workgroup
To provide advice and feedback to the
California Department of Education (CDE) in
the development of new six-year state targets
for the Individuals with Disabilities Education
Act State Performance Plan (SPP) Indicators

Note: After stakeholder feedback is gathered, proposed targets will be presented
at the Advisory Commission on Special Education followed by a required approval
process at the State Board of Education prior to submission to the Office of
Special Education Programs.

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Indicator 6
Preschool Least Restrictive
Environment
                                                                            9
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Indicator 6: Early Childhood Settings
•   Measures the percent of children with disabilities, ages three
    through five years, attending a regular early childhood program and
    receiving the majority of special education and related services in the
    regular early childhood program; as well as children with disabilities
    attending a separate special education class, separate school, or
    residential facility.
     6A: Receiving majority of special education and related services in a
      regular early childhood program.
     6B: Attending separate special education class, separate school, or
      residential facility.




                                                                                          10
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Calculation
A. Percent = [(# of children with IEPs aged 3 through attending a regular
early childhood program and receiving the majority of special education and
related services in the regular early childhood program)
divided by
the (total # of children aged 3 through 5 with IEPs)] times 100.


B. Percent = [(# of children with IEPs aged 3 through 5 attending a separate
special education class, separate school or residential facility)
divided by
the (total # of children aged 3 through 5 with IEPs)] times 100.




                                                                                        11
   Regular Preschool Setting – Indicator 6A
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              The Last 5 Years
50.00%

45.00%

40.00%

35.00%

30.00%

25.00%

20.00%

15.00%

10.00%

5.00%

0.00%
         2013         2014                    2015                    2016          2017
                                6A Target          6A Result
                                                                                           12
Separate Preschool Setting – Indicator 6B
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            The Last 5 Years
 35.00%

 34.00%

 33.00%

 32.00%

 31.00%

 30.00%

 29.00%

 28.00%

 27.00%
          2013         2014                   2015                    2016           2017
                                6B Target          6B Result
                                                                                            13
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                    Preschool LRE by Disability
                             Percent of Preschool Students by Disability and Federal Setting Category
80.0%


70.0%                                       66.9%
                                                                                                                  63.5%
            60.2%    61.5%                                                                   61.3%
60.0%

                                                                                                                                49.4%
50.0%                                                      45.8% 46.0%       47.1%

                                                                                                                           41.0%
40.0%
        34.6%             34.6%                                                   33.3%

30.0%                                  27.3%
                                                                                                              25.5%

20.0%                                                                                             18.0%


10.0%


 0.0%
         Autism       Emotional        Intellectual       Other Health    Specific Learning Speech Language   Multiple    Low Incidence


                                                                                                                                          14
                     Disturbance        Disability        Impairment         Disability       Impairment

                                                      Regular Setting    Separate Setting
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Regular Preschool
Setting – Indicator 6A
Statewide Results for
Students with Disabilities
                                                                          15
    California & National Trends for Indicator 6A
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          Students with Disabilities (SWD)
                                    Federal Fiscal Year 2016
55.00%


50.00%


45.00%


40.00%


35.00%


30.00%


25.00%


20.00%


15.00%


10.00%
             California 6A Result                                       National Average 6A Result   16
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                 State-to-State 5 Year Results
                     Comparison for SWD
                           Indicator 6A - Regular Preschool Setting Results
50.00%

45.00%

40.00%

35.00%

30.00%

25.00%

20.00%

15.00%

10.00%

 5.00%

 0.00%
         CA Result   MI Result              FL Result             NY Result          TX Result   WA Result
                                     2013     2014      2015   2016   2017
                                                                                                             17
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                      Where Do California Districts Fall?
                                             Indicator 6A - Children in a Regular Preschool Setting
                 14

                                                                                                                346 LEAs above
                 12                                                                                              the statewide
                                                                                                                     result
                 10
                           113 LEAs at or
Number of LEAs




                 8
                             below the
                          statewide result

                 6


                 4


                 2


                 0
                      0      10         20          30              40           50           60            70           80      90   100


                                                                                                                                            18
                                                         Percent of Children in a Regular Preschool Setting

                                              The red line shows the average statewide 2017 result of 37.31%.
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Separate Preschool
Setting – Indicator 6B
Statewide Results for
Students with Disabilities                                                19
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         California & National Trends for Indicator 6B
                 for Students with Disabilities
                                         Federal Fiscal Year 2016
40.00%


35.00%


30.00%


25.00%


20.00%


15.00%


10.00%


 5.00%




                                                                                                           20
 0.00%
                 California 6B Result                                         National Average 6B Result
                State-to-State 5 Year Results
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                    Comparison for SWD
                                  Separate Preschool Setting Results
60.00%



50.00%



40.00%



30.00%



20.00%



10.00%



 0.00%


                                                                                                            21
         CA Result   MI Result              FL Result             NY Result         TX Result   WA Result
                                     2013     2014      2015   2016   2017
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                      Where Do California Districts Fall?
                                                     Children in Separate Preschool Settings
                 30



                 25



                 20
                               278 LEAs are at                        181 LEAs are
Number of LEAs




                                 or below the                           above the
                 15            statewide result                      statewide result


                 10



                 5



                 0
                      0   10           20          30              40            50           60            70   80   90   100


                                                                                                                                 22
                                                        Percent of Children in a Separate Preschool Setting

                                            The red line shows the average statewide 2017 result of 33.79%.
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Quick Discussion

Based on your experience and knowledge,
what observations and/or questions do you
have about the data you have just reviewed?




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Target Comparisons

                                                                        24
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         State-to-State Target Comparisons
                                 Regular Preschool Setting Targets for SWD
60.00%



50.00%



40.00%



30.00%



20.00%



10.00%



 0.00%


                                                                                                            25
         CA Target   MI Target                FL Target            NY Target        TX Target   WA Target
                                       2013      2014     2015   2016   2017
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         State-to-State Target Comparisons
                                 Separate Preschool Setting Targets for SWD
60.00%



50.00%



40.00%



30.00%



20.00%



10.00%



 0.00%


                                                                                                             26
         CA Target   MI Target             FL Target            NY Target            TX Target   WA Target
                                       2013   2014     2015   2016   2017
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Regular Preschool Setting Target Options




  2019   2020                   2021                  2022                   2023      2024
                Forecast     Option A      Option B      Option C      Option D
                                                                                              27
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Separate Preschool Setting Target Options




  2019   2020                   2021                  2022                   2023     2024
                Forecast    Option A      Option B      Option C      Option D
                                                                                             28
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         Small Group Discussion

• Use    the worksheets at your table.
 These worksheets will be collected.
• Guided questions are included to get
 you started.
• Plot   out new proposed targets.


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          Small Group Share Out

What target option(s) did your group choose and why?
Are there any additional considerations/questions that
             arose in your conversation?




                                                                                   30
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LUNCH
12:05pm – 1:00pm


                                                                              31
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Indicator 7
Preschool Outcomes

                                                                           32
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          Indicator 7A: Preschool Skills
•   Measures the percent of children with disabilities who demonstrate
    improvement in positive social-emotional skills, including social
    relationships.
•   FFY 2017 Targets:
     Of those children with disabilities who entered the program with below age
      expectations, 83.2 percent will substantially increase their rate of growth
      by the time they turn six years of age or exit the program.
     Of those children with disabilities who were functioning within age
      expectations, 79.5 percent will function within age expectations by the
      time they turn six years of age or exit the program.

•   FFY 2017 Results: 76.7%/77.6%




                                                                                          33
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          Indicator 7B: Preschool Skills
•   Measures the percent of children with disabilities who demonstrate
    improvement in acquisition and use of knowledge and skills,
    including early language/communication and early literacy.
•   FFY 2017 Targets:
     Of those children with disabilities who entered the program with below age
      expectations, 80.7 percent will substantially increase their rate of growth
      by the time they turn six years of age or exit the program.
     Of children with disabilities who were functioning within age expectations,
      78.57 percent will function within age expectations by the time they turn
      six years of age or exit the program.

•   FFY 2017 Results: 76.1%/76.7%




                                                                                          34
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      Indicator 7C: Preschool Skills
•   Measures the percent of children with disabilities who demonstrate
    improvement in use of appropriate behaviors to meet their needs.
•   FFY 2017 Targets:
     Of those children who entered the program with below age expectations,
      74.7 percent will substantially increase their rate of growth by the time
      they turn six years of age or exit the program.
     Of those children who were functioning within age expectations, 77.45
      percent will function within age expectations by the time they turn six
      years of age or exit the program.

•   FFY 2017 Results: 75.3%/77.0%




                                                                                          35
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Who is Included?
• Indicator7 uses data from the Desired Results
 Developmental Profile 2015 (DRDP, 2015) to
 document progress of each 3,4, and 5 year old
 child between entry and exit from preschool
 special education services.
•A child may be classified as an “exiter” for a
 variety of reasons, including:
  Discontinued receiving special education services.
  Moved out of state.
  Transitioned to Kindergarten.
                                                                                  36
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What is the Desired Results
Developmental Profile?
•   The DRDP (2015) results are used to fulfill the Indicator 7 federal
    reporting requirements.
•   The DRDP (2015) is a judgement-and observation-based assessment
    for children birth through five years of age comprised of
    developmental and pre-academic indicators representing important
    areas of learning and development.
•   In California, SELPAs report DRDP (2015) assessment data to the
    CDE, SED for each 3, 4 and 5-year-old child with an IEP (not in
    transitional kindergarten or kindergarten) each fall and spring.
•   The DRDP is administered each year to help inform program
    planning, but the data reported to OSEP is only for children’s entry
    and exit assessments.

                                                                                         37
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         Calculation
•   For each of the three preschool outcome areas, states report data on two summary
    statements:
•   Summary Statement #1: Of those children who entered the program below age
    expectations in each outcome, the percent who substantially increased their
    rate of growth by the time they turned 6 years of age or exited the program.
     The result for Summary Statement 1 is calculated using the following formula:
    [(c + d) / (a + b + c + d)] X 100.

•   Summary Statement #2: The percent of children who were functioning within
    age expectations in each outcome by the time they turned 6 years of age or exited
    the program.
     The result for Summary Statement 2 is calculated using the following formula:
    [(d + e) / (a + b + c + d + e)] X 100.



                                                                                                 38
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Positive Social-
Emotional Skills –
Indicator 7A
Statewide Results
                                                                          39
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                California & National Trends
90.00%


80.00%


70.00%


60.00%


50.00%


40.00%


30.00%


20.00%


10.00%




                                                                                                                           40
 0.00%
         California 7A1 Result       National 7A1 Result            California 7A2 Result            National 7A2 Result
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State-to-State 5 Year Results Comparison
              Indicator 7A1
                                              Indicator 7A1 Results
100.00%

90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
          CA A1 Result   MI A1 Result        FL A1 Result         NY A1 Result          TX A1 Result   WA A1 Result
                                          2013   2014    2015   2016    2017
                                                                                                                      41
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State-to-State 5 Year Results Comparison
              Indicator 7A2
                                              Indicator 7A2 Results
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA A2 Result   MI A2 Result         FL A2 Result         NY A2 Result         TX A2 Result   WA A2 Result
                                         2013    2014   2015    2016   2017
                                                                                                                     42
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                           Where Do California Districts Fall?
                            The Number of LEAs by Percent of Preschoolers with Positive Socio-Emotional Skills Substantially
                                                                     Increased
                 10

                 9

                 8

                 7                                 65 LEAs are at or
                                                    below the result                                                      76 LEAs are
Number of LEAs




                 6
                                                                                                                        above the result
                 5

                 4

                 3

                 2

                 1

                 0
                      40                50                  60                       70                         80        90               100


                                                                                                                                                 43
                                                                             Percent of Students

                                                   The red line shows the average statewide 2017 result of 76.7%.
                                             Case 3:96-cv-04179-VC Document 2545 Filed 01/31/20 Page 93 of 282




                       Where Do California Districts Fall?
                           The Number of LEAs by the Percent of Preschoolers with Positive Socio-Emotional Skills
                                                  Functioning within age expectations
                 18

                 16

                 14
                                          124 LEAs are at                                                         145 LEAs are
                 12                         or below the                                                         above the result
                                               result
Number of LEAs




                 10

                 8

                 6

                 4

                 2

                 0
                      40          50                   60                      70                          80     90                100


                                                                                                                                          44
                                                                       Percent of Students

                                              The red line shows the average statewide 2017 result of 77.6%.
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Acquisition & Use of
Knowledge & Skills –
Indicator 7B
Statewide Results
                                                                          45
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                California & National Trends
90.00%


80.00%


70.00%


60.00%


50.00%


40.00%


30.00%


20.00%


10.00%




                                                                                                                           46
 0.00%
         California 7B1 Result       National 7B1 Result            California 7B2 Result            National 7B2 Result
                               Case 3:96-cv-04179-VC Document 2545 Filed 01/31/20 Page 96 of 282



State-to-State 5 Year Results Comparison
              Indicator 7B1
                                              Indicator 7B1 Results
100.00%

90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
          CA B1 Result   MI B1 Result         FL B1 Result        NY B1 Result          TX B1 Result   WA B1 Result
                                          2013   2014    2015   2016    2017
                                                                                                                      47
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State-to-State 5 Year Results Comparison
              Indicator 7B2
                                              Indicator 7B2 Results
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA B2 Result   MI B2 Result         FL B2 Result         NY B2 Result          TX B2 Result   WA B2 Result
                                          2013   2014    2015   2016    2017
                                                                                                                      48
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                           Where Do California Districts Fall?
                             The Number of LEAs by the Percent of Preschoolers with Acquisition of Knowledge/Skills
                                                           Substantially Increased
                 12


                 10
                                                                                                                       76 LEAs are
                                                                                                                     above the result
                 8
                                                           65 LEAs are at
Number of LEAs




                                                            or below the
                 6
                                                               result

                 4


                 2


                 0
                      30         40               50                    60                 70                   80      90              100


                                                                                                                                              49
                                                                         Percent of Students

                                               The red line shows the average statewide 2017 result of 76.1%.
                                                Case 3:96-cv-04179-VC Document 2545 Filed 01/31/20 Page 99 of 282




                           Where Do California Districts Fall?
                             The Number of LEAs by the Percent of Preschoolers with Acquisition of Knowledge/Skills
                                                     Functioning within age expectations
                 18

                 16                                                                                                  145 LEAs are
                                                                                                                       above the
                 14
                                                                                                                         result
                 12
Number of LEAs




                 10

                 8                                         122 LEAs are
                                                          at or below the
                 6                                             result
                 4

                 2

                 0
                      30         40               50                    60                 70                   80   90             100
                                                                         Percent of Students

                                               The red line shows the average statewide 2017 result of 76.7%.
                                                                                                                                          50
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Use of Appropriate
Behaviors to Meet Their
Needs - Indicator 7C
Statewide Results
                                                                           51
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                California & National Trends
90.00%


80.00%


70.00%


60.00%


50.00%


40.00%


30.00%


20.00%


10.00%




                                                                                                                            52
 0.00%
         California 7C1 Result        National 7C1 Result            California 7C2 Result            National 7C2 Result
                              Case 3:96-cv-04179-VC Document 2545 Filed 01/31/20 Page 102 of 282



State-to-State 5 Year Results Comparison
              Indicator 7C1
                                             Indicator 7C1 Results
100.00%

90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
          CA C1 Result   MI C1 Result        FL C1 Result         NY C1 Result         TX C1 Result   WA C1 Result
                                         2013    2014   2015    2016   2017
                                                                                                                     53
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State-to-State 5 Year Results Comparison
              Indicator 7C2
                                              Indicator 7C2 Results
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA C2 Result   MI C2 Result         FL C2 Result         NY C2 Result          TX C2 Result   WA C2 Result
                                          2013   2014    2015   2016    2017
                                                                                                                      54
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                          Where Do California Districts Fall?
                             The Number of LEAs by the Percent of Preschoolers with Use of Appropriate Behaviors
                                                          Substantially Increased
                 9

                 8

                 7

                 6                                  61 LEAs are
                                                                                                                         71 LEAs are
Number of LEAs




                                                     at or below
                 5                                    the result                                                          above the
                                                                                                                            result
                 4

                 3

                 2

                 1

                 0
                     40           50                 60                       70                          80        90                 100


                                                                                                                                             55
                                                                      Percent of Students

                                                   The red line shows the average statewide 2017 result of 75.3%.
                                                  Case 3:96-cv-04179-VC Document 2545 Filed 01/31/20 Page 105 of 282




                           Where Do California Districts Fall?
                            The Number of LEAs by the Percent of Preschoolers with Use of Appropriate Behaviors Functioning
                                                                within age expectations
                 18

                 16
                                                                                                                            135 LEAs are
                                                                                                                              above the
                 14                                                                                                             result
                 12
Number of LEAs




                 10

                 8
                                                                     132 LEAs are
                                                                    at or below the
                 6                                                       result
                 4

                 2

                 0
                      20           30            40                   50                60                   70        80      90          100


                                                                                                                                                 56
                                                                                Percent of Students

                                                      The red line shows the average statewide 2017 result of 77.0%.
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Quick Discussion
Based on your experience and
knowledge, what observations and/or
questions do you have about the data
you have just reviewed?




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Target Comparisons

                                                                         58
          State-to-State Target Comparisons
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                                             Indicator 7A1 Targets
100.00%

90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
          CA A1 Target   MI A1 Target        FL A1 Target         NY A1 Target         TX A1 Target   WA A1 Target
                                         2013    2014   2015    2016   2017
                                                                                                                     59
         State-to-State Target Comparisons
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                                            Indicator 7A2 Targets
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA A2 Target   MI A2 Target        FL A2 Target        NY A2 Target         TX A2 Target   WA A2 Target
                                        2013    2014   2015    2016   2017
                                                                                                                   60
          State-to-State Target Comparisons
                             Case 3:96-cv-04179-VC Document 2545 Filed 01/31/20 Page 110 of 282




                                            Indicator 7B1 Targets
100.00%

90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
          CA B1 Target   MI B1 Target       FL B1 Target         NY B1 Target        TX B1 Target   WA B1 Target
                                        2013    2014   2015    2016   2017
                                                                                                                   61
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         State-to-State Target Comparisons
                                             Indicator 7B2 Targets
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA B2 Target   MI B2 Target        FL B2 Target         NY B2 Target         TX B2 Target   WA B2 Target
                                         2013   2014    2015   2016    2017
                                                                                                                    62
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          State-to-State Target Comparisons
                                             Indicator 7C1 Targets
100.00%

90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
          CA C1 Target   MI C1 Target        FL C1 Target        NY C1 Target         TX C1 Target   WA C1 Target
                                         2013   2014    2015   2016    2017
                                                                                                                    63
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         State-to-State Target Comparisons
                                            Indicator 7C2 Targets
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA C2 Target   MI C2 Target       FL C2 Target         NY C2 Target         TX C2 Target   WA C2 Target
                                        2013   2014    2015   2016    2017
                                                                                                                   64
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       Target Options – Indicator 7A




2019          2020                     2021                  2022                     2023              2024
         7A1 Forecast        7A2 Forecast      Option 1      Option 2      Option 3          Option 4
                                                                                                               65
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       Target Options – Indicator 7B




2019           2020                   2021                  2022                     2023              2024
         7B1 Forecast      7B2 Forecast       Option 1      Option 2      Option 3          Option 4
                                                                                                              66
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       Target Options – Indicator 7C




                                                                                                               67
2019           2020                    2021                  2022                     2023              2024
         7C1 Forecast        7C2 Forecast      Option 1      Option 2      Option 3          Option 4
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         Small Group Discussion

• Use    the worksheets at your table.
  These worksheets will be collected.
• Guided    questions are included to get you
 started.
• Plot   out new proposed targets.



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          Small Group Share Out

What target option(s) did your group prefer and why?
Are there any additional considerations/questions that
             arose in your conversation?




                                                                                   69
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BREAK
2:35pm – 2:45pm


                                                                              70
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Indicator 14
Post School Outcomes

                                                                            71
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Indicator 14: Post School Outcomes
•   Measures the percent of youth who are no longer in
    secondary school but had IEPs in effect at the time they
    left school, and were either:
     14A: enrolled in higher education within one year of leaving high
      school;
     14B: enrolled in higher education or competitively employed within
      one year of leaving high school; or
     14C: enrolled in higher education or in some other postsecondary
      education or training program; or competitively employed within
      one year of leaving high school




                                                                                        72
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Calculation
A. Percent = [(# of youth who are no longer in secondary school, had IEPs in effect at the time they left
school and were enrolled in higher education within one year of leaving high school)

divided by

the (# of respondent youth who are no longer in secondary school and had IEPs in effect at the time they
left school)] times 100.

B. Percent = [(# of youth who are no longer in secondary school, had IEPs in effect at the time they left
school and were enrolled in higher education or competitively employed within one year of leaving high
school)

divided by

the (# of respondent youth who are no longer in secondary school and had IEPs in effect at the time they
left school)] times 100.

C. Percent = [(# of youth who are no longer in secondary school, had IEPs in effect at the time they left
school and were enrolled in higher education, or in some other postsecondary education or training
program; or competitively employed or in some other employment within one year of leaving high school)

divided by

the (# of respondent youth who are no longer in secondary school and had IEPs in effect at the time they

                                                                                                            73
left school)] times 100.
         Enrolled in Higher Education
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               The Last 5 Years
55.00%

54.00%

53.00%

52.00%

51.00%

50.00%

49.00%

48.00%

47.00%

46.00%
         2013       2014                     2015                    2016            2017


                                                                                            74
                              14A Target          14A Result
                Case 3:96-cv-04179-VC Document 2545 Filed 01/31/20 Page 124 of 282




 Competitively Employed or Enrolled in Higher
         Education- The Last 5 Years
78.00%

77.00%

76.00%

75.00%

74.00%

73.00%

72.00%

71.00%

70.00%

69.00%
         2013       2014                     2015                     2016           2017
                              14B Target         14B Result
                                                                                            75
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  Enrolled in Higher Education, Training Program,
     or Other Employment - The Last 5 Years
86%

85%

84%

83%

82%

81%

80%

79%

78%
      2013     2014                    2015                     2016                2017
                          14C Target          14C Result
                                                                                           76
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         Post School Outcomes by Disability
90.00%


80.00%


70.00%


60.00%


50.00%


40.00%


30.00%


20.00%


10.00%


 0.00%
          ID   HH   DEAF   SLI        VI         ED       OI      OHI       SLD     DB          MD   AUT   TBI
                                 Indicator 14A    Indicator 14B   Indicator 14C
                                                                                                                 77
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Enrolled in Higher
Education – Indicator 14A
Statewide Results
                                                                           78
         California & National Trends for
                        Case 3:96-cv-04179-VC Document 2545 Filed 01/31/20 Page 128 of 282




                   Indicator 14A
                                     Federal Fiscal Year 2016
60.00%



50.00%



40.00%



30.00%



20.00%



10.00%




                                                                                                       79
 0.00%
             California 14A Result                                       National Average 14A Result
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                 State-to-State 5 Year Results
                          Comparison
                                          Indicator 14A Results
60.00%



50.00%



40.00%



30.00%



20.00%



10.00%



 0.00%
         CA Result   MI Result               FL Result             NY Result          TX Result   WA Result
                                      2013      2014     2015   2016   2017
                                                                                                              80
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                          Where Do California Districts Fall?
                  9


                  8


                  7


                  6                                                                                                      101 LEAs are
Numbner of LEAs




                                                                                                                          above result
                  5               111 LEAs are
                                 at or below the
                  4                   result

                  3


                  2


                  1


                  0
                      0     10         20          30            40            50            60          70         80         90        100


                                                                                                                                               81
                                                        Percent of Students Enrolled in Higher Education

                                                   The red line shows the average statewide 2017 result of 54.0%.
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Competitively Employed or
Enrolled in Higher
Education – Indicator 14B
Statewide Results
                                                                           82
         California & National Trends for
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                   Indicator 14B
                                     Federal Fiscal Year 2016
74.00%


72.00%


70.00%


68.00%


66.00%


64.00%


62.00%


60.00%


58.00%



                                                                                                       83
56.00%
             California 14B Result                                       National Average 14B Result
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                State-to-State 5 Year Results
                         Comparison
                                         Indicator 14B Results
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%


                                                                                                            84
         CA Result   MI Result             FL Result             NY Result          TX Result   WA Result
                                    2013     2014      2015   2016   2017
                                       Case 3:96-cv-04179-VC Document 2545 Filed 01/31/20 Page 134 of 282




                          Where Do California Districts Fall?
                 14


                 12


                 10
                                                                                                                 123 LEAs
                                                                                                                 are above
Number of LEAs




                 8                                                                                               the result

                 6                                    89 LEAs are
                                                       at or below
                 4
                                                        the result


                 2


                 0
                      0      10   20        30            40            50           60            70       80   90           100


                                                                                                                                    85
                                        Percent of Students in Higher Education or Competitively Employed

                                       The red line shows the average statewide 2017 result of 77.6%.
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Enrolled in Higher Education,
Training Program, or Other
Employment – Indicator 14C
Statewide Results
                                                                            86
         California & National Trends for
                        Case 3:96-cv-04179-VC Document 2545 Filed 01/31/20 Page 136 of 282




                   Indicator 14C
                                     Federal Fiscal Year 2016
83.00%


82.00%


81.00%


80.00%


79.00%


78.00%


77.00%


76.00%




                                                                                                        87
75.00%
             California 14C Result                                        National Average 14C Result
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              State-to-State 5 Year Results
                       Comparison
                                       Indicator 14C Results
90%

80%

70%

60%

50%

40%

30%

20%

10%

0%
      CA Result   MI Result           FL Result             NY Result             TX Result   WA Result
                                   2013    2014   2015    2016   2017
                                                                                                          88
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                           Where Do California Districts Fall?
                 14



                 12



                 10
Number of LEAs




                 8
                                                                                                    3 LEAs are
                                                                                                  below the result                           209 LEAs are
                 6                                                                                                                             above the
                                                                                                                                                 result
                 4



                 2



                 0
                      20       30               40               50               60               70              80                           90          100


                                                                                                                                                                  89
                                           Percent of Students in Higher Education, Training Program, or other Employment

                                    The red line shows the average statewide 2017 result of 85.6%. Note 172 LEAs that reported 100% were removed.
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Quick Discussion
Based on your
experience and
knowledge, what
observations and/or
questions do you have
about the data you
have just reviewed?

                                                                              90
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Target Comparisons

                                                                         91
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         State-to-State Target Comparisons
                                         Indicator 14A Targets
60.00%



50.00%



40.00%



30.00%



20.00%



10.00%



 0.00%
         CA Target   MI Target              FL Target            NY Target         TX Target   WATarget
                                     2013     2014      2015   2016   2017
                                                                                                          92
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         State-to-State Target Comparisons
                                         Indicator 14B Targets
80.00%


70.00%


60.00%


50.00%


40.00%


30.00%


20.00%


10.00%


 0.00%
         CA Target   MI Target           FL Target            NY Target             TX Target   WATarget
                                     2013   2014     2015   2016   2017
                                                                                                           93
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      State-to-State Target Comparisons
                                         Indicator 14C Targets
90%


80%


70%


60%


50%


40%


30%


20%


10%


0%
      CA Target   MI Target            FL Target             NY Target             TX Target   WATarget
                                    2013    2014   2015    2016   2017
                                                                                                          94
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       Target Options – Indicator 14A




2019       2020                   2021                   2022                  2023        2024
                  Forecast     Option A      Option B      Option C      Option D
                                                                                                  95
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       Target Options – Indicator 14B




2019       2020                  2021                   2022                  2023       2024
                  Forecast    Option A      Option B      Option C      Option D
                                                                                                96
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       Target Options – Indicator 14C




2019      2020                  2021                   2022                  2023       2024
                 Forecast    Option A      Option B      Option C      Option D
                                                                                               97
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          Small Group Discussion
• Use    the worksheets at your table.
  These worksheets will be collected.

• Guided    questions are included to get you started.
• Plot   out new proposed targets.




                                                                                     98
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   Small Group Share Out

What target option(s) did your
  group prefer and why?




                                                                            99
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                             Closing
                              • Thank you for your participation
                                today!

                             Evaluation
Conclusion                    • What worked about today’s
                                meeting?
                              • What can be improved for our next
                                meeting?

                             Next Steps
                              • What will happen to your input?

                                                                                  100
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          INDICATOR 6 A-B STATE-TO-STATE COMPARISON CHARTS


                                   Indicator 6A Targets
60.00%


50.00%


40.00%


30.00%


20.00%


10.00%


 0.00%
         CA Target   MI Target          FL Target          NY Target     TX Target   WA Target

                                 2013   2014        2015   2016   2017



                                   Indicator 6A Results
50.00%

45.00%

40.00%

35.00%

30.00%

25.00%

20.00%

15.00%

10.00%

 5.00%

 0.00%
         CA Result   MI Result          FL Result          NY Result     TX Result   WA Result

                                 2013   2014        2015   2016   2017
     Case 3:96-cv-04179-VC Document 2545 Filed 01/31/20 Page 151 of 282

          INDICATOR 6 A-B STATE-TO-STATE COMPARISON CHARTS


                                   Indicator 6B Targets
60.00%


50.00%


40.00%


30.00%


20.00%


10.00%


 0.00%
         CA Target   MI Target          FL Target          NY Target     TX Target   WA Target

                                 2013   2014    2015       2016   2017



                                    Indicator 6B Results
60.00%



50.00%



40.00%



30.00%



20.00%



10.00%



 0.00%
         CA Result   MI Result          FL Result          NY Result     TX Result   WA Result

                                 2013   2014        2015   2016   2017
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          INDICATOR 6 A-B STATE-TO-STATE COMPARISONS


Indicator 6A Target    2013      2014       2015      2016      2017


    CA Target         32.90%    32.90%     32.90%    33.90%    34.90%


    MI Target         28.20%    28.20%     28.20%    28.30%    28.50%


    FL Target         28.00%    33.00%     38.00%    43.00%    48.00%


    NY Target         42.90%    43.50%     43.50%    45.00%    47.00%


    TX Target         31.00%    31.50%     32.00%    32.50%    33.00%


    WA Target         28.40%    28.60%     28.70%    28.90%    29.00%




Indicator 6A Result    2013      2014       2015      2016      2017


    CA Result         32.90%    32.90%     44.13%    45.19%    37.32%


    MI Result         28.40%    28.00%     29.70%    29.80%    28.60%


    FL Result         28.33%    26.90%     35.80%    36.70%    40.00%


    NY Result         42.90%    43.10%     41.90%    43.40%    43.50%


    TX Result         31.40%    30.60%     32.00%    32.80%    31.70%


    WA Result         26.90%    26.30%     24.80%    24.80%    23.80%
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          INDICATOR 6 A-B STATE-TO-STATE COMPARISONS


Indicator 6B Target     2013      2014       2015      2016          2017


    CA Target          34.40%    34.40%     34.40%    33.40%     32.40%


    MI Target          43.20%    43.20%     43.20%    42.00%     41.50%


    FL Target          50.30%    49.30%     48.30%    47.30%     46.30%


    NY Target          23.70%    22.00%     21.00%    20.00%     19.00%


    TX Target          17.50%    17.00%     16.50%    16.00%     15.50%


    WA Target          38.80%    38.60%     38.40%    38.20%     38.00%




Indicator 6B Result     2013       2014      2015       2016         2017


    CA Result          34.40%     34.40%    31.45%     29.86%    33.81%


    MI Result          41.73%     41.30%    39.20%     38.70%    38.50%


    FL Result          51.20%     51.10%    49.50%     49.80%    48.50%


    NY Result          23.70%     22.60%    23.80%     22.60%    22.40%


    TX Result          16.50%     15.90%    16.50%     16.90%    16.80%


    WA Result          40.80%     40.00%    40.50%     40.90%    41.80%
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                          INDICATOR WORKSHEET
          INDICATOR 6 PRESCHOOL LEAST RESTRICTIVE ENVIRONMENT

Instructions
   •    We will be collecting one worksheet per table to record stakeholder engagement.
   •    Use the questions below to discuss indicator targets and mark the proposed
        targets on the included chart.
Guiding Questions
   •    How can newly set SPP targets encourage local educational agencies to
        increase access for students with disabilities to instruction in the general
        education setting, increase achievement and improve overall outcomes?
   •    Should the targets be more ambitious? If so, should targets be set higher from
        the onset of the new six-year cycle or increase incrementally over time?




   33.90%      34.90%   35.90%




   45.19%      37.32%

       2016    2017      2018      2019      2020       2021    2022      2023      2024
                                     6A Result      6A Target




   33.40%      32.40%   31.40%




   29.86%      33.81%

       2016    2017      2018      2019      2020       2021     2022     2023      2024
                                     6B Result      6B Target
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                        INDICATOR WORKSHEET
        INDICATOR 6 PRESCHOOL LEAST RESTRICTIVE ENVIRONMENT

Please answer the following (Please use the back if you need more space):
   1. What are the benefits of the group’s targets?




   2. What are the concerns?




   3. What do we still need to know?
      What additional questions need to be answered?
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           INDICATOR 7 A-C STATE-TO-STATE COMPARISON CHARTS


                                   Indicator 7A1 Targets
100.00%
 90.00%
 80.00%
 70.00%
 60.00%
 50.00%
 40.00%
 30.00%
 20.00%
 10.00%
  0.00%
          CA A1 Target   MI A1 Target   FL A1 Target   NY A1 Target    TX A1 Target   WA A1 Target

                                 2013   2014    2015   2016     2017




                                   Indicator 7A1 Results
100.00%

 90.00%

 80.00%

 70.00%

 60.00%

 50.00%

 40.00%

 30.00%

 20.00%

 10.00%

  0.00%
          CA A1 Result   MI A1 Result   FL A1 Result   NY A1 Result    TX A1 Result   WA A1 Result

                                 2013   2014    2015   2016     2017




                                                                                                     1
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           INDICATOR 7 A-C STATE-TO-STATE COMPARISON CHARTS


                                       Indicator 7A2 Targets
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA A2 Target   MI A2 Target      FL A2 Target     NY A2 Target    TX A2 Target   WA A2 Target

                                  2013     2014     2015   2016     2017




                                       Indicator 7A2 Results
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA A2 Result   MI A2 Result      FL A2 Result     NY A2 Result    TX A2 Result   WA A2 Result

                                  2013     2014     2015   2016     2017




                                                                                                         2
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           INDICATOR 7 A-C STATE-TO-STATE COMPARISON CHARTS


                                        Indicator 7B1 Targets
100.00%

 90.00%

 80.00%

 70.00%

 60.00%

 50.00%

 40.00%

 30.00%

 20.00%

 10.00%

  0.00%
          CA B1 Target   MI B1 Target      FL B1 Target    NY B1 Target   TX B1 Target   WA B1 Target

                                  2013      2014    2015   2016    2017




                                        Indicator 7B1 Results
100.00%
 90.00%
 80.00%
 70.00%
 60.00%
 50.00%
 40.00%
 30.00%
 20.00%
 10.00%
  0.00%
          CA B1 Result   MI B1 Result      FL B1 Result    NY B1 Result   TX B1 Result   WA B1 Result

                                   2013     2014    2015   2016    2017




                                                                                                        3
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           INDICATOR 7 A-C STATE-TO-STATE COMPARISON CHARTS


                                       Indicator 7B2 Targets
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA B2 Target   MI B2 Target      FL B2 Target     NY B2 Target    TX B2 Target   WA B2 Target

                                  2013     2014     2015   2016     2017




                                       Indicator 7B2 Results
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA B2 Result   MI B2 Result      FL B2 Result     NY B2 Result    TX B2 Result   WA B2 Result

                                  2013     2014     2015   2016     2017




                                                                                                         4
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           INDICATOR 7 A-C STATE-TO-STATE COMPARISON CHARTS


                                        Indicator 7C1 Targets
100.00%

 90.00%

 80.00%

 70.00%

 60.00%

 50.00%

 40.00%

 30.00%

 20.00%

 10.00%

  0.00%
          CA C1 Target   MI C1 Target      FL C1 Target    NY C1 Target   TX C1 Target   WA C1 Target

                                  2013      2014    2015   2016    2017




                                        Indicator 7C1 Results
100.00%

 90.00%

 80.00%

 70.00%

 60.00%

 50.00%

 40.00%

 30.00%

 20.00%

 10.00%

  0.00%
          CA C1 Result   MI C1 Result      FL C1 Result    NY C1 Result   TX C1 Result   WA C1 Result

                                   2013     2014    2015   2016    2017




                                                                                                        5
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           INDICATOR 7 A-C STATE-TO-STATE COMPARISON CHARTS


                                       Indicator 7C2 Targets
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA C2 Target   MI C2 Target      FL C2 Target     NY C2 Target    TX C2 Target   WA C2 Target

                                  2013     2014     2015   2016     2017




                                       Indicator 7C2 Results
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA C2 Result   MI C2 Result      FL C2 Result     NY C2 Result    TX C2 Result   WA C2 Result

                                  2013     2014     2015   2016     2017




                                                                                                         6
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           INDICATOR 7 A-C STATE-TO-STATE COMPARISONS


Indicator 7A1 Target    2013      2014       2015      2016      2017


    CA Target          72.70%    72.70%     72.70%    82.20%    83.20%


     MI Target         87.00%    86.00%     86.50%    87.00%    87.50%


     FL Target         63.60%    64.60%     66.10%    68.10%    70.60%


    NY Target          92.00%    92.00%     92.00%    93.00%    94.00%


     TX Target         81.00%    82.00%     83.00%    84.00%    84.00%


    WA Target          83.10%    83.20%     83.30%    83.40%    83.50%




Indicator 7A1 Result    2013      2014       2015      2016      2017


     CA Result         59.40%    60.90%     67.60%    82.20%    76.70%


     MI Result         85.16%    87.73%     87.90%    88.36%    88.31%


     FL Result         64.19%    64.92%     66.60%    69.12%    71.25%


     NY Result         92.31%    87.00%     91.18%    89.60%    86.30%


     TX Result         82.64%    84.49%     83.70%    84.26%    84.81%


    WA Result          89.85%    91.29%     90.17%    91.19%    90.79%




                                                                        1
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          INDICATOR 7 A-C STATE-TO-STATE COMPARISONS


Indicator 7A2 Target    2013      2014       2015      2016          2017


    CA Target          82.10%    82.10%     82.10%    78.50%     79.50%


     MI Target         61.00%    54.90%     55.00%    55.10%     55.20%


     FL Target         82.40%    82.90%     83.40%    83.90%     84.40%


    NY Target          43.00%    45.00%     48.00%    50.00%     52.00%


     TX Target         61.00%    61.00%     62.00%    62.00%     63.00%


    WA Target          50.20%    50.40%     50.60%    50.80%     51.00%




Indicator 7A2 Result    2013       2014      2015       2016         2017


     CA Result         60.80%     60.30%    72.50%     78.50%    77.60%


     MI Result         57.00%     54.98%    58.02%     57.82%    58.08%


     FL Result         80.99%     80.42%    81.10%     81.60%    80.42%


     NY Result         43.32%     47.08%    47.79%     45.70%    43.50%


     TX Result         60.82%     60.47%    59.86%     60.74%    61.04%


    WA Result          51.17%     49.19%    47.60%     48.91%    47.12%




                                                                        2
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          INDICATOR 7 A-C STATE-TO-STATE COMPARISONS


Indicator 7B1 Target    2013      2014       2015      2016          2017


    CA Target          70.00%    70.00%     70.00%    79.70%     80.70%


     MI Target         87.00%    87.00%     87.50%    88.00%     88.50%


     FL Target         63.90%    64.90%     66.40%    68.40%     70.90%


    NY Target          93.00%    93.50%     93.50%    94.00%     94.50%


     TX Target         81.00%    82.00%     83.00%    84.00%     84.00%


    WA Target          82.10%    82.20%     82.30%    82.40%     82.50%




Indicator 7B1 Result    2013       2014      2015       2016         2017


     CA Result         60.90%     60.20%    68.70%     79.70%    76.10%


     MI Result         86.49%     89.28%    89.11%     90.17%    89.94%


     FL Result         63.40%     61.93%    63.13%     65.02%    65.32%


     NY Result         93.15%     88.64%    90.80%     90.70%    87.80%


     TX Result         81.83%     83.30%    82.30%     83.56%    84.41%


    WA Result          88.30%     89.10%    88.78%     89.93%    88.46%




                                                                        3
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          INDICATOR 7 A-C STATE-TO-STATE COMPARISONS


Indicator 7B2 Target    2013      2014       2015      2016          2017


    CA Target          82.50%    82.50%     82.50%    77.57%     78.57%


     MI Target         59.00%    56.00%     56.10%    56.30%     56.40%


     FL Target         68.90%    69.90%     71.40%    73.40%     75.90%


    NY Target          44.00%    45.00%     48.00%    50.00%     52.00%


     TX Target         57.00%    57.00%     57.00%    58.00%     58.00%


    WA Target          51.20%    51.40%     51.60%    51.80%     52.00%




Indicator 7B2 Result    2013       2014      2015       2016         2017


     CA Result         60.27%     59.60%    71.20%     77.60%    76.70%


     MI Result         57.59%     56.34%    58.93%     57.13%    57.41%


     FL Result         67.84%     66.46%    66.49%     67.22%    66.38%


     NY Result         44.03%     47.40%    48.22%     44.50%    43.60%


     TX Result         57.03%     56.63%    55.91%     57.61%    58.50%


    WA Result          53.70%     50.40%    50.51%     49.67%    48.26%




                                                                        4
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          INDICATOR 7 A-C STATE-TO-STATE COMPARISONS


Indicator 7C1 Target    2013      2014       2015      2016          2017


     CA Target         75.00%    75.00%     75.00%    73.70%     74.70%


     MI Target         89.00%    86.00%     86.50%    87.25%     87.75%


     FL Target         55.40%    56.40%     57.90%    59.90%     62.40%


     NY Target         91.00%    91.50%     92.00%    92.00%     92.50%


     TX Target         81.00%    82.00%     83.00%    84.00%     84.00%


    WA Target          81.10%    81.20%     81.30%    81.40%     81.50%




Indicator 7C1 Result    2013       2014      2015       2016         2017


     CA Result         65.80%     65.80%    68.70%     73.70%    75.30%


     MI Result         85.04%     87.58%    88.47%     88.66%    89.14%


     FL Result         53.70%     55.63%    56.84%     61.42%    64.10%


     NY Result         91.50%     87.60%    90.15%     88.80%    85.80%


     TX Result         83.98%     85.30%    83.37%     84.73%    84.86%


    WA Result          89.43%     89.58%    89.56%     91.20%    89.61%




                                                                        5
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          INDICATOR 7 A-C STATE-TO-STATE COMPARISONS


Indicator 7C2 Target    2013      2014       2015      2016          2017


     CA Target         79.00%    79.00%     79.00%    76.45%     77.45%


     MI Target         73.00%    59.10%     59.20%    59.30%     59.40%


     FL Target         79.50%    80.00%     80.50%    81.00%     81.50%


     NY Target         48.00%    50.00%     52.00%    55.00%     60.00%


     TX Target         72.00%    72.00%     73.00%    73.00%     74.00%


    WA Target          65.20%    65.40%     65.60%    65.80%     66.00%




Indicator 7C2 Result    2013       2014      2015       2016         2017


     CA Result         65.70%     65.00%    70.47%     76.45%    77.02%


     MI Result         60.41%     59.17%    61.25%     60.89%    61.67%


     FL Result         77.70%     77.05%    77.20%     78.42%    78.14%


     NY Result         48.17%     53.72%    53.01%     51.25%    49.40%


     TX Result         72.84%     71.95%    71.00%     72.32%    71.65%


    WA Result          66.61%     64.61%    62.79%     62.81%    61.72%




                                                                        6
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                             INDICATOR WORKSHEET
                       INDICATOR 7-PRESCHOOL OUTCOMES

Instructions
   •   We will be collecting these worksheets to record stakeholder engagement
   •   Use the questions below to discuss indicator targets and mark the proposed
       targets on the included chart.
Guiding Questions
   •   How can newly set SPP targets encourage local educational agencies to
       increase access for students with disabilities to instruction in the general
       education setting, increase achievement and improve overall outcomes?
   •   Should the targets be more ambitious? If so, should targets be set higher from
       the onset of the new six-year cycle or increase incrementally over time?

                                    Indicator 7A1
                       84.2%
               83.2%
       82.2%




       82.2%   76.7%

        2016   2017     2018     2019    2020     2021     2022     2023    2024
                                7A1 Results       7A1 Target


                                    Indicator 7A2
                       80.5%

               79.5%

       78.5%




       78.5%   77.6%

       2016    2017     2018     2019    2020     2021     2022     2023     2024
                                7A2 Results       7A2 Target
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                            INDICATOR WORKSHEET
                      INDICATOR 7-PRESCHOOL OUTCOMES


                                    Indicator 7B1

                      81.7%
            80.7%
   79.7%




   79.7%    76.1%

    2016     2017     2018      2019     2020       2021     2022   2023    2024
                                7B1 Results     7B1 Target


                                    Indicator 7B2
                      79.6%

            78.6%

   77.6%




   77.6%    76.7%

    2016     2017     2018      2019     2020       2021     2022   2023    2024
                                7B2 Results     7B2 Target

Please answer the following (Please use the back if you need more space):
   1. What are the benefits of the group’s targets?




   2. What are the concerns?



   3. What do we still need to know?
      What additional questions need to be answered?
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                      INDICATOR WORKSHEET
                INDICATOR 7-PRESCHOOL OUTCOMES


                           Indicator 7C1
                75.7%

        74.7%

73.7%


73.7%   75.3%

2016    2017    2018    2019     2020     2021       2022   2023   2024
                        7C1 Results     7C1 Target


                           Indicator 7C2
                78.5%

        77.5%

76.5%


76.5%   77.0%

2016    2017    2018    2019     2020      2021      2022   2023   2024
                        7C2 Results     7C2 Target
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         INDICATOR 14A-C STATE-TO-STATE COMPARISON CHARTS


                                   Indicator 14A Targets
60.00%



50.00%



40.00%



30.00%



20.00%



10.00%



 0.00%
         CA Target   MI Target          FL Target          NY Target     TX Target   WATarget

                                 2013   2014        2015   2016   2017



                                   Indicator 14A Results
60.00%


50.00%


40.00%


30.00%


20.00%


10.00%


 0.00%
         CA Result   MI Result          FL Result          NY Result     TX Result   WA Result

                                 2013   2014    2015       2016   2017
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         INDICATOR 14A-C STATE-TO-STATE COMPARISON CHARTS


                                   Indicator 14B Targets
80.00%


70.00%


60.00%


50.00%


40.00%


30.00%


20.00%


10.00%


 0.00%
         CA Target   MI Target          FL Target      NY Target     TX Target   WATarget

                                 2013   2014    2015   2016   2017



                                   Indicator 14B Results
90.00%

80.00%

70.00%

60.00%

50.00%

40.00%

30.00%

20.00%

10.00%

 0.00%
         CA Result   MI Result          FL Result      NY Result     TX Result   WA Result

                                 2013   2014    2015   2016   2017
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           INDICATOR 14A-C STATE-TO-STATE COMPARISON CHARTS


                                  Indicator 14C Targets
90%


80%


70%


60%


50%


40%


30%


20%


10%


0%
        CA Target   MI Target          FL Target          NY Target      TX Target   WATarget

                                2013    2014       2015   2016    2017



                                 Indicator 14C Results
90%

80%

70%

60%

50%

40%

30%

20%

10%

0%
        CA Result   MI Result          FL Result          NY Result      TX Result   WA Result

                                2013    2014       2015   2016    2017
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          INDICATOR 14 A-C STATE-TO-STATE COMPARISONS


Indicator 14A Target    2013      2014       2015      2016      2017


    CA Target          52.30%    52.30%     52.30%    52.30%    53.30%


     MI Target         32.80%    33.00%     33.20%    33.40%    33.60%


     FL Target         29.00%    31.00%     33.00%    35.00%    37.00%


    NY Target          37.50%    42.20%     42.70%    43.00%    45.30%


     TX Target         26.60%    28.00%     28.00%    29.00%    29.00%


    WA Target          25.60%    25.70%     25.80%    25.90%    26.00%




Indicator 14A Result    2013      2014       2015      2016      2017


     CA Result         52.30%    50.40%     52.30%    48.90%    53.97%


     MI Result         33.50%    34.70%     32.30%    32.50%    29.10%


     FL Result         28.30%    28.60%     28.40%    27.80%    24.30%


     NY Result         37.60%    48.10%     40.70%    44.00%    43.30%


     TX Result         26.70%    24.90%     24.30%    21.40%    18.30%


    WA Result          23.74%    22.30%     22.10%    21.70%    21.30%
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          INDICATOR 14 A-C STATE-TO-STATE COMPARISONS


Indicator 14B Target    2013      2014       2015      2016          2017


    CA Target          72.40%    72.40%     72.40%    72.40%     73.40%


     MI Target         59.00%    59.50%     60.00%    60.50%     61.00%


     FL Target         42.00%    44.00%     46.00%    48.00%     50.00%


    NY Target          62.60%    66.00%     67.00%    68.00%     69.00%


     TX Target         60.00%    61.00%     61.00%    62.00%     62.00%


    WA Target          48.95%    49.15%     49.35%    49.55%     49.75%




Indicator 14B Result    2013       2014      2015       2016         2017


     CA Result         72.40%     72.40%    75.50%     72.60%    77.60%


     MI Result         63.10%     65.30%    63.30%     62.90%    64.80%


     FL Result         42.10%     43.60%    43.10%     43.80%    50.50%


     NY Result         62.50%     71.70%    67.20%     69.40%    70.30%


     TX Result         61.50%     54.20%    57.30%     53.60%    50.80%


    WA Result          52.11%     53.20%    55.56%     57.13%    56.00%
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          INDICATOR 14 A-C STATE-TO-STATE COMPARISONS


Indicator 14C Target    2013      2014       2015      2016          2017


     CA Target         81.00%    81.00%     81.00%    81.00%     82.00%


     MI Target         71.50%    72.00%     72.50%    73.00%     73.50%


     FL Target         54.00%    57.00%     60.00%    63.00%     66.00%


     NY Target         72.40%    75.00%     76.00%    77.50%     78.50%


     TX Target         71.60%    73.00%     74.00%    76.00%     78.00%


    WA Target          67.03%    67.13%     67.23%    67.33%     67.43%




Indicator 14C Result    2013       2014      2015       2016         2017


     CA Result         81.00%     82.10%    83.20%     81.70%    85.56%


     MI Result         77.10%     77.00%    76.80%     76.90%    77.40%


     FL Result         53.80%     55.70%    54.90%     56.10%    56.70%


     NY Result         72.40%     80.80%    77.70%     80.60%    82.80%


     TX Result         71.60%     67.30%    68.50%     66.60%    64.70%


    WA Result          65.13%     67.38%    70.46%     72.21%    72.19%
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                               INDICATOR WORKSHEET
                        INDICATOR 14- POST SCHOOL OUTCOMES

Instructions
   •    We will be collecting these worksheets to record stakeholder engagement
   •    Use the questions below to discuss indicator targets and mark the proposed
        targets on the included chart.
Guiding Questions
   •    How can newly set SPP targets encourage local educational agencies to
        increase access for students with disabilities to instruction in the general
        education setting, increase achievement and improve overall outcomes?
   •    Should the targets be more ambitious? If so, should targets be set higher from
        the onset of the new six-year cycle or increase incrementally over time?

                                      Indicator 14A
                         54.30%
               53.30%
   52.30%




   48.90%      53.97%

       2016    2017       2018    2019     2020       2021     2022    2023      2024
                                  14A Result      14A Target


                                      Indicator 14B


                         74.40%
               73.40%
   72.40%



   72.60%      77.60%

       2016    2017       2018    2019     2020       2021     2022    2023      2024
                                  14B Result      14B Target
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                            INDICATOR WORKSHEET
                     INDICATOR 14- POST SCHOOL OUTCOMES


                                    Indicator 14C


                      83.00%
             82%
    81%



   81.70%   85.56%

    2016     2017     2018      2019     2020         2021   2022   2023    2024
                                 14C Result     14C Target

Please answer the following (Please use the back if you need more space):
   1. What are the benefits of the group’s targets?




   2. What are the concerns?




   3. What do we still need to know?
      What additional questions need to be answered?
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            ATTACHMENT 5
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                      Excerpt from October 10, 2019 National Technical Assistance Call


Source: https://www.youtube.com/watch?v=2NPIuCzSozc&feature=youtu.be




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  Excerpt from October 10, 2019 National Technical Assistance Call




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            ATTACHMENT 6
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  State Performance Plan FFY 2019-2024
             Stakeholder Workgroup Meeting and
Approval by Advisory Commission on Special Education (ACSE)
      and the California State Board of Education (SBE)




                                               2/12/2020               5/6/2020                                             2/1/2021
                                            Proposed ACSE           Proposed SBE                                             Submit
                                             Approval Date          Approval Date                                       SPP/APR to OSEP




           Stakeholder
            Meetings




                                                Stakeholder Meetings

          8/5/2019                   8/21/2019                                      9/10/2019            9/24/2019
              Mtg. 1                      Mtg. 2                                        Mtg. 4              Mtg. 5
                                  Virtual and In-person                         Virtual and In-person    Virtual only
           Virtual only
                                        Indicators:                            Indicators: Dropout (2)    Summary
            Overview
                                     Assessment (3)                            Parent Involvement (8)
                                     Suspension (4)                           Resolution Sessions (15)
                                  School-age LRE (5)                                Mediation (16)



                                                  8/26/2019
                                                       Mtg. 3
                                               Virtual and In-person
                                          Indicators: Preschool LRE (6)
                                             Preschool Outcomes (7)
                                           Post School Outcomes (14)
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                                                      California Department of Education
                                                                        Executive Office
                                                                 SBE-003 (REV. 11/2017)




            California State Board of Education
                   January 2020 Agenda
                          Item #11
Subject
State Annual Performance Report for Part B of the Individuals with Disabilities
Education Act of 2004 covering program year 2018–19.

Type of Action
Action, Information

Summary of the Issue(s)
As required by the Individuals with Disabilities Education Act (IDEA) of 2004, Part B, the
California Department of Education (CDE), Special Education Division (SED),
developed the State Performance Plan (SPP), a six-year plan covering federal fiscal
year (FFY) 2013–14 through 2018–19, using the instructions determined by the U.S.
Department of Education, Office of Special Education Programs (OSEP). The SED
prepares an Annual Performance Report (APR), an update under the SPP, each year
that covers California’s progress on 5 compliance indicators, 11 performance indicators,
and 1 indicator with both compliance and performance components. The attached
report is for program year 2018–19.

For FFY 2019 the OSEP has directed the CDE to submit the targets for that year only
as an extension of the current FFY 2013–2018 cycle, along with the FFY 2018 APR on
February 1, 2020. The CDE will present the FFY 2020 through FFY 2025 SPP to the
State Board of Education (SBE) for approval at the May 2020 board meeting, pending
final guidance from OSEP, as discussed in the December 2019 memo.

This report provides data on the status of California’s students with disabilities in 17
required federal indicators as required for submission annually under the IDEA. A
number of these indicators overlap with California’s School Dashboard, the state’s
accountability system. The established federal targets for these overlapping indicators
(graduation rate, suspension/expulsion, and assessment) predate California’s new
accountability system, and thus the calculation methodology and targets for these
indicators differ, and are calculated based on specific parameters set by the OSEP. As
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the lead state educational agency for California, the SBE must approve this report and
these data prior to submission. Failure to submit this report to OSEP may result in the
withholding of federal IDEA funds.

The SED has reviewed protocols and approaches for compliance monitoring selection
and support under IDEA to maximize alignment to the greatest extent possible with the
statewide system of support. During the March 2018 SBE meeting, the SBE approved
Phase III of the State Systemic Improvement Plan (SSIP) which aligned SED monitoring
activities with the California School Dashboard and the California System of Support
(CASOS). The CASOS brings new opportunity for improving support and student
outcomes by utilizing the Dashboard, which includes accountability data for students
with disabilities.

As part of the CASOS, the Special Education Local Plan Area (SELPA) System
Improvement Leads have developed a resource to support this alignment between APR
indicators and the Dashboard. Although multiple Dashboard indicators are similar to
indicators in the APR, there are important differences (e.g. calculating the discipline rate
for students with disabilities). The State Performance Plan Indicator Guide serves as a
valuable resource for understanding the similarities and differences between these
unique sets of accountability indicators and can be accessed at the SELPA System
Improvement Leads website at https://systemimprovement.org/uploads/resources/State-
Performance-Plan-Indicator-Guide.pdf.

Over the last year, SED has worked to include activities that support local educational
agencies (LEAs) in improving outcomes for students with disabilities and to better align
with the new statewide system of support. SED has also increased the number of
technical assistance contracts that target specific areas of need, such as Least
Restrictive Environment. This more coherent approach is intended to move special
education into one single system of education designed to serve all students and will
help to ensure participation in decisions being made about how to support the totality of
an LEA, reducing the requirement for separate plans and processes for different student
groups.

Recommendation
The CDE recommends the SBE review and approve the Executive Summary of the FFY
2018 APR for Part B of the IDEA covering program year 2018–19 as prepared by the
SED.

Brief History of Key Issues
The APR is presented to the SBE annually for review and approval as part of the CDE’s
annual report to the public on the performance of its LEAs in serving students with
disabilities. The APR documents describe the progress of LEAs and the state toward
meeting targets and benchmarks identified in the SPP, and summarizes the statewide
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selection for monitoring activities associated with each of the target indicators in the
SPP. A stakeholder workgroup assisted the SED in establishing and re-benching
performance indicators during meetings held from December 2014 through June 2015.
The targets are included in the Executive Summary.

Similar to last year, this item contains SPP/APR indicators 1 through 16 that document
overall progress as measured by state data. Indicator 17 describes improvement
activities of the state in the SSIP, which will be prepared for the March 2020 SBE
meeting.

On February 1, 2020, upon approval of this item by the SBE, the SPP and APR for
indicators 1 through 16 will be submitted to the OSEP. Indicator 17 will be presented to
the SBE at the March 2020 meeting and will be submitted, upon approval, to the OSEP
on April 1, 2020.

Summary of Previous State Board of Education
Discussion and Action
In January 2019, the SBE approved the FFY 2017 APR Executive Summary which
reported on the progress of the 2017–18 compliance and performance indicators as
required by the IDEA.

Fiscal Analysis (as appropriate)
Absent approval, California’s approximately $1.2 billion federal IDEA funding could be
jeopardized.

Attachment(s)
Attachment 1: California Department of Education Special Education Division
              Individuals with Disabilities Education Act of 2004 State Annual
              Performance Report Executive Summary Federal Fiscal Year 2018
              (Program Year 2018–19) (43 pages).
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                          Attachment 1


                  California Department of Education


                      Special Education Division


           Individuals with Disabilities Education Act of 2004


                   State Annual Performance Report


                          Executive Summary


           Federal Fiscal Year 2018 (Program Year 2018–19)




                             January 2020
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Special Education in California
The California Department of Education (CDE) provides state leadership and policy
guidance to local educational agencies (LEAs) for special education programs and
services for students with disabilities, birth to twenty-two years. Special education is
defined as specially designed instruction and services, at no cost to parents, to meet the
unique needs of students with disabilities. Special education services are available in a
variety of settings, including early learning and care, preschool, regular classrooms,
classrooms that emphasize specially designed instruction, the community, and the work
environment.

The CDE also provides families with information on the education of students with
disabilities and works cooperatively with other state agencies to provide a range of
services from family-centered services for infant and preschool children with disabilities
to planned steps for transition from high school to employment and quality adult life. The
CDE responds to consumer complaints and administers programs related to the federal
Individuals with Disabilities Education Act of 2004 (IDEA) and the Every Student
Succeeds Act (ESSA) for students with disabilities in California.

Accountability and Data Collection
In accordance with the IDEA, California is required to report annually to the U.S.
Department of Education (ED) on California’s performance and progress meeting
targets defined in the State Performance Plan (SPP). This report is the State’s Annual
Performance Report (APR). The APR requires the CDE to report on 17 indicators
(Table 1) that examine a comprehensive array of compliance and performance
requirements relating to the provision of special education and related services. The
California Special Education Management Information System (CASEMIS) and the
California Longitudinal Pupil Achievement Data System (CALPDADS) are the data
reporting and retrieval systems used by the CDE for students with disabilities.
CASEMIS provides LEAs a statewide standard for maintaining a core of special
education data at the local level that is used for accountability reporting and to meet
statutory and programmatic needs in special education.

The CDE is required to publish the APR for public review. The current APR reflects data
collected during Federal Fiscal Year (FFY) 2018, which is equivalent to California’s
school year 2018–19. Indicators 1, 2, and 4 are reported in lag years using data from
school year 2017–18. The 17 federal indicators include 11 performance indicators, 5
compliance indicators, and 1 indicator with both performance and compliance
components (Indicator 4). All compliance indicator targets are set by the ED at either 0
or 100 percent. Performance indicator targets were established based on
recommendations of a stakeholder group, and approved by the State Board of
Education (SBE) in November 2014 (Table 5).
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    Table 1: California State Indicators

Indicator Type    No.                               Description
Performance        1  Graduation Rates
Performance        2  Dropout Rates
Performance        3  Statewide Assessments
Performance       3A  LEAs Meeting Accountability for Students with Disabilities
Performance       3B  Participation for Students with Disabilities
Performance       3C  Proficiency for Students with Disabilities
Combined           4  Suspension and Expulsion
Performance       4A  Rates of Suspension and Expulsion
Compliance        4B  Rates of Suspension and Expulsion by Race or Ethnicity
Performance        5  Education Environments
Performance       5A  Education Environments (In Regular Class ≥ 80% of day)
Performance       5B  Education Environments (In Regular Class < 40% of day)
Performance       5C  Education Environments (Served in separate school or other placement)
Performance        6  Preschool Environments
Performance       6A  Preschool Environments: Services in the regular childhood program
Performance       6B  Preschool Environments: Separate special education class, school, or
                      facility
Performance         7 Preschool Outcomes
Performance        7A Preschool Outcomes: Positive social-emotional skills
Performance        7B Preschool Outcomes: Acquisition/use of knowledge and skills
Performance       7C Preschool Outcomes: Use of Appropriate Behaviors
Performance         8 Parent Involvement
Compliance          9 Disproportionate Representation
Compliance         10 Disproportionate Representation in Specific Disability Categories
Compliance         11 Child Find
Compliance         12 Early Childhood Transition
Compliance         13 Secondary Transition
Performance        14 Post-school Outcomes
Performance       14A Enrolled in higher education within one year of leaving high
                      school
Performance       14B Enrolled in higher education or competitively employed within one year
                      of leaving high school
Performance       14C Enrolled in higher education or in some other postsecondary education
                      or training program; or competitively employed or in some other
                      employment within one year of leaving high school
Performance        15 Resolution Sessions
Performance        16 Mediation
Performance        17 State Systemic Improvement Plan
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Overview of Population and Services
During FFY 2018, a total of 795,047 students from birth to twenty-two years received
special education from LEAs. There are 6,186,278 kindergarten through grade twelve
students enrolled in California; students with disabilities comprise 11.6 percent of that
population. Almost half of students with disabilities in California (48 percent) are
between six and twelve years of age; over two-thirds of students with disabilities are
male (67 percent); and over a quarter are English-language learners (26 percent). Of all
students with disabilities, Hispanic/Latino students represent the greatest numbers of
students in need of special education and related services (57 percent) followed by
white students (23 percent). All tables and figures are based on students with
disabilities birth to twenty-two years.

California students identified as having at least one disability are eligible for
individualized services to meet their unique needs. There are 14 disability categories, as
displayed in Table 2. The most common primary disability category designation for
students is Specific Learning Disability (37.7 percent), followed by Speech or Language
Impairment (20.7 percent).

Table 2: Enrollment of Students with Disabilities by Disability Type

 Disability                                 Number of Students                Percentage
 Specific Learning Disability (SLD)                    300,295                     37.77
 Speech or Language Impairment (SLI)                   164,698                     20.72
 Autism (AUT)                                          120,095                     15.11
 Other Health Impairment (OHI)                         104,349                     13.12
 Intellectual Disability (ID)                           43,770                      5.51
 Emotional Disturbance (ED)                             25,233                      3.17
 Hard of Hearing (HH)                                   10,657                      1.34
 Orthopedic Impairment (OI)                              9,916                      1.25
 Multiple Disability (MD)                                7,308                      0.92
 Visual Impairment (VI)                                  3,405                      0.43
 Deafness (DEAF)                                         3,223                      0.41
 Traumatic Brain Injury (TBI)                            1,541                      0.19
 Established Medical Disability (EMD)                      443                      0.06
 Deaf Blindness (DB)                                       114                      0.01
 Totals                                                795,047                     100.0
CASEMIS, Dec 2018

The CDE also tracks the type of school or program in which students with disabilities
receive the majority of their instructional services. These include public schools, private
schools, independent study, charter schools, community schools, correctional
programs, higher education, and transition programs. Table 3 shows the top three
school types for students with disabilities with the greatest proportion of students
enrolled in a public day school (84.86 percent).
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Table 3: Enrollment of Students with Disabilities by Type of School

 School Type                   Number of Students      Percentage
 Public Day School                             674,665                               84.86
 Charter School                                 60,249                                7.57
 All Other School Types                         60,133                                7.57
 Totals                                        795,047                               100.0
CASEMIS, Dec 2018

Students with disabilities in California receive a variety of services to address their
unique needs. During FFY 2018–19, there were 1,950,410 services provided to
California’s students with disabilities, many receiving multiple services. Table 4 lists the
most commonly provided services to students. The most common service provided was
Specialized Academic Instruction (34.07 percent) followed by Language and Speech
(20.46 percent).

Table 4: Services Provided to Students with Disabilities

 Services                             Number of Students      Percentage
 Specialized Academic Instruction                     664,516                        34.07
 Language and Speech                                  399,056                        20.46
 Vocational/Career                                    356,082                        18.27
 Mental Health Services                               161,346                         8.27
 All Other Services                                   369,410                        18.93
 Total                                              1,950,410                        100.0
CASEMIS, Dec 2018

2018–19 Annual Performance Report Indicators
During FFY 2018, California met 43 percent of the 16 indicators. Table 5 identifies each
indicator, its target, the FFY 2018 state results, and whether or not the target was met.
The pages following Table 5 provide an overview of each individual indicator, including
a description of the indicator, the target, the data collected, the results, and whether
there was an increase or decrease in the results from prior year.


Table 5: Federal Fiscal Year 2018 Indicators, Target, Results, and Change

                                                                                Change
                                                                    Met       from Prior
        Indicators               Targets             Results       Target         Year
 1 Graduation                      90%                66.3%         No           +1.3%
 2 Drop Out                      ≤10.72%             11.24%         No          -0.12%
 3 Statewide
 Assessment                         N/A                N/A           N/A          N/A
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                                                                    Change
                                                          Met     from Prior
       Indicators             Targets        Results     Target      Year
3B Participation           95% ELA/Math    94.5%/94.1%    No        Various
3C Elementary, High,        15.9% ELA,
and Unified Districts       13.6% Math       Various     Yes/No     Various
4 Suspension/Expulsion          N/A           N/A         N/A        N/A
4A Suspension and
Expulsion Rate Overall         ≤10%          1.41%        Yes       -2.26%
4B Suspension and
Expulsion Rate by
Race/Ethnicity                  0%           4.86%        No        -1.48%
5 Education
Environments                   N/A            N/A         N/A        N/A
5A Regular Class 80
Percent or More               ≥52.2%         56.88%       Yes       +0.78%
5B Regular Class Less
than 40 Percent               ≤21.6%         19.53%       Yes       -0.29%
5C Separate Schools,
Residential Facilitates,
or Homebound/Hospital
Placements                    ≤3.8%           3.1%        Yes       -0.30%
6 Preschool Least
Restrictive
Environments                   N/A             N/A        N/A         N/A
6A Regular Preschool          >35.9%         36.58%       Yes       -0.73%
6B Separate Schools or
Classes                       <31.4%         33.84%       No        -0.05%
7 Preschool
Assessment                     N/A            N/A         N/A        N/A
7A Positive Social-
Emotional Skills            84.2%/80.5%    76.0%/76.7%    No      -0.7%/-0.9%
7B Use of Knowledge
and Skills                 81.7%/79.57%    75.2%/76.2%    No      -0.9%/-0.5%
7C Use of Appropriate
Behaviors                  75.70%/78.45%   75.4%/76.7%    No      +0.1%/-0.3%
8 Parent Involvement           93.0%          99.57%      Yes       +0.01%
9 Disproportionate
Representation                  0%           1.60%        No         +0.72
10 Disproportional
Representation by
Disability Category             0%           9.90%        No        -17.86
11 Child Find                  100%          96.2%        No        -1.66%
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                                                                 Change
                                                       Met     from Prior
       Indicators          Targets        Results     Target      Year
12 Early Childhood
Transition                  100%           89.7%        No        -5.5%
13 Secondary
Transition                  100%           99.2%        No        -0.5%
14 Post-school
Outcomes                    N/A             N/A        N/A         N/A
14A Enrolled in Higher
Education                  54.30%          54.8%       Yes        +0.8%
14B Enrolled in Higher
Education or
Competitively
Employed within a Year     74.4%           70.7%        No        -6.9%
14C Enrolled in Higher
Education,
Postsecondary
Education or Training or
Competitively
Employed                   83.0%           89.3%       Yes        +3.7%
15 Resolution Sessions      60%            21.9%       No         -2.2%
16 Mediation                60%            62.1%       Yes        +4.3%
17 State Systemic
Improvement Plan            N/A             N/A        N/A         N/A
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2019–20 Annual Performance Report Proposed Targets
Table 6: Proposed Federal Fiscal Year 2019 Targets
                                                      FFY 2018          FFY 2019
Indicators                      FFY 2018 Targets       Results           Targets
1 Graduation Rate                     90%               66.3%              90%
2 Dropout Rate                      ≤10.72%            11.24%            ≤9.72%
3 Statewide Assessment                N/A                N/A               N/A
3A Adequate Yearly Progress       Not Reported       Not Reported      Not Reported
                                                                           95%
3B Participation                 95% ELA/Math        94.5%/94.1%        ELA/Math
3C Elementary, High, and          15.9 % ELA,                          16.9 % ELA,
Unified Districts                 13.6% Math           Various         14.6% Math
4 Suspension/Expulsion                N/A               N/A                N/A
4A Suspension and Expulsion
Rate Overall                         ≤10%               1.41%             ≤10%
4B Suspension and Expulsion
Rate by Race/Ethnicity                0%                4.86%              0%
5 Education Environments              N/A                N/A               N/A
5A Regular class 80 percent
or more                              52.2%             56.88%             53.2%
5B Regular class less than 40
percent                             ≤21.6%             19.53%            ≤20.6%
5C Separate schools,
residential facilities, or
homebound/hospital
placements                           ≤3.8%              3.1%              ≤3.6%
6 Preschool Least Restrictive
Environment                           N/A                N/A               N/A
6A Regular preschool                 35.9%             36.58%             36.9%
6B Separate schools or
classes                             ≤31.4%             33.84%            ≤30.4%
7 Preschool Assessment                N/A                N/A               N/A
7A Positive Social-Emotional
Skills                            84.2%/80.5%        76.0%/76.7%       85.2%/81.5%
7B Use of Knowledge and
Skills                           81.7%/79.57%        75.2%/76.2%       82.7%/80.5%
7C Use of Appropriate
Behaviors                       75.70%/ 78.45%       75.4%/76.7%       76.7%/79.4%
8 Percent of Parents
Reporting the Schools
Facilitated Parental
Involvement                           93%              99.57%              94%
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                                                   FFY 2018         FFY 2019
Indicators                      FFY 2018 Targets    Results          Targets
9 Disproportionate
Representation                        0%            1.60%              0%
10 Disproportional
Representation by Disability
Category                              0%            9.90%              0%
                                                    96.2%
11 Child Find                        100%                             100%
12 Early Childhood Transition        100%           89.7%             100%
13 Secondary Transition              100%           99.2%             100%
14 Post-School Outcomes               N/A            N/A               N/A
14A Enrolled in higher
education                            54.3%          54.8%             55.3%
14B Enrolled in higher
education or competitively
employed within a year               74.4%          70.7%             75.4%
14C Enrolled in higher
education, postsecondary
education or training, or
competitively employed              83.0%           89.3%             84%
15 Resolution Sessions               60%            21.9%             61%
16 Mediation                         60%            62.1%             61%
17 State Systemic                 15.9% ELA,                       16.9% ELA,
Improvement Plan                  13.6% Math       Various         14.6% Math
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                          Indicator 1: Graduation Rate
Description

Indicator 1 is a performance indicator that measures the percent of youth with
individualized education programs (IEPs) graduating from high school with a regular
diploma (20 United States Code [U.S.C.] Section 1416 [a][3][A]). The calculation
methods for this indicator were revised in 2008–09 and again in 2009–10, to align with
reporting criteria under Title I of the Elementary and Secondary Education Act (ESEA).
A new reporting methodology was implemented for the FFY 2012 APR. The graduation
rate uses the four-year adjusted cohort. The four-year adjusted cohort is the number of
students who graduate from high school in four years with a regular high school
diploma, divided by the number of students who form the adjusted cohort for the
graduating class.

Target for 2018–19

Targeting a 2018 graduation rate of 90 percent or more. This target represents changes
approved by the SBE and the Office of Special Education Programs (OSEP) in FFY
2014 and will be in effect for FFYs 2013–18.

Measurement

Data are reported in lag years using the CALPADS data from FFY 2017 (2017–18). The
graduation rate is calculated by the number of students with IEPs graduating with a
regular diploma divided by number of students with IEPs eligible to graduate.

Results for 2018−19

The graduation rate for FFY 2018 demonstrated 66.3 percent of students with
disabilities graduated with a high school diploma.

Target Met: No

Proposed Target for FFY 2019: 90%
Graduation Rate Targets and Results for FFYs 2013–18
 Indicator 1 2013    2014    2015     2016    2017   2018
   Target    90%     90%     90%      90%      90%   90%
   Result    61.8   62.2% 64.5% 65.5% 65.0% 66.3%
 Target Met   No      No      No       No       No    No
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                           Indicator 2: Dropout Rate
Description

Indicator 2 is a performance indicator that measures the percent of students with
disabilities dropping out of high school (20 U.S.C. Section 1416 [a][3][A]). The
calculation methodology for this indicator was revised in 2009–10 to create a more
rigorous target and approved by the OSEP in April 2010. Dropout rates are calculated
from data reported for grades nine through twelve. The CDE uses an annual (one-year)
dropout rate.

Target for 2018–19

No more than 10.72 percent of students with disabilities will drop out of high school.
These targets represent changes approved by the SBE and the OSEP in FFY 2014 and
will be in effect for FFYs 2013–18.

Measurement

The data are reported in lag years using CASEMIS data from FFY 2017 (2017−18). The
CDE uses an annual (one-year) dropout rate.

Results for 2018–19

For FFY 2018, the dropout rate was 11.24 percent.

Target Met: No

Proposed Target for FFY 2019: 9.72%

Dropout Rate Targets and Results for FFYs 2013–18
 Indicator 2    2013     2014       2015     2016           2017      2018
   Target     15.72% 14.72% 13.72% 12.72%                  11.72%    10.72%
   Result      15.7%    17.5%      14.4%    13.7%          11.3%     11.2%
 Target Met     Yes       No         No       No            Yes        No
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                      Indicator 3: Statewide Assessment
Description

Indicator 3 is a performance indicator that measures the participation and performance
of students with disabilities on statewide assessments including: participation rate for
students with disabilities; and rate of students with disabilities meeting standards
against grade-level, modified, and alternate academic achievement standards (20
U.S.C. 1416 Section [a][3][A]).

Targets for 2018–19

Targets represent changes approved by the SBE and the OSEP in FFY 2014 and will
be in effect for FFYs 2013–18.

   3A. This indicator is not currently reported per direction from the ED. This indicator
       is no longer used as it was a calculated percentage tied to Adequate Yearly
       Progress (AYP) which no longer exists.

   3B. The annual benchmark and target for participation on statewide assessments in
       English Language Arts (ELA) and math is 95 percent (rounded to nearest whole
       number), as established under ESEA.

   3C. Consistent with the ESEA accountability framework, the 2016–17 annual
       benchmarks for the percent of students with disabilities proficient on statewide
       assessments are broken down by subject and student group. The targets for
       each student group is listed below.

                                  ELA = 15.9 percent
                                  Math = 13.6 percent

Measurement

Participation rate percentage equals the number of students with disabilities
participating in the California Assessment of Student Performance and Progress tests
divided by the total number of students with disabilities enrolled on the first day of
testing, calculated separately for reading and math.

Proficiency rate percentage equals the number of students with disabilities scoring at or
above proficient against grade level and alternate academic achievement standards
divided by the total number of students with disabilities who received a valid score and
for whom a proficiency level was assigned, and calculated separately for reading and
math.
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Results for 2017–18

Target Met: 3A Not Reported, 3B No, 3C Yes/No

A. In FFY 2018 for Target A, the results are as follows:
   Percent of LEAs Meeting AYP for Disability Student Group (3A)
 Indicator 3A 2013           2014     2015 2016 2017 2018
 Target            58%       59%        *        *        *       *
 Result            17%      78.5%       *        *        *       *
 Target Met         No       Yes        *        *        *       *
* This indicator is not currently reported per direction from the ED.

Proposed Target for FFY 2019: 95% for Math and ELA.
B. In FFY 2018 for Target B, the results are as follows:
    Percent of Participation for Students with IEPs (3B)
 Indicator 3B        2013*     2014  2015     2016    2017   2018
 ELA Target           95%      95%    95%     95%      95%   95%
 Result               18%     94.2% 93.4% 95.0% 94.1% 94.5%
 Target Met            No       No     No     Yes       No    No
 Math Target          95%      95%    95%     95%      95%   95%
 Result               13%     93.8% 94.6% 94.7% 93.8% 94.1%
 Target Met            No       No     No      No       No    No
*Pilot year for California Assessment of Student Performance and Progress, only
California Alternate Performance Assessment data was included.

Proposed Target for FFY 2019: 16.9% for ELA, 14.6% for Math
C. In FFY 2018 for Target C (Proficiency), the results are as follows:
   Percent Proficient for Students with Disabilities (3C)
                          ELA         ELA       Target      Math        Math    Target
      Type of LEA
                         Target      Result      Met       Target      Result    Met
 Elementary School
                         15.0%       17.1%       Yes       13.6%       13.8%     Yes
 Districts
 High School Districts   15.9%       17.0%       Yes       13.6%        8.1%     No
 Unified School
 Districts and County    15.9%       15.9%       Yes       13.6%       12.2%     No
 Offices of Education
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              Indicator 4A: Suspension and Expulsion Overall
Description

Indicator 4A is a performance indicator that measures the percent of LEAs that have a
significant discrepancy in the rate of suspensions and expulsions of greater than 10
days in a school year for students with disabilities (20 U.S.C. Section 1416[a][3][A] and
1412[a][22]). An LEA is considered to have a significant discrepancy if the districtwide
rate for suspension and expulsion exceeds the statewide rate for suspension and
expulsion. The statewide rate is the number of students with IEPs who were disciplined
greater than 10 days divided by the number of students with IEPs in the state. LEAs
identified to have a significant discrepancy are required to review policies, procedures,
and practices related to the development and implementation of IEPs, the use of
positive behavioral interventions and supports, and procedural safeguards.

Target for 2018–19

No more than 10 percent of LEAs will have rates of suspensions and expulsions of
students with disabilities for greater than 10 days in a school year. These targets
represent changes approved by the SBE and the OSEP in FFY 2014 and will be in
effect for FFYs 2013–18.

Measurement

The data are reported using the CALPADS data from the FFY 2017 (lag year). The
percent is calculated by the number of LEAs that have a significant discrepancy in the
rates of suspensions and expulsions of students with IEPs for greater than 10 days in a
school year divided by the number of LEAs in the state, multiplied by 100.

Results for 2018–19

In FFY 2018, there were 16 LEAs (1.41 percent) that had a rate of suspension and
expulsion for more than 10 days of students with disabilities greater than the statewide
rate.

Target Met: Yes

Proposed Target for FFY 2019: ≤10%
Suspension and Expulsion Targets and Results for FFYs 2013–18
 Indicator 4A  2013    2014    2015    2016     2017    2018
    Target     ≤10% ≤10% ≤10% ≤10% ≤10% ≤10%
    Result     1.2%    2.1%    2.3%    3.2%     3.6%    1.4%
  Target Met    Yes     Yes     Yes     Yes      Yes     Yes
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  Indicator 4B: Suspension and Expulsion Rate by Race or Ethnicity
Description

Indicator 4B is a compliance indicator that measures the percent of LEAs that have:
(1) significant discrepancy, by race or ethnicity, in the rate of suspensions and
expulsions of greater than 10 days in a school year for students with disabilities; and (2)
policies, procedures, or practices that contribute to the significant discrepancy and do
not comply with requirements relating to the development and implementation of IEPs,
the use of positive behavioral interventions and supports, and procedural safeguards
(20 U.S.C. Section 1416[a][3][A] and 1412[a][22]).

Target for 2018–19

Zero percent of LEAs will have a significant discrepancy in the rates of suspensions and
expulsions for greater than 10 days in a school year for students with disabilities by
race.

Measurement

The data are reported using the CALPADS data from FFY 2017 (lag year). This percent
is calculated by the number of LEAs that have: (1) A significant discrepancy, by race or
ethnicity, in the rates of suspensions and expulsions of greater than 10 days in a school
year of students with disabilities; and (2) policies, procedures, or practices that
contribute to the significant discrepancy and do not comply with requirements relating to
the development and implementation of IEPs, the use of positive behavioral
interventions and supports, and procedural safeguards divided by the number of LEAs
in the state, multiplied by 100.

Results for 2018–19

In FFY 2018, 4.86 percent of LEAs had a significant discrepancy in the rates of
suspensions and expulsions for greater than 10 days in a school year for students with
disabilities by race.

Target Met: No

Proposed Target for FFY 2019: 0%


Suspension/Expulsion by Race or Ethnicity Targets and Results for FFYs 2013–18
 Indicator 4B 2013    2014    2015 2016 2017 2018
    Target     0%      0%      0%     0%      0%      0%
    Result    1.8% 2.3% 5.7% 2.7% 6.3% 4.8%
  Target Met   No      No      No      No      No     No
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                     Indicator 5: Education Environments
Description

Indicator 5 is a performance indicator that measures the percent of students with
disabilities, ages six to twenty-two, served inside the regular class 80 percent or more of
the day; inside the regular class less than 40 percent of the day, and served in public or
private separate schools, residential facilities, or homebound/hospital placement.

Targets for 2018–19

These targets represent changes approved by the SBE and the OSEP in FFY 2014 and
will be in effect for FFYs 2013–18.

   5A. A target of 52.2 percent or more of students with disabilities will be in regular
       class 80 percent of the day or more;

   5B. No more than 21.6 percent of students with disabilities will be removed from
       regular class more than 60 percent of the day; and

   5C. No more than 3.8 percent of students with disabilities are served in public or
       private separate schools, residential placements, or homebound/hospital
       placements.

Measurement

   5A. The number of students with disabilities served inside the regular class 80
       percent or more of the day divided by the total number of students age six to
       twenty-two with disabilities.

   5B. The number of students with disabilities served inside the regular class less
       than 40 percent of the day divided by the total number of students age six to
       twenty-two with disabilities.

   5C. The number of students with disabilities served in public or private separate
       schools, residential facilities, or homebound/hospital placements divided by the
       total number of students ages six to twenty-two with disabilities.

Results for 2018–19

California did meet the targets for 5A (56.88 percent of students were in regular class
80 percent of the day or more); for 5B, (19.53 percent of students were in regular class
less than 40 percent of the day); and for 5C, (3.10 percent of students were served in
public or private separate schools and facilities).
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Target Met: 5A Yes, 5B Yes, 5C Yes

Proposed Target for FFY 2019: 5A 53.2%, 5B 20.6%, 5C 3.6%

Education Environment Targets and Results for FFYs 2013–18
        Indicator 5        2013    2014      2015     2016      2017     2018
 5A Target > 80%          49.2% 49.2%       49.2%    50.2%     51.2%    52.2%
 Result                   56.3% 53.3%       54.0%    54.9%     56.1%    56.8%
 Target Met                Yes      Yes       Yes      Yes      Yes      Yes
 5B Target < 40%          24.6% 24.6%       24.6%    23.6%     22.6%    21.6%
 Result                   23.6%    22%      21.5%    20.6%     19.8%    19.5%
 Target Met                Yes      Yes       Yes      Yes      Yes      Yes
 5C Target Separate       4.4%     4.4%      4.4%     4.2%       4%     3.8%
 School
 Result                   3.9%     3.3%      3.6%     3.5%      3.4%     3.1
 Target Met                Yes      Yes       Yes      Yes       Yes     Yes
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          Indicator 6: Preschool Least Restrictive Environments
Description

Indicator 6 is a performance indicator that measures the percent of children with
disabilities ages three through five years, attending a regular early childhood program
and receiving the majority of special education and related service in the regular early
childhood program; as well as children with disabilities attending a separate special
education class, separate school, or residential facility (20 U.S.C. Section 1416[a][3][A]).

Target for 2018–19

These targets represent changes approved by the SBE and the OSEP in FFY 2014 and
will be in effect for FFYs 2013–18.

  6A. A target of 35.9 percent or more of children with disabilities will be served in
      settings with typically developing peers.

  6B. No more than 31.4 percent of children with disabilities will be served in a
      separate special education class, separate school, or residential facility.

Measurement

  6A. Percent = (number of children ages three through five with IEPs attending a
      regular early childhood program and receiving the majority of special education
      and related services in the regular early childhood program) divided by the (total
      number of children ages three through five with IEPs), multiplied by 100.

  6B. Percent = (number of children ages three through five with IEPs attending a
      separate special education class, separate school, or residential facility) divided
      by the (total number of children ages three through five with IEPs), multiplied by
      100.

Results for 2018–19

  6A. For FFY 2018, 36.58 percent of children ages three through five attended a
      regular early childhood program and received the majority of special education
      and related services in the regular early childhood program.

  6B. For FFY 2018, 33.84 percent of children ages three through five attended a
      separate special education class, separate school, or residential facility.

Target Met: 6A Yes, 6B No

Proposed Target for FFY 2019: 6A 36.9%, 6B 30.4%
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Preschool Environments Targets and Results for FFYs 2013–18
         Indicator 6        2013    2014      2015    2016     2017    2018
 6A Target – Preschool     32.9% 32.9%       32.9%   33.9%    34.9%   35.9%
 Regular Setting
 Result                    32.9% 32.9%       44.1%   45.1%    37.3%   36.5%
 Target Met                 Yes     Yes       Yes     Yes      Yes     Yes
6B Target – Preschool        34.4%   34.4%   34.4%   33.4%    32.4%   31.4%
Separate
Class, School, or Facility
Result                       34.4%   34.4%   31.4%   29.8%    33.8%   33.8%
Target Met                    Yes     Yes     Yes     Yes      No      No
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Indicator 7A: Preschool Assessment–Positive Social-Emotional Skills
Description

Indicator 7A is a performance indicator that measures the percent of children with
disabilities who demonstrate improvement in Positive Social-Emotional Skills, including
social relationships.

Targets for 2018–19

   •   Of those children with disabilities who entered the program with below age
       expectations, 84.2 percent will substantially increase their rate of growth by the
       time they turn six years of age or exit the program.

   •   Of those children with disabilities who were functioning within age expectations,
       80.5 percent will function within age expectations by the time they turn six years
       of age or exit the program.

Measurement

Positive social-emotional skills, including social relationships:

   •   Number of preschool children who did not improve functioning divided by the
       number of preschool children with IEPs assessed, multiplied by 100.

   •   Number of preschool children who improved functioning but not sufficient to
       move nearer to functioning comparable to same-aged peers divided by the
       number of preschool children with IEPs assessed, multiplied by 100.

   •   Number of preschool children who improved functioning to a level nearer to
       same-aged peers but did not reach it divided by the number of preschool children
       with IEPs assessed, multiplied by 100.

   •   Number of preschool children who improved functioning to reach a level
       comparable to same-aged peers divided by the number of preschool children
       with IEPs assessed, multiplied by 100.

   •   Number of preschool children who maintained functioning at a level comparable
       to same-aged peers divided by the number of preschool children with IEPs
       assessed, multiplied by 100.

Results for 2018–19

For FFY 2018, 76.0 percent of students substantially increased their rate of growth by
the time they turned six years of age or exited the program, and 76.7 percent of
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students were functioning within age expectations by the time they turned six years of
age or exit the program.

Target Met: No

Proposed Target for FFY 2019: 7A1 85.2%, 7A2 81.5%

Preschool Outcomes–Positive Social-Emotional Skills Targets and Results for
FFYs 2013–18
 Indicator 7A   2013       2014       2015       2016*        2017       2018
    Target     72.7%/    72.7%/      67.6%/     82.2%/       83.2%/    84.2%/
               82.1%      82.1%      72.5%       78.5%        79.5%     80.5%

     Result       59.4%/      60.9%/       67.6%/       82.2%/      76.7%/       76.0%/
                  60.8%       60.3%        72.5%        78.5%       77.6%        76.7%
  Target Met        Yes           No         Yes         Yes          No           No
*Targets were changed this year
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       Indicator 7B: Preschool Assessment–Acquisition and Use of
                          Knowledge and Skills
Description

Indicator 7B is a performance indicator that measures the percent of children with
disabilities who demonstrate improvement in acquisition and use of knowledge and
skills, including early language/communication and early literacy.

Targets for 2018–19

   •   Of those children with disabilities who entered the program with below age
       expectations, 81.7 percent will substantially increase their rate of growth by the
       time they turn six years of age or exit the program.

   •   Of children with disabilities who were functioning within age expectations, 79.57
       percent will function within age expectations by the time they turn six years of
       age or exit the program.

Measurement

Acquisition and use of knowledge and skills, including early language/communication
and early literacy is measured by the:

   •   Number of preschool children who did not improve functioning divided by the
       number of preschool children with disabilities assessed, multiplied by 100.

   •   Number of preschool children who improved functioning but not sufficient to
       move nearer to functioning comparable to same-aged peers divided by the
       number of preschool children with disabilities assessed, multiplied by 100.

   •   Number of preschool children who improved functioning to a level nearer to
       same-aged peers but did not reach it divided by the number of preschool children
       with disabilities assessed, multiplied by 100.

   •   Number of preschool children who improved functioning to reach a level
       comparable to same-aged peers divided by the number of preschool children
       with disabilities assessed, multiplied by 100.

   •   Number of preschool children who maintained functioning at a level comparable
       to same-aged peers divided by the number of preschool children with disabilities
       assessed, multiplied by 100.
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Results for 2018–19

In FFY 2018, 75.2% percent of students substantially increased their rate of growth by
the time they turned six years of age or exited the program; and 76.2 percent of
students were functioning within age expectations by the time they turned six years of
age or exit the program.

Target Met: No

Proposed Target for FFY 2019: 7B1 82.7%, 7B2 80.5%

Preschool Outcomes–Acquisition and Use of Knowledge and Skills Targets and
Results for FFYs 2013–18
 Indicator 7B     2013   2014    2015    2016*   2017    2018
    Target       70% /   70% / 68.6% / 79.7%/ 80.7%/ 81.7%/
                 82.5%   82.5%  71.2% 77.57% 78.57% 79.57%

     Result       60.9% /   60.2% / 68.6% /    79.7%/    76.1%/   75.2%/
                  60.3%      59.6%   71.2%     77.6%     76.7%    76.2%

   Target Met      No         No       Yes     Yes      No          No
* Targets were changed this year due to new assessment tool
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 Indicator 7C: Preschool Assessment–Use of Appropriate Behaviors
Description

Indicator 7C is a performance indicator that measures the percent of children with
disabilities who demonstrate improvement in Use of Appropriate Behaviors to meet their
needs (20 U.S.C. Section 1416[a][3][A]).

Targets for 2018–19

   •   Of those children who entered the program with below age expectations, 75.7
       percent will substantially increase their rate of growth by the time they turn six
       years of age or exit the program.

   •   Of those children who were functioning within age expectations, 78.45 percent
       will function within age expectations by the time they turn six years of age or exit
       the program.

Measurement

Use of Appropriate Behaviors to meet their needs:

   •   Number of preschool children who did not improve functioning divided by the
       number of preschool children with disabilities assessed, multiplied by 100.

   •   Number of preschool children who improved functioning but not sufficient to
       move nearer to functioning comparable to same-aged peers divided by the
       number of preschool children with disabilities assessed, multiplied by 100.

   •   Number of preschool children who improved functioning to a level nearer to
       same-aged peers but did not reach it divided by the number of preschool children
       with disabilities assessed, multiplied by 100.

   •   Number of preschool children who improved functioning to reach a level
       comparable to same-aged peers divided by the number of preschool children
       with disabilities assessed, multiplied by 100.

   •   Number of preschool children who maintained functioning at a level comparable
       to same-aged peers divided by the number of preschool children with disabilities
       assessed, multiplied by 100.

Results for 2018–19

In FFY 2018, 75.4 percent of students substantially increased their rate of growth by the
time they turned six years of age or exit the program; and 76.7 percent of students were
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functioning within age expectations by the time they turned six years of age or exit the
program.

Target Met: N/A

Proposed Target for FFY 2019: 7C1 76.7%, 7C2 79.45%

Preschool Outcomes–Use of Appropriate Behaviors Targets and Results
for FFYs 2013–18
  Indicator 7C   2013    2014       2015     2016*    2017     2018
     Target      75%/    75%/      68.7%/   73.7%/   74.7%/   75.7%/
                  79%     79%       70.4%   76.45% 77.45% 78.45%

     Result       65.9%/      65.8%/      68.7%/     73.7%/     75.3%/     75.4%/
                  65.7%       65.8%        70.4%     76.5%      77.0%      76.7%

   Target Met      No          No         Yes      Yes      Yes/No           No
* Targets were changed this year due to new assessment tool
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   Indicator 8: Percent of Parents Reporting the Schools Facilitated
                         Parental Involvement
Description

Indicator 8 is a performance indicator that measures the percent of parents with a
student receiving special education services who report that schools facilitated parent
involvement as a means of improving services and results for students with disabilities
(20 U.S.C. Section 1416[a][3][A]). These data are one question in a survey distributed,
collected, and reported by the Special Education Local Plan Areas (SELPAs). The
measure is the percentage of parents responding “yes” to the following question: “Did
the school district facilitate parent involvement as a means of improving services and
results for your child?”

Target for 2018–19

Ninety-three percent of parents will report LEAs facilitated parent involvement as a
means of improving services and results for students with disabilities. These targets
represent changes approved by the SBE and the OSEP in FFY 2014 and will be in
effect for FFYs 2013–18.

Measurement

The number of respondent parents who report schools facilitated parent involvement as
a means of improving services and results for students with disabilities divided by the
total number of respondent parents of students with disabilities.

Results for 2018–19

The result for FFY 2018 was 99.57 percent of respondent parents with a student
receiving special education services reported that LEAs facilitated parental involvement.

Target Met: Yes

Proposed Target for FFY 2019: 94%


Parent Involvement/Input–Targets and Results for FFYs 2013–18
 Indicator 8   2013     2014    2015    2016 2017 2018
   Target      90%      90%      90%    91%      92%    93%
   Result     99.1% 99.2% 93.8% 99.5% 99.5% 99.5%
 Target Met    Yes      Yes      Yes     Yes     Yes    Yes
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                 Indicator 9: Disproportionate Representation
Description

Indicator 9 is a compliance indicator that measures the percent of LEAs with
disproportionate representation of racial and ethnic groups in special education and
related services that is the result of inappropriate identification (20 U.S.C. Section
1416[a][3][C]). The calculation for Indicator 9 has been changed to match the new
federal regulations in 34 Code of Federal Regulation (CFR) 300.647. Effective FFY
2016, the CDE uses the risk ratio (or the alternate risk ratio when appropriate) to make
identification of disproportionate representation. LEAs selected are required to go
through a review of policies, practices, and procedures.

Target for 2018–19

Zero percent of LEAs will have disproportionate representation of racial and ethnic
groups in special education and related services as a result of inappropriate
identification.

Measurement

The number of LEAs with disproportionate representation of racial and ethnic groups in
special education and related services as a result of inappropriate identification divided
by the number of LEAs in the state.

Results for 2018–19

For FFY 2018, 1.60 percent of LEAs had disproportionate representation of racial and
ethnic groups in special education and related services as a result of inappropriate
identification. The CDE requires these disproportionate LEAs to implement corrective
actions.

Target Met: No

Proposed Target for FFY 2019: 0%
Disproportionate Representation Targets and Results for FFYs 2013–18
 Indicator 9 2013     2014    2015 2016 2017 2018
    Target     0%      0%      0%     0%     0%      0%
    Result    .09% .09%        0%   2.57% 0.88% 1.60%
  Target Met   No      No     Yes     No     No      No
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       Indicator 10: Disproportionate Representation by Disability
                               Categories
Description

Indicator 10 is a compliance indicator that measures the percent of LEAs with
disproportionate representation of racial and ethnic groups in specific disability
categories that is the result of inappropriate identification (20 U.S.C. Section
1416[a][3][C]). The calculation for Indicator 10 (Ethnicity by Disability) has been
changed to match the new federal regulations in 34 CFR 300.647. Effective FFY 2016,
the CDE uses the risk ratio (or the alternate risk ratio when appropriate) to make
identification of disproportionate representation. LEAs selected are required to go
through a review of policies, practices, and procedures. LEAs identified below had
noncompliance in those reviews.

Target for 2018–19

Zero percent of LEAs will have disproportionate representation of racial and ethnic
groups in specific disability categories as a result of inappropriate identification.

Measurement

The number of LEAs with disproportionate representation of racial and ethnic groups in
specific disability categories, as identified by either the risk ratio or the alternate risk
ratio, which is the result of inappropriate identification divided by the number of LEAs in
the state.

Results for 2018–19

For FFY 2018, 9.90 percent of LEAs had disproportionate representation of racial and
ethnic groups in specific disability categories as a result of inappropriate identification.
The CDE requires these significant disproportionate LEAs to implement corrective
actions.

Target Met: No

Proposed Target for FFY 2019: 0%

Disproportionate Representation in Specific Disability Categories Targets and
Results for FFYs 2013–18
 Indicator 10 2013     2014    2015    2016     2017      2018
    Target       0%     0%      0%      0%       0%        0%
    Result      .57% .87% .75%        17.14%   27.76%    9.90%
  Target Met     No     No      No      No       No        No
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                               Indicator 11: Child Find
Description

Indicator 11 is a compliance indicator that measures the percent of students with
disabilities who were evaluated within 60 days of receiving parental consent for initial
evaluation or, if the state establishes a timeframe within which the evaluation must be
conducted, within that timeframe (20 U.S.C. Section 1416[a][3][B]). These data were
calculated using CASEMIS data fields related to parental consent date and initial
evaluation date. Determination of eligibility was made using the data field which
includes the type of plan a student has (IEP, Individualized Family Support Plan,
Individual Service Plan), if the student is eligible, or no plan if the student is determined
ineligible. If the parent of a student repeatedly failed or refused to bring the student for
the evaluation, or a student enrolled in a school of another public agency after the
timeframe for initial evaluations had begun, and prior to a determination by the students
previous public agency as to whether the student is a student with a disability, then the
student was eliminated from both the numerator and the denominator.

Target for 2018–19

Eligibility determinations will be completed within 60 days for 100 percent of students
with disabilities for whom parental consent to evaluate was received.

Measurement

The number of students whose evaluations were completed within 60 days (or a state-
established time line) divided by the number of students for whom parental consent to
evaluate was received.

Results for 2018–19

For FFY 2018, 96.2 percent of eligibility determinations were completed within 60 days
for students whom parental consent to evaluate was received.

Target Met: No

Proposed Target for FFY 2019: 100%

Child Find Targets and Results for FFYs 2013–18
 Indicator 11    2013    2014      2015    2016            2017      2018
    Target      100%    100%       100%    100%            100%      100%
    Result      98.1%    96%      98.7%    98.5%           97.8%     96.2%
  Target Met      No      No        No      No              No        No
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                   Indicator 12: Early Childhood Transition
Description

Indicator 12 is a compliance indicator that measures the percent of children referred by
the infant program (IDEA Part C) prior to age three, who are found eligible for Part B,
and who have an IEP developed and implemented by their third birthday (20 U.S.C.
Section 1416[a][3][B]). These data were collected through CASEMIS and data from the
Department of Developmental Services.

Target for 2018–19

One hundred percent of children referred by the IDEA Part C prior to age three and who
are found eligible for the IDEA Part B will have an IEP developed and implemented by
their third birthday.

Measurement

   •   Number of children who have been served in Part C and referred to Part B (LEA
       notified pursuant to the IDEA section 637[a][9][A] for Part B eligibility
       determination).

   •   Number of children referred determined to not be eligible and whose eligibilities
       were determined prior to their third birthday.

   •   Number of children found eligible who have an IEP developed and implemented
       by their third birthday.

   •   Number of children for whom parental refusal to provide consent caused delays
       in evaluation or initial services.

   •   Number of children who were referred to Part C less than 90 days before their
       third birthdays.

       Percent of children referred equals (c) divided by (a-b-d-e) times 100.

Results for 2018–19

For FFY 2018, 89.7 percent of children referred by Part C of IDEA prior to age three and
who were found eligible for Part B of IDEA had an IEP developed and implemented by
their third birthday. To increase this rate, the CDE has been partnering with the IDEA
Part C agency, the California Department of Developmental Services, to increase timely
referrals.
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Target Met: No

Proposed Target for FFY 2019: 100%

Early Childhood Transition Targets and Results for FFYs 2013–18
 Indicator 12    2013    2014      2015    2016      2017   2018
    Target      100%     100%      100%    100% 100% 100%
    Result      98.5% 93.5%        86%      94%     95.1% 89.7%
  Target Met      No      No        No       No       No     No
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                       Indicator 13: Secondary Transition
Description

Indicator 13 is a compliance indicator that measures the percent of students with
disabilities ages sixteen and above with an IEP that includes appropriate measurable
postsecondary goals annually updated and based upon an age appropriate transition
assessment and transition services, including courses of study that will reasonably
enable the student to meet those postsecondary goals, and annual IEP goals related to
the student’s transition service needs. There must also be evidence that the student
was invited to the IEP meeting where transition services are to be discussed and
evidence that, if appropriate, a representative of any participating agency was invited to
the IEP team meeting with the prior consent of the parent or student who has reached
the age of majority (20 U.S.C. Section 1416[a][3][B]).

Target for 2018–19

One hundred percent of students ages sixteen and above will have an IEP that includes
appropriate and measurable postsecondary goals that are annually updated and based
upon an age appropriate transition assessment and transition services.

Measurement

Number of students with IEPs ages sixteen and above with an IEP that includes
appropriate measurable postsecondary goals that are annually updated and based
upon an age appropriate transition assessment and transition services divided by the
number of students with an IEP ages sixteen and above.

Results for 2018–19

For FFY 2018, 99.2 percent of students with IEPs, ages sixteen and above, have all
eight postsecondary goals included in their IEPs which include (1) education, training,
employment, and independent living; (2) updated goals according to the student’s
changing strengths and preferences; (3) age appropriate transition assessment; (4)
services that will reasonably enable the student to meet his or her goals; (5) courses
that will reasonably enable the student to meet his or her goals; (6) annual goals
related to the student’s transition services needs; (7) evidence the student was invited
to the IEP meeting; and (8) evidence a representative of any participating agency was
invited to the IEP meeting with prior consent of the parent or student who has reached
the age of majority.

Target Met: No

Proposed Target for FFY 2019: 100%
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Secondary Transition (Part C to Part B) Targets and Results for FFYs 2013–18
 Indicator 13  2013     2014     2015     2016    2017    2018
    Target    100% 100% 100% 100% 100% 100%
    Result    93.5% 99.4% 99.6% 99.8% 99.7% 99.2%
  Target Met    No       No       No       No      No       No
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                     Indicator 14: Post-school Outcomes
Description

Indicator 14 is a performance indicator that measures the percent of youth who are no
longer in secondary school but had IEPs in effect at the time they left school, and were
either enrolled in higher education within one year of leaving high school; enrolled in
higher education or competitively employed within one year of leaving high school; or
enrolled in higher education or in some other postsecondary education or training
program; or competitively employed or in some other employment within one year of
leaving high school (20 U.S.C. Section 1416[a][3][B]).

Target for 2018–19

These targets represent changes approved by the SBE and the OSEP in FFY 2014 and
will be in effect for FFYs 2013–18.

 14A. A target of 54.3 percent or more of youth who had IEPs who are no longer in
      secondary school will be reported to have been enrolled in some type of
      postsecondary school within one year of leaving high school.

 14B. A target of 74.4 percent or more of youth who had IEPs who are no longer in
      secondary school will be reported to have been competitively employed, enrolled
      in some type of postsecondary school, or both, within one year of leaving high
      school.

 14C. A target of 83 percent or more of youth who had IEPs who are no longer in
     secondary school will be reported to have been enrolled in higher education or in
     some type of postsecondary school, or training program; or competitively
     employed in some other employment.

Measurement

 14A. The number of youth who are no longer in secondary school, had IEPs in effect
      when they left school, and were enrolled in higher education within one year of
      leaving high school divided by the number of respondent youth who are no
      longer in secondary school.

 14B. Number of youth who are no longer in secondary school, had IEPs in effect when
      they left school, and were enrolled in higher education or competitively employed
      within one year of leaving high school divided by the number of respondent youth
      who are no longer in secondary school.

 14C. Number of youth who are no longer in secondary school, had IEPs in effect when
     they left school, and were enrolled in higher education, or in some other
     postsecondary education or training program; or competitively employed or in
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      some other employment divided by the number of respondent youth who are no
      longer in secondary school.

Results for 2018–19

 14A. For FFY 2018, 54.8 percent of youth who had IEPs who were no longer in
      secondary school reported to have been enrolled in some type of postsecondary
      school within one year of leaving high school.

 14B. For FFY 2018, 70.7 percent of youth who had IEPs who were no longer in
      secondary school reported to have been competitively employed, enrolled in
      some type of postsecondary school, or both, within one year of leaving high
      school.

 14C. For FFY 2018, 89.3 percent of youth who had IEPs who were no longer in
     secondary school reported to have been enrolled in higher education or in some
     type of postsecondary school, or training program; or competitively employed in
     some other employment.

Target Met: 14A Yes, 14B No, 14C Yes

Proposed Target for FFY 2019: 14A 55.3%, 14B 75.4%, 14C 84%

Post-school Outcomes Targets and Results for FFYs 2013–18
         Indicator 14         2013   2014     2015    2016           2017      2018
 14A Target – Postsecondary  52.3% 52.3% 52.3% 52.3%                53.3%     54.3%
 Result                      52.3% 50.4% 52.3% 48.9%                53.9%     54.8%
 Target Met                   Yes    Yes      Yes      No            Yes       Yes
 14B Target –
 Employed/Postsecondary      72.4% 72.4% 72.4% 72.4%                73.4%     74.4%
 Result                      72.4% 72.4% 75.5% 72.6%                77.6%     70.7%
 Target Met                    No    Yes      Yes     Yes            Yes       No
 14C Target – Any
 Education/Employment         81%    81%      81%     81%            82%       83%
 Result                       81%   82.1% 83.2% 81.7%               85.5%     89.3%
 Target Met                   Yes    Yes      Yes     Yes            Yes       Yes
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                      Indicator 15: Resolution Sessions
Description

Indicator 15 is a performance indicator that measures the percent of due process
hearing requests that went to resolution sessions that were resolved through resolution
session settlement agreements (20 U.S.C. Section 1416[a][3][B]).

Target for 2018–19

Sixty percent of due process hearing requests will be resolved through resolution
session settlement agreements.

Measurement

Percent equals the number of resolution sessions resolved through settlement
agreements divided by the number of resolution sessions multiplied by 100.

Results for 2018–19

For FFY 2018, 21.9 percent of hearing requests that went to resolution sessions were
resolved through resolution session settlement agreements.

Target Met: No

Proposed Target for FFY 2019: 61%
Resolution Sessions Targets and Results for FFYs 2013–18
 Indicator 15   2013    2014      2015     2016   2017   2018
    Target      55%     56%       57%      58%     59%   60%
    Result     32.7% 30.2%       32.1% 31.2% 24.1% 21.9%
  Target Met     No      No        No       No      No    No
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                             Indicator 16: Mediation
Description

Indicator 16 is a performance indicator that measures the percent of mediations held
that resulted in mediation agreements (20 U.S.C. Section 1416[a][3][B]).

Target for 2018–19

Sixty percent of mediation conferences will result in mediation agreements.

Measurement

Percent equals mediation agreements related to due process complaints plus mediation
agreements not related to due process complaints divided by number of mediations
held, multiplied by 100.

Results for 2018–19

For FFY 2018, 62.1 percent of mediation conferences resulted in mediation
agreements.

Target Met: Yes

Proposed Target for FFY 2019: 61%

Mediation Targets and Results for FFYs 2013–18
 Indicator 16   2013    2014       2015    2016 2017 2018
    Target      55%      56%       57%     58%  59%  60%
    Result     65.1% 62.6%        60.0% 53.6% 57.8% 62.1%
  Target Met     Yes     Yes       Yes      No   No  Yes
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               Indicator 17: State Systemic Improvement Plan
Description

The State Systemic Improvement Plan indicator describes how the state identified and
analyzed key data, including data from the SPP/APR indicators, section 618 of the IDEA
data collections, and other available data as applicable, to: (1) Select the State-
identified Measurable Result(s) for students with disabilities, and (2) Identify root causes
contributing to low performance. The description must include information about how
the data were disaggregated by multiple variables (LEA, region, race/ethnicity, gender,
disability category, placement, etc.). As part of its data analysis, the state should also
consider compliance data and whether those data present potential barriers to
improvement. In addition, if the state identifies any concerns about the quality of the
data, the description must include how the state will address these concerns. Finally, if
additional data are needed, the description should include the methods and timelines to
collect and analyze the additional data. This indicator will be reported to the SBE in
March 2020 for approval and will be submitted to OSEP in April 2020.
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                                       Intensive Review Ages 6 through 21
                                              Indicator Calculations

Indicator                                   Calculation
Proficiency Rate in English Language Arts   Number of students with disabilities (SWD) assessed on the annual
                                            statewide assessment and scored achievement level 3 (standard met) or
                                            level 4 (standard exceeded) divided by number of students with disabilities
                                            participating on the annual state assessment.

                                            •   Annual statewide assessment is the Smarter Balanced Assessment.
                                            •   Testing grades for English Language Arts is grade 3 through 8 and 11.
                                            •   Only valid scores are included.

                                            Source: CAASPP Test File 2018
Proficiency Rate in Math                    Number of students with disabilities assessed on the annual statewide
                                            assessment and scored achievement level 3 (standard met) or level 4
                                            (standard exceeded) divided by number of students with disabilities
                                            participating on the annual state assessment.

                                            •   Annual statewide assessment is the Smarter Balanced Assessment.
                                            •   Testing grades for Math is grade 3 through 8 and 11.
                                            •   Only valid scores are included.

                                            Source: CAASPP Test File 2018
Rate of Suspension                          Number of students with disabilities suspended divided by cumulative
                                            enrollment

                                            •   Cumulative Enrollment is only used by the Dashboard Suspension file
                                                and is not the same as the December 2018 census count.
                                            •   Student Incident Result Category Codes 100 (out of school suspension)
                                                and 110 (In-school suspension) are used
                                            •   Null records are treated as 0 where the denominator is greater than 0

                                            Source: Dashboard Suspension File


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                                         Intensive Review Ages 6 through 21
                                                Indicator Calculations

Indicator                                      Calculation
Rate of Chronic Absenteeism                    Unduplicated count of students with disabilities determined to be chronically
                                               absent divided by the chronic absenteeism enrollment.

                                               •   Students are determined to be chronically absent if they were enrolled
                                                   for a combined total of 30 days or more at the selected reporting level
                                                   during the academic year and they were absent for 10% or more of the
                                                   days they were expected to attend.
                                               •   Chronic Absenteeism Enrollment uses the Cumulative Enrollment of the
                                                   selected entity as the baseline and removes students that were not
                                                   eligible to be considered chronically absent at that entity. Students that
                                                   are enrolled less than 31 instructional days at the selected entity are not
                                                   eligible to be considered chronically absent at that entity.

                                               Source: DataQuest
Rate of Students in a Regular Class Greater    Number of students with disabilities aged 6 through 21 served inside the
than 80% of the day                            regular class 80% or more of the day divided by the total number of students
                                               with disabilities aged 6 through 21.

                                               Source: CASEMIS, Dec18
Rate of Students in Separate Schools and       Number of students with disabilities aged 6 through 21 served in separate
Placements                                     schools, residential facilities, or homebound/hospital placements divided by
                                               the total number of students with disabilities aged 6 through 21.

                                               Source: CASEMIS, Dec18


Notes:

Smalls Determination

      •   Less than or equal to 100 SWD, Age ≥ 6 (with a valid plan type)
      •   Based on census December 2018 data

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                                        Intensive Review Ages 6 through 21
                                               Indicator Calculations

      •   If an LEA is determined to be small:
              a. Charter Smalls in Charter SELPA  Grouped by Charter SELPA
              b. Charter Smalls not in Charter SELPA  Grouped by County
              c. District Smalls  Grouped by County

Data Calculations

      •   Raw Level data used to calculate percentages
      •   No minimum n-size considered




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               Significant Disproportionality
               Stakeholder Group Meeting
                       June 24, 2019


CALIFORNIA DEPARTMENT OF EDUCATION
Tony Thurmond, State Superintendent of Public Instruction
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                                                  Morning Agenda
                        10:00 – 10:30am Welcome, Introductions and Ice Breaker

                        10:30 – 10:40am Review: The Role of the Significant Disproportionality
TONY THURMOND
State Superintendent
                                        Stakeholders Group
of Public Instruction



                        10:40 – 11:00am Updates on Significant Disproportionality Regulations:
                                        2016 Individuals with Disabilities Act (IDEA) and
                                        California Implementation

                        11:00 – 11:15am Guided Group Discussion: Should Discipline be Treated
                                        Differently than Placement and Identification?

                        11:15 – 12:15pm Considering Reasonable Progress for Determining
                                        Significant Disproportionality: Table and Group
                                        Discussions for Sharing Feedback and Recommendations
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                                               Afternoon Agenda
                        12:15 – 1:15pm LUNCH

                        1:15 – 2:00pm Updates from Focused Monitoring and Technical
TONY THURMOND                              Assistance Unit (FMTA) III and SPP-TAP Project
State Superintendent
of Public Instruction
                                            Regarding Monitoring and Technical Assistance

                        2:00 – 2:30pm Preschool Disproportionality Subcommittee Report

                        2:30 – 2:45pm BREAK

                        2:45 – 3:15pm Stakeholder Recommendations Brief: Purpose, Objective,
                                           Audience and Authorship

                        3:15 – 3:45pm Objectives and Agenda Building for September 2019
                                            Significant Disproportionality Stakeholder Meeting

                        3:45 – 4:00         Wrap-Up, Questions and Closing Comments
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                        Why is Significant Disproportionality
                                    Important?
TONY THURMOND
State Superintendent    • What is Your “Why”?
of Public Instruction

                        • https://www.youtube.com/watch?v=oVSTKpJBq-8
                        • What is your “Why” for being a member of the
                          Significant Disproportionality Stakeholder Group?
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                                 Welcome and Introduction
TONY THURMOND
State Superintendent    • Introduce yourself and your “day job” or role
of Public Instruction

                        • Why did you join the Significant
                          Disproportionality Stakeholder Group?
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                         Review Purpose of the Significant
                        Disproportionality Stakeholder Group
TONY THURMOND
State Superintendent    Advise CDE in setting California criteria in
                        determining Significant Disproportionality,
of Public Instruction




                        specifically:
                             (A) Reasonable risk ratio threshold;
                             (B) Reasonable minimum cell size;
                             (C) Reasonable minimum n-size; and
                             (D) Standard for measuring reasonable progress

                           (Title 34, Code of Federal Regulations (CFR) Section 300.647)
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                                              Meeting Outcomes
                        • Provide Feedback and Recommendations for Reasonable
TONY THURMOND
State Superintendent
                          Progress for Significantly Disproportionate LEAs
of Public Instruction


                        • Revisit and discuss discipline risk ratio

                        • Provide feedback for Aligning Disproportionality and Significant
                          Disproportionality Monitoring and Technical Assistance

                        • Update from Preschool Monitoring Work Group

                        • Updates on Significant Disproportionality 2016 Individuals with
                          Disabilities Act (IDEA) and California Implementation

                        • Discuss Stakeholder Brief DRAFT
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                           Disproportionality Requirements
TONY THURMOND           Monitoring Authority
State Superintendent
of Public Instruction
                        Per 34 CFR 300.600(d), States are required to monitor and
                        ensure local educational agency (LEA) policies, procedures and
                        practices are compliant; and,
                           – do not lead to inappropriate identification
                           – comply with requirements relating to development and
                             implementation of the individualized education program
                             (IEP); and
                           – use positive behavioral interventions and supports and
                             procedural safeguards
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                               Significant Disproportionality
TONY THURMOND
State Superintendent
                        Definition: LEAs identified with overrepresentation in one or
of Public Instruction
                        more of the three areas of disproportionality, in the same area
                        and within the same population for three consecutive years.


                        Significantly Disproportionate LEAs are required to undergo
                        monitoring and set-aside 15 percent of Individuals with
                        Disabilities Education Act of 2004 (IDEA) funds to address and
                        remedy the significant disproportionality.
                              Advice from Stakeholders: Federal Statutory
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                                              Language
                        b)Significant disproportionality determinations. In determining whether significant disproportionality
                        exists in a State or LEA under § 300.646(a) and

                        (i) The State must set a:
TONY THURMOND
State Superintendent
of Public Instruction   (A) Reasonable risk ratio threshold;
                        (B) Reasonable minimum cell size;
                        (C) Reasonable minimum n-size; and
                        (D) Standard for measuring reasonable progress if a State uses the flexibility described in
                        paragraph (d)(2) of this section.

                        (ii) The State may, but is not required to, set the standards set forth in paragraph (b)(1)(i) of this
                        section at different levels for each of the categories described in paragraphs (b)(3) and (4) of this
                        section.

                        (iii) The standards set forth in paragraph (b)(1)(i) of this section:

                        (A) Must be based on advice from stakeholders, including State Advisory Panels,
                        as provided under section 612(a)(21)(D)(iii) of the Act; and

                        (B) Are subject to monitoring and enforcement for reasonableness by the Secretary consistent with
                        section 616 of the Act.
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                        Methodology and Data: Updates
                        and Seeking Stakeholder Input
TONY THURMOND
State Superintendent
of Public Instruction




                        Shiyloh Duncan-Becerril, Data Administrator
                                    Special Education Division
                               California Department of Education
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                             Significantly Disproportionate Local
                                     Educational Agencies
                                (2019-2020 Set Aside Year)
TONY THURMOND
State Superintendent    • There are 12 LEAs identified as Significantly
                          Disproportionate
of Public Instruction




                          – 6 LEAs are significantly disproportionate for
                            Discipline
                          – 8 LEAs are significantly disproportionate for
                            Indicator 10 (over-identified specific disability)
                             • 7 LEAs for Emotional Disturbance (ED)
                             • 1 LEA for Specific Learning Disability (SLD)
                          – 1 LEA is significantly disproportionate for Placement
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                             Should Discipline be Treated
                                     Differently?
TONY THURMOND
State Superintendent
of Public Instruction

                        • Currently all risk ratio thresholds are set at 3.0.
                          Should discipline be treated differently?
                          – What information would you like to know?

                        • Table talk discussions and share out
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                                   Reasonable Progress (1)
TONY THURMOND
                        • States may set different measures for making
State Superintendent
of Public Instruction     “reasonable progress” in lowering different risk
                          ratios for each of the categories of analysis.
                        • Each measure must be applied uniformly
                          across the State.
                        • States must develop measures for “reasonable
                          progress” with the advice of stakeholders,
                          including State Advisory Panels. (See 34 CFR
                          Section 300.647(b)(1)(iii)(A).) .
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                                   Reasonable Progress (2)
TONY THURMOND
State Superintendent    • Standards based on whether the progress
                          realized by LEAs in lowering risk ratios
of Public Instruction




                          represents a meaningful benefit to children in
                          the LEA, rather than statistical noise or chance.
                        • Requires data from the three immediately prior
                          consecutive years. Three years of data are
                          necessary to show the decrease over the two-
                          year period required by the regulations
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                        Office of Special Education Programs (OSEP)
                        Additional Guidance on Reasonable Progress

                        Here is what the guidance from the Office of Special Education
TONY THURMOND
State Superintendent    Programs (OSEP) says.
of Public Instruction



                        • States are not required to identify an LEA with significant
                          disproportionality if the LEA has exceeded the risk ratio
                          threshold but has demonstrated reasonable progress, as
                          determined by the State, in lowering the risk ratio (or alternate
                          risk ratio) for the group and category of analysis in each of the
                          two prior consecutive years. This flexibility exists so that States
                          need not interrupt successful efforts in meaningfully reducing
                          significant disproportionality. (See 34 C.F.R. §300.647(d)(2).)

                        https://sites.ed.gov/idea/files/significant-disproportionality-qa-03-08-17.pdf
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                        OSEP Example of Reasonable Progress
                        Here is an example provided by OSEP:
TONY THURMOND
State Superintendent
of Public Instruction
                        • The State has adopted the reasonable progress flexibility,
                          defining reasonable progress as a decrease in a risk ratio of 0.5
                          or more for each of the two prior consecutive years. With this
                          flexibility, the State would not identify an LEA with significant
                          disproportionality for African-American children identified as
                          children with disabilities. The decrease for in the risk ratio from
                          SY’s 2018–19 to 2019–20 was 0.6, and the decrease from SY’s
                          2019–20 to 2020–21 was 0.7, both greater than 0.5.

                        • https://sites.ed.gov/idea/files/significant-disproportionality-qa-03-08-17.pdf
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                                       Table Talk Discussion
TONY THURMOND
State Superintendent
of Public Instruction

                        What would you consider to be standards of
                        reasonable progress based on whether the
                        progress realized by LEAs in lowering risk ratios
                        represents a meaningful benefit to children in
                        the LEA, rather than statistical noise or
                        chance?
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                          Share Out and Recommendation
TONY THURMOND
State Superintendent    • What should the state consider reasonable
                          progress?
of Public Instruction




                        • What are the most important factors to be
                          considered in determining reasonable
                          progress?
                        • What is the rationale for wanting this
                          reasonable progress methodology?
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                         Lunch 12:15 to 1:15pm



CALIFORNIA DEPARTMENT OF EDUCATION
Tony Thurmond, State Superintendent of Public Instruction
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                        Significant Disproportionality Means
                           Using 15% of IDEA Funds for
TONY THURMOND
State Superintendent
                        Comprehensive Coordinated Early
                                Intervening Services:
of Public Instruction




                         Requirements and Expectations
                          and Updates/Changes from
                            Previous Allowable Uses
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                        Comprehensive Coordinated Early
                           Intervening Services (1)
TONY THURMOND
State Superintendent
of Public Instruction
                         • 34 CFR 300.646
                         • Mandatory for LEAs identified as having
                           significant disproportionality
                         • Identification, placement, and/or disciplinary
                           removals must use IDEA Part B funds for
                           Comprehensive Coordinated Early Intervening
                           Services (CCEIS)
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                         Comprehensive Coordinated Early
                            Intervening Services (2)
TONY THURMOND           • Groups served:
State Superintendent
of Public Instruction
                           – Children who are not currently identified as needing
                             special education or related services but who need
                             additional academic and behavioral support to
                             succeed in a general education environment.
                           – Children currently identified as needing special
                             education or related services (funds can be used
                             primarily, but not exclusively, for this group).
                           – Ages 3 – Grade 12
                        • Funding: 15 percent of IDEA Part B funds
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                           Comprehensive Coordinated Early
                              Intervening Services (3)
TONY THURMOND
State Superintendent
of Public Instruction
                        • Permitted activities:
                          – Professional development and educational and behavioral
                            evaluations, services, and supports.
                          – The activities must address factors and policy, practice, or
                            procedure contributing to significant disproportionality.

                        • Reporting requirements:
                          – An LEA is required to publicly report on the revision of
                            policies, practices, and procedures.
                          – Additional reporting requirements to be determined by Office
                            of Special Education Programs (OSEP) at a future date.
                            The California Department of Education
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                               Comprehensive Coordinated Early
                              Intervening Services Requirements
TONY THURMOND
                        • Utilize SPP-TAP TA Facilitator - 10 hours minimum per indicator
                        • Approved CCEIS Plan
State Superintendent
of Public Instruction


                           • Four Phase CCEIS process
                           • Measurable goals
                           • Planned Activities
                           • Alignment of activities with budget expenditures for 15 percent set-
                             aside
                           • Signatures from Superintendent, Special Education Director,
                             Special Education Local Plan Area (SELPA) Director, School
                             Board President and Budget Officer
                        • Quarterly reports including expenditures
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                                Focused Monitoring and Technical
                            Assistance Unit III and State Performance
                            Plan Technical Assistance Project Updates
TONY THURMOND
State Superintendent
of Public Instruction


                        •   Site Visits by FMTA III Consultants
                        •   Technical Assistance (TA) Facilitator Share-Outs
                        •   CCEIS plan due date changed to January 10, 2020
                        •   Spring CCEIS Workshop held May 31, 2019
                        •   Fall CCEIS Workshop October 21, 2019
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                                                        Regions
                                                                        •   Libbey Durkee: 1, 5
TONY THURMOND
State Superintendent
of Public Instruction                                                   •   Nicole Garibaldi: 8, 9
                                                                        •   Lisa Boje: 2, 11
                                                                        •   Susan Olsen: 3, 7, 10
                                                                        •   Kishaun Thorntona: 4, 6
                                                                        •   (1 Vacancy)
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                        The California Department of Education Provides
                           Support through a Contract with the State
                         Performance Plan Technical Assistance Project
TONY THURMOND
State Superintendent
of Public Instruction
                                          (SPP-TAP)

                                                                  •Created in 2009

                            S P P - TA P                          •Supported over 100 Local Educational Agencies
                                                                  (LEAs)
                            S U P P O RT
                                                                  •Supported many LEAs in Eliminating Significant
                                                                  Disproportionality

                                                                  •Multiple Activities and Support (See Next Slide)
                           State Performance Plan Technical
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                        Assistance Project Services and Supports

TONY THURMOND
State Superintendent
of Public Instruction
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                        Programmatic Improvement Process for
                             Significant Disproportionality
TONY THURMOND
State Superintendent
of Public Instruction
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                           Aligning Disproportionality and
                            Significant Disproportionality
TONY THURMOND
State Superintendent


                        • Disproportionality Self-Study
of Public Instruction




                        • Collaboration with State SELPA Compliance
                          Committee
                        • Collaboration with South County SELPA
                        • 2-Year Early Warning Emails
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                           Discussion on Proposed Draft
                        Stakeholder Recommendations Brief
TONY THURMOND
State Superintendent
of Public Instruction



                                      Titled:

                         “From Disproportionality to Equity:
                               A Moral Imperative”
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                          Preschool Monitoring Workgroup
TONY THURMOND
State Superintendent    • Purpose and membership
of Public Instruction

                        • Recommendation of July 2020 Preschool
                          Significant Disproportionality monitoring going
                          into effect
                        • Group met on June 18, 2019
                        • Next meeting August 2019
                        • Recommendations to whole group for
                          consideration
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                                  Revisit Meeting Outcomes
TONY THURMOND           • Updates on Significant Disproportionality 2016 IDEA and
State Superintendent
of Public Instruction     California Implementation
                        • Share and Discuss DRAFT Proposed Stakeholders’ Brief
                        • Provide Feedback and Recommendations for Reasonable
                          Progress for Significantly Disproportionate LEAs.
                        • Provide feedback for Aligning Disproportionality and Significant
                          Disproportionality Monitoring and Technical Assistance.
                        • Update from Preschool Monitoring Work Group
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                                                        Next Steps
TONY THURMOND
State Superintendent
of Public Instruction

                        • Future Meeting
                          – September 17, 2019
                          – December 9, 2019
                        • Recommended topics for September meeting
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  Significant Disproportionality
  Reasonable Progress




                         Significant Disproportionality Stakeholder Group
                         Shiyloh Duncan-Becerril, Special Education Data
                                           Administrator



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Tony Thurmond, State Superintendent of Public Instruction
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What is Reasonable Progress?
• 34 CFR §300.647(b)(1)(iii)(a) allows for States to have Reasonable
  Progress flexibility to the Significant Disproportionality calculation.
• States must develop measures for Reasonable Progress with the advice of
  stakeholders, including State Advisory Panels.
• States should set their Reasonable Progress standards based on whether
  the progress realized by LEAs in lower risk ratios represents a meaningful
  benefit to children in the LEA, rather than a statistical noise or chance.
• This flexibility requires data from the 3 immediately prior consecutive
  years. Three years of data are necessary to show the decrease over the
  two-year period required by the regulations.
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Reasonable Progress Options
• Reasonable Progress Option 1: Using 3 years of data demonstrating a
  lower Risk Ratio for 2 consecutive years in the same area (yet still RR ≥
  3.0)
    • What percentage of progress?
       • .5 Risk Ratio Reduction per year
• Reasonable Progress Option 2: Any progress over two years
• Reasonable Progress Option 3: No reasonable progress




                                                                                        3
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Significant Disproportionality 2018-19

• If Reasonable Progress is not defined, there will be 165 LEAs found to be
  Significantly Disproportionate in 202 areas.
     • This includes data years 2016-17, 2017-18, 2018-19.



                               Significant Disproportionality Distribution



      30     5   21                                                    146




  0                   50                           100                             150     200
                                Discipline   LRE         Indicator 9    Indicator 10
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Reasonable Progress
• States have flexibility not to identify significant disproportionality in districts
  that make reasonable progress in lowering risk ratios for two prior
  consecutive years.
• The “multi-year” flexibility must be applied separately to each of the 98 risk
  ratios calculated.
• Reasonable progress standard must represent a meaningful benefit to
  children in the LEA and is not the result of statistical noise or chance.
  Option 1: Reduction the risk ratio by area
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                                                         Disproportionate Year 1




                                                                                 Disproportionate Year 2




                                                                                                           Disproportionate Year 3
                                                               3.72




                                        .5 Reduction
Risk reduces by .5 each year over two
years


                                                                                                                .5 Reduction
                                                                                                    3.22
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        Reasonable Progress Model

• If CDE defines Reasonable Progress as a decrease in a risk ratio of 0.5 or
  more for each of the two prior consecutive years – 7 LEAs in 7 areas
  would be excused.


                                         0.5 Risk Ratio Decrease Distribution




       30        5        21                                               139




   0        20       40           60           80         100            120        140   160   180   200
                                       Discipline   LRE    Indicator 9     Indicator 10
Reasonable Progress Option 2: Any Reduction Over
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                                                          Disproportionate Year 1




                                                                                  Disproportionate Year 2




                                                                                                            Disproportionate Year 3
                                                                4.01




                                        .21 Reduction
 Options:
 1.2 Risk reduces by .5 each year over two
 years

                                                                                                                 .49 Reduction
                                                                                                     3.52
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        Reasonable Progress Model
• If CDE defines Reasonable Progress as any progress made for each of
  the two prior consecutive years - 36 LEAs, in 41 areas would be excused.


                                         Any Progress Distribution




        28        5   14                                               114




   0         20       40           60             80                 100             120   140   160
                            Discipline      LRE        Indicator 9         Indicator 10
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Reasonable Progress Comparison
                                    Total Number of LEAs
180

160

140

120

100

 80

 60

 40

 20

  0
      No Progress                          Any Progress                 0.5 Risk Ratio Decrease
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                              CERTIFICATE OF SERVICE
Case Name:      Emma C., et al. v. Thurmond,              No.    3:96-cv-04179-VC
                et al.

I hereby certify that on January 31, 2020, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
STATE DEFENDANTS’ FURTHER PHASE 2 SUBMISSION
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on January 31, 2020, at Sacramento,
California.


            Christopher R. Irby                            /S/ CHRISTOPHER R. IRBY
                Declarant                                          Signature

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